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    9                        UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA
   10

   11   CLEVELAND CONSTANTINE                   Case No.: 2:21-cv-02840-AB-AFM
        BROWNE, an individual; ANIKA            Honorable André Birotte Presiding
   12   JOHNSON, as personal representative and
   13   executor of the ESTATE OF WYCLIFFE SECOND CONSOLIDATED
        JOHNSON, deceased; STEELY &             AMENDED COMPLAINT FOR:
   14   CLEVIE PRODUCTIONS LTD., and
   15   CARL GIBSON, as personal representative 1. COPYRIGHT INFRINGEMENT
        and executor of THE ESTATE OF
   16   EPHRAIM BARRETT,                         2. VICARIOUS AND/OR
   17                                               CONTRIBUTORY
        Plaintiffs,                                 COPYRIGHT INFRINGEMENT
   18

   19   v.
                                                        JURY TRIAL DEMANDED
   20   RODNEY SEBASTIAN CLARK
   21   DONALDS, an individual; CAROLINA
        GIRALDO NAVARRO, an individual;
   22   ARMANDO CHRISTIAN PÉREZ, an
   23   individual; GIORDANO ASHRUF, an
        individual; SHAREEF BADLOE, an
   24   individual; RASHID BADLOE, an
   25   individual; SONY MUSIC
        ENTERTAINMENT, a Delaware general
   26   partnership d/b/a ULTRA MUSIC;
   27   UNIVERSAL MUSIC PUBLISHING,
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    1   INC., a California corporation; BMG
        RIGHTS MANAGEMENT, LLC, a
    2   Delaware limited liability company;
    3   WARNER CHAPPELL MUSIC, Inc., a
        Delaware corporation; ULTRA
    4   RECORDS, LLC, a Delaware limited
    5   liability company; ENERGY MUSIC
        CORP, a Florida corporation, LUIS
    6   ALFONSO RODRÍGUEZ LÓPEZ-
    7   CEPERO, an individual; MAURICIO
        RENGIFO, an individual; ANDRÉS
    8   TORRES, an individual; MICHAEL
    9   ANTHONY TORRES MONGE, an
        individual; JUAN CARLOS OZUNA
   10   ROSADO, an individual; ERIKA MARÍA
   11   ENDER SIMOES, an individual; RAMÓN
        LUIS AYALA RODRÍGUEZ, an
   12   individual; OLADAYO OLATUNJI, an
   13   individual; STEPHANIE VICTORIA
        ALLEN, an individual; NICK RIVERA
   14   CAMINERO, an individual; SEBASTIÁN
   15   OBANDO GIRALDO, an individual;
        PABLO AREVALO LLANO, an
   16   individual; CARLOS EFRÉN REYES
   17   ROSADO, an individual; RAÚL
        ALEJANDRO OCASIO RUIZ, an
   18   individual; JUSTIN BIEBER, an
   19   individual; JASON PAUL DOUGLAS
        BOYD, an individual; UMG
   20   RECORDINGS, INC., a Delaware
   21   corporation individually and doing
        business as “Universal Music Latin
   22   Entertainment,” “Geffen Records,” and
   23   “Machette Records”; KOBALT MUSIC
        PUBLISHING LIMITED, an English
   24   private limited company; KOBALT
   25   MUSIC PUBLISHING AMERICA, INC.,
        a Delaware corporation; LUIS ENRIQUE
   26   ORTIZ RIVERA, an individual; JUAN G
   27   RIVERA VASQUEZ, an individual;
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    1   EMMANUEL GAZMEY SANTIAGO, an
        individual; LLANDEL VEGUILLA
    2   MALAVÉ, an individual; JUAN CARLOS
    3   SALINAS JR., an individual; OSCAR
        EDWARD SALINAS, an individual;
    4   FRANCISCO SALDAÑA, an individual;
    5   VÍCTOR B CABRERA, an individual;
        CARLOS ISAÍAS MORALES
    6   WILLIAMS, an individual; URBANI
    7   MOTA CEDEÑO, an individual;
        MARCOS MASIS, an individual; JUAN
    8   LUIS MORERA LUNA, an individual;
    9   SONY/ATV MUSIC PUBLISHING (UK)
        LIMITED, an English private limited
   10   company; EL CARTEL RECORDS, INC.,
   11   a Puerto Rican Corporation; GASOLINA
        PUBLISHING CO, a Puerto Rican
   12   Corporation; SONY MUSIC
   13   ENTERTAINMENT US LATIN, LLC, a
        Delaware Limited Liability Company;
   14   ABRAHAM MATEO CHAMORRO, an
   15   individual; JAVIER ALEXANDER
        SALAZAR, an individual; LARISSA DE
   16   MARCEDO MACHADO, an individual;
   17   JUSTIN RAFAEL QUILES RIVERA, an
        individual; PEERMUSIC III, LTD., A
   18   Delaware Corporation; PULSE
   19   RECORDS, INC,. a California
        Corporation; ALEXANDER DELGADO
   20   HERNANDEZ, an individual; RANDY
   21   MALCOM MARTINEZ, an individual;
        AUSTIN AGUSTIN SANTOS, an
   22   individual; RAFAEL CASTILLO
   23   TORRES, an individual; JESUS MANUEL
        NIEVES CORTEZ, an individual; ANDY
   24   CLAY CRUZ, an individual; XAVIER
   25   SEMPER, an individual; LUIAN
        MALAVE, an individual; SONY MUSIC
   26   PUBLISHING, LLC, a Delaware limited
   27   liability company; MAURICIO
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    1   ALBERTO REGLERO RODRIGUEZ, an
        individual; RICARDO ANDRES
    2   REGLERO RODRIGUEZ, an individual;
    3   ANDRES TORRES, an individual; JORGE
        VALDES, an individual; MAYBACH
    4   MUSIC GROUP, LLC, a Florida Limited
    5   Liability Company; CINQ MUSIC
        GROUP, LLC, a California Limited
    6   Liability Company; CINQ MUSIC
    7   PUBLISHING, LLC, a California Limited
        Liability Company; EGBERT ROSA
    8   CINTRON, an individual; REAL HASTA
    9   LA MEURTE, LLC, a Florida Limited
        Liability Company; NELSON DIAZ
   10   MARTINEZ, an individual; DANIEL
   11   OVIEDO, an individual; CARBON FIBER
        MUSIC, INC., a Florida Corporation;
   12   ENRIQUE IGLESIAS, an individual;
   13   RIMAS MUSIC, LLC, a Florida Limited
        Liability Company; BENITO ANTONIO
   14   MARTINEZ OCASIO, an individual;
   15   FELIX ORTIZ TORRES, an individual;
        GABRIEL PIZARRO, an individual;
   16   AURA MUSIC, LLC, a Florida Limited
   17   Liability Company; FREDDY
        MONTALVO JR., an individual; MIGUEL
   18   ANDRES MARTINEZ PEREA, an
   19   individual; CHRISTIAN MENA, an
        individual; VLADIMIR FELIX, an
   20   individual; ORLANDO JAVIER VALLE
   21   VEGA, an individual; EDWIN VASQUEZ
        VEGA, an individual; HIPGNOSIS
   22   SONGS GROUP, LLC, a Delaware
   23   Limited Liability Company; KEMOSABE
        RECORDS, LLC, a Delaware Limited
   24   Liability Company; REBBECA MARIE
   25   GOMEZ, an individual; JUAN LUIS
        LONDONO ARIAS, an individual;
   26   NATALIA AMAPOLA ALEXANDRA
   27   GUTIERREZ BATISTA, an individual;
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    1   CAMILO ECHEVERRIA, an individual;
        CONCORD MUSIC GROUP, LLC, a
    2   Delaware Limited Liability Company;
    3   PEDRO DAVID DALECCIO TORRES,
        an individual; MANUEL TURIZO
    4   ZAPATA, an individual; ANTON
    5   ALVAREZ, an individual; ALEJANDRO
        RENGIFO, an individual; MAURICIO
    6   RENGIFO, an individual; JESUS
    7   ALBERTO NAVARRO, an individual;
        JULIO RAMIREZ EGUIA, an individual;
    8   GILBERTO MARIN ESPINOZA, an
    9   individual; DANNA PAOLA RIVERA
        MUNGUIA, an individual; MICHAEL
   10   EGRED MEJIA, an individual; CARLOS
   11   ALBERTO VIVES RESTREPO, an
        individual; ENRIQUE MARTIN
   12   MORALES, an individual; MARCOS
   13   RAMIREZ, an individual; VICTOR R.
        TORRES, an individual; JULIO
   14   ALBERTO CRUZ GARCIA, an
   15   individual; VYDIA, INC., a Delaware
        Corporation; RICHARD CAMACHO, an
   16   individual; ERICK BRIAN COLON, an
   17   individual; CHRISTOPHER VELEZ, an
        individual; ZABDIEL DE JESUS, an
   18   individual; SALOMON VILLADA
   19   HOYOS, an individual; SOLAR MUSIC
        RIGHTS MANAGEMENT LIMITED, an
   20   English Limited Liability Company;
   21   GREEICY YELIANA RENDON
        CEBALLOS, an individual; DANIEL
   22   ALEJANDRO MORALES REYES, an
   23   individual; WILLIAM SAMI ETIENNE
        GRIGAHCINE, an individual; GLAD
   24   EMPIRE LIVE, LLC., a Puerto Rican
   25   Limited Liability Company; LUIS
        ANGEL O’NEILL LAUREANO, an
   26   individual; HEAR THIS MUSIC, LLC, a
   27   Puerto Rican Limited Liability Company;
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    1   MARCOS D. PEREZ, an individual;
        MARTHA IVELISSE PESANTE
    2   RODRIGUEZ, an individual; JOSE
    3   ALVARO OSORIO BALVIN, an
        individual; THOMAS WESLEY PENTZ,
    4   an individual; ERIC ALBERTO-LOPEZ,
    5   an individual; MAD DECENT
        PUBLISHING, LLC, a Delaware Limited
    6   Liability Company; MAD DECENT
    7   PROTOCOL, LLC, a Pennsylvania
        Limited Liability Company; JASON JOEL
    8   DESROULEAUX, an individual; JOSHUA
    9   CHRISTIAN NANAI, an individual;
        JULIO MANUEL GONZALEZ
   10   TAVAREZ, an individual; RICH MUSIC
   11   INC., a Delaware Corporation;
        GIENCARLOS RIVERA, an individual;
   12   JONATHAN RIVERA, an individual;
   13   KEVIN MAURICIO JIMENEZ
        LONDONO, an individual; BRYAN
   14   LEZCANO CHAVERRA, an individual;
   15   ERNESTO FIDEL PADILLA, an
        individual; DIMELO VI LLC, a Puerto
   16   Rican Limited Liability Company; VP
   17   RECORDS CORPORATION, a Puerto
        Rican Corporation; JOSE APONTE
   18   SANTI. an individual; MR. 305, INC., a
   19   Florida Corporation; ERIC PEREZ
        ROVIR, an individual; DUARS
   20   ENTERTAINMENT, CORP., a Puerto
   21   Rican Corporation; ISOLATION
        NETWORK INC. doing business as
   22   INGROOVES MUSIC GROUP, a
   23   California Corporation; ANDRES FELIPE
        ZAPATA GAVIRIA, an individual;
   24   EMPIRE DISTRIBUTION, INC. doing
   25   Business as EMPIRE a California
        Corporation; PAULO EZEQUIEL
   26   LONDRA FARIAS, an individual;
   27   AUBREY DRAKE GRAHAM, an
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    1   individual; OVO SOUND, LLC, a
        California Limited Liability Company;
    2   FLOW LA MOVIE, INC., a Florida
    3   Corporation; ROSALIA VILA I
        TOBELLA, an individual; JOSE ANGEL
    4   LOPEZ MARTINEZ, an individual;
    5   SILVESTRE FRANCISCO DANGOND
        CORRALES, an individual; GEOFFREY
    6   ROYCE ROJAS, an individual; LUIS
    7   ANTONIO QUINONES GARCIA, an
        individual; THE ROYALTY NETWORK,
    8   INC., a New York Corporation; MANUEL
    9   ENRIQUE CORTES CLEGHORN, an
        individual; WK RECORDS, LLC, a
   10   Florida Limited Liability Company; LA
   11   BASE MUSIC GROUP, LLC, a Florida
        Limited Liability Company; and DOES 1 -
   12   20,
   13   Defendants.

   14

   15

   16        Plaintiffs, through counsel, hereby pray to this Honorable Court for relief
   17 based on the following:

   18                                Jurisdiction and Venue
   19        1.    This action arises under the Copyright Act of 1976, 17 U.S.C. § 101, et
   20 seq.

   21        2.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331,
   22 1338(a)-(b), and 1367(a).

   23        3.    Venue in this judicial district is proper under 28 U.S.C. §§ 1391(c),
   24 1400(a).

   25                                         Parties
   26        4.    Plaintiff Cleveland Constantine Browne is a resident of Kingston,
   27 Jamaica.

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    1         5.    Plaintiff Anika Johnson is a resident of Jamaica, and joins in the action
    2 not individually, but solely in her capacity as the personal representative and executor

    3 of the Estate of Wycliffe Johnson, pursuant to the grant of administration by the

    4 Supreme Court of Judicature of Jamaica, Case No. 2015-P-00576. Mr. Johnson died

    5 on September 1, 2009, and was a resident of Kingston, Jamaica. As such, Ms.

    6 Johnson is a successor-in-interest to all personal property of Wycliffe Johnson,

    7 including his intellectual property rights.

    8         6.    Plaintiff Carl Gibson is a resident of Jamaica, and joins in the action not
    9 individually, but solely in his capacity as the personal representative and executor of

   10 the Estate of Ephraim Barrett, pursuant to the grant of administration by the Supreme

   11 Court of Judicature of Jamaica. Mr. Barrett died on August 17, 2020, and was a

   12 resident of Jamaica. As such, Mr. Gibson is a successor-in-interest to all personal

   13 property of Ephraim Barrett, including his intellectual property rights.

   14         7.    Plaintiff Steely & Clevie Productions Ltd. is a Jamaican limited
   15 company.

   16         8.    Upon information and belief, Plaintiffs allege that Defendant Rodney
   17 Sebastian Clark Donalds p/k/a El Chombo (“El Chombo”) is an individual residing in

   18 Panama and doing business in and with the state of California, including in this

   19 judicial district.
   20         9.    Upon information and belief, Plaintiffs allege that Defendant Carolina
   21 Giraldo Navarro p/k/a Karol G (“Karol G”) is an individual residing in Medellin,

   22 Colombia and doing business in and with the state of California, including in this

   23 judicial district.

   24         10.   Upon information and belief, Plaintiffs allege that Defendant Armando
   25 Christian Pérez p/k/a Pitbull (“Pitbull”) is an individual residing in Miami, Florida

   26 and doing business in and with the state of California, including in this judicial
   27 district.

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    1         11.   Upon information and belief, Plaintiffs allege that Defendant Giordano
    2 Ashruf is an individual residing in Arnhem, Netherlands and doing business in and

    3 with the state of California, including in this judicial district.

    4         12.   Upon information and belief, Plaintiffs allege that Defendant Shareef
    5 Badloe is an individual residing in Arnhem, Netherlands and doing business in and

    6 with the state of California, including in this judicial district.

    7         13.   Upon information and belief, Plaintiffs allege that Defendant Rashid
    8 Badloe is an individual residing in Arnhem, Netherlands and doing business in and

    9 with the state of California, including in this judicial district.

   10         14.   Upon information and belief, Plaintiffs allege that Defendants Giordano
   11 Ashruf, Shareef Badloe, and Rashid Badloe—collectively p/k/a Afro Bros (“Afro

   12 Bros”)—are a DJ and record production entity of form unknown from Arnhem,

   13 Netherlands and doing business in and with the state of California, including in this

   14 judicial district.

   15         15.   Upon information and belief, Plaintiffs allege that Defendant Sony
   16 Music Entertainment, individually and doing business as “Ultra Music” (collectively

   17 “Sony”), is an American record label/music industry conglomerate and a Delaware

   18 general partnership with offices in Santa Monica, CA.

   19         16.   Upon information and belief, Plaintiffs allege that Defendant Universal
   20 Music Publishing, Inc. (“UMP”) is a Delaware corporation with a principal place of

   21 business at 2100 Colorado Avenue, Santa Monica, CA 90404.

   22         17.   Upon information and belief, Plaintiffs allege that Defendant BMG
   23 Rights Management, LLC (“BMG”) is a Delaware Limited Liability company with a

   24 principal place of business at 5670 Wilshire Blvd, Suite 1400, Los Angeles, CA

   25 90036.

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 1         18.    Upon information and belief, Plaintiffs allege that Defendant Warner
 2 Chappell Music, Inc. (“Warner”) is a Delaware Corporation with a principal place of

 3 business at 777 S. Santa Fe Ave., Los Angeles, CA 90021.

 4         19.    Upon information and belief, Plaintiffs allege that Defendant Ultra
 5 Records, LLC (“Ultra”) is a Delaware Limited Liability Company doing business in

 6 and with the state of California, including in this judicial district.

 7         20.    Upon information and belief, Plaintiffs allege that Defendant Energy
 8 Music Corp. is a Florida corporation doing business in and with the state of

 9 California, including in this judicial district.

10         21.    Upon information and belief, Plaintiffs allege that Defendant Luis
11 Alfonso Rodríguez López-Cepero p/k/a Luis Fonsi (“Luis Fonsi”) is an individual

12 residing in Miami, Florida and doing business in and with the state of California,

13 including in this judicial district.

14         22.    Upon information and belief, Plaintiffs allege that Defendant Mauricio
15 Rengifo p/k/a El Dandee (“El Dandee”) is an individual residing in Cali, Colombia

16 and doing business in and with the state of California, including in this judicial

17 district.

18         23.    Upon information and belief, Plaintiffs allege that Defendant Andrés
19 Torres (“Torres”) is an individual residing in Los Angeles, California and doing
20 business in and with the state of California, including in this judicial district.

21         24.    Upon information and belief, Plaintiffs allege that Defendant Michael
22 Anthony Torres Monge p/k/a Myke Towers (“Myke Towers”) is an individual

23 residing in San Juan, Puerto Rico and doing business in and with the state of

24 California, including in this judicial district.

25         25.    Upon information and belief, Plaintiffs allege that Defendant Juan
26 Carlos Ozuna Rosado p/k/a Ozuna (“Ozuna”) is an individual residing in San Juan,
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 1 Puerto Rico and doing business in and with the state of California, including in this

 2 judicial district.

 3         26.    Upon information and belief, Plaintiffs allege that Defendant Erika
 4 María Ender Simoes (“Simoes”) is an individual residing in Miami, Florida and

 5 doing business in and with the state of California, including in this judicial district.

 6         27.    Upon information and belief, Plaintiffs allege that Defendant Ramón
 7 Luis Ayala Rodríguez p/k/a Daddy Yankee (“Daddy Yankee”) is an individual

 8 residing in San Juan, Puerto Rico and doing business in and with the state of

 9 California, including in this judicial district.

10         28.    Upon information and belief, Plaintiffs allege that Defendant Justin
11 Bieber (“Bieber”) is an individual residing in Los Angeles, California.

12         29.    Upon information and belief, Plaintiffs allege that Defendant Jason Paul
13 Douglas Boyd p/k/a Poo Bear (“Boyd”) is an individual residing in Los Angeles,

14 California, and/or doing business in and with the state of California, including in this

15 judicial district.

16         30.    Upon information and belief, Plaintiffs allege that Defendant Oladayo
17 Olatunji p/k/a Dyo (“Dyo”) is an individual residing in London, England and doing

18 business in and with the state of California, including in this judicial district.

19         31.    Upon information and belief, Plaintiffs allege that Defendant Stephanie
20 Victoria Allen p/k/a Stefflon Don (“Stefflon Don”) is an individual residing in

21 London, England and doing business in and with the state of California, including in

22 this judicial district.

23         32.    Upon information and belief, Plaintiffs allege that Defendant Nick
24 Rivera Caminero p/k/a Nicky Jam (“Nicky Jam”) is an individual residing in Miami,

25 Florida and doing business in and with the state of California, including in this

26 judicial district.
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 1         33.    Upon information and belief, Plaintiffs allege that Defendant Sebastián
 2 Obando Giraldo p/k/a Sebastian Yatra (“Sebastian Yatra”) is an individual residing in

 3 Colombia and doing business in and with the state of California, including in this

 4 judicial district.

 5         34.    Upon information and belief, Plaintiffs allege that Defendant Pablo
 6 Arevalo Llano (“Llano”) is an individual residing in Miami, Florida and doing

 7 business in and with the state of California, including in this judicial district.

 8         35.    Upon information and belief, Plaintiffs allege that Defendant Carlos
 9 Efrén Reyes Rosado p/k/a Farruko (“Farruko”) is an individual residing in San Juan,

10 Puerto Rico and doing business in and with the state of California, including in this

11 judicial district.

12         36.    Upon information and belief, Plaintiffs allege that Defendant Raúl
13 Alejandro Ocasio Ruiz p/k/a Rauw Alejandro (“Rauw Alejandro”) is an individual

14 residing in Miami, Florida and doing business in and with the state of California,

15 including in this judicial district.

16         37.    Upon information and belief, Plaintiffs allege that Defendant Kobalt
17 Music Publishing Ltd. (“Kobalt") is an English private limited company doing

18 business in and with the state of California, including in this judicial district.

19         38.    Upon information and belief, Plaintiffs allege that Kobalt Music
20 Publishing America Inc. is a Delaware Corporation with a principal place of business

21 at 2 Gansevoort Street 6th Floor, New York, NY 10014, and registered to do business

22 in the state of California.

23         39.    Upon information and belief, Plaintiffs allege that Defendant Carlos
24 Ortiz Rivera p/k/a Chris Jeday or Chris Jedi (“Chris Jeday”) is an individual residing

25 in San Juan, Puerto Rico and doing business in and with the state of California,

26 including in this judicial district.
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 1         40.    Upon information and belief, Plaintiffs allege that Defendant Juan G
 2 Rivera Vasquez p/k/a Gaby Music (“Gaby Music”) is an individual residing in San

 3 Juan, Puerto Rico and doing business in and with the state of California, including in

 4 this judicial district.

 5         41.    Upon information and belief, Plaintiffs allege that Defendant Emmanuel
 6 Gazmey Santiago p/k/a Anuel AA (“Anuel AA”) is an individual residing in San

 7 Juan, Puerto Rico and doing business in and with the state of California, including in

 8 this judicial district.

 9         42.    Upon information and belief, Plaintiffs allege Defendant Llandel
10 Veguilla Malavé p/k/a Yandel (“Yandel”) is an individual residing in San Juan,

11 Puerto Rico and doing business in and with the state of California, including in this

12 judicial district.

13         43.    Upon information and belief, Plaintiffs allege that Defendant Juan
14 Carlos Salinas Jr. p/k/a Play (“Play”) is an individual residing in Dallas, Texas and

15 doing business in and with the state of California, including in this judicial district.

16         44.    Upon information and belief, Plaintiffs allege that Defendant Oscar
17 Edward Salinas p/k/a Skillz (“Skillz”) is an individual residing in Dallas, Texas and

18 doing business in and with the state of California, including in this judicial district.

19         45.    Upon information and belief, Plaintiffs allege that Defendant Francisco
20 Saldaña p/k/a Luny (“Luny”) is an individual residing in San Juan, Puerto Rico and

21 doing business in and with the state of California, including in this judicial district.

22         46.    Upon information and belief, Plaintiffs allege that Defendant Víctor B
23 Cabrera p/k/a Tunes (“Tunes”) is an individual residing in San Juan, Puerto Rico and

24 doing business in and with the state of California, including in this judicial district.

25         47.    Upon information and belief, Plaintiffs allege that Defendant Carlos
26 Isaías Morales Williams, p/k/a Sech (“Sech”) is an individual residing in Panama
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 1 City, Panama and doing business in and with the state of California, including in this

 2 judicial district.

 3         48.   Upon information and belief, Plaintiffs allege that Defendant Urbani
 4 Mota Cedeño p/k/a DJ Urba (“DJ Urba”) is an individual residing in San Juan, Puerto

 5 Rico and doing business in and with the state of California, including in this judicial

 6 district.

 7         49.   Upon information and belief, Plaintiffs allege that Defendant Marcos
 8 Masis p/k/a Tainy (“Tainy”) is an individual residing in San Juan, Puerto Rico and

 9 doing business in and with the state of California, including in this judicial district.

10         50.   Upon information and belief, Plaintiffs allege that Defendant Juan Luis
11 Morera Luna p/k/a Wisin (“Wisin”)1 is an individual residing in San Juan, Puerto

12 Rico and doing business in and with the state of California, including in this judicial

13 district.

14         51.   Upon information and belief, Plaintiffs allege that Defendant Sony/ATV
15 Music Publishing (UK) Limited (“Sony/ATV”) is an English private limited

16 company with offices in Santa Monica, California.

17         52.   Upon information and belief, Plaintiffs allege that Defendant Sony
18 Music Entertainment US Latin LLC (“Sony Latin”) is a Delaware Limited Liability

19 Company registered to do business in California.
20         53.   Upon information and belief, Plaintiffs allege that Defendants UMG
21 Recordings, Inc., individually and doing business as “Universal Music Latin

22 Entertainment.” “Geffen Records” and “Machette Records” (collectively, “UMG”),

23 are California corporations.

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26   Service upon Wisin is currently the subject of Plaintiffs’ ex parte motion (Dkt. 299),
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   and should that motion be denied, Wisin will be dismissed without prejudice pursuant
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   to the Case Administration Plan (Dkt. 143).
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 1         54.    Upon information and belief, Plaintiffs allege that Defendant El Cartel
 2 Records, Inc. (“El Cartel”) is a corporation owned and/or operated, in whole or in

 3 part, by UMG from UMG’s California offices, and does business in and with the state

 4 of California and with this district.

 5         55.    Upon information and belief, Plaintiffs allege that Defendant Gasolina
 6 Publishing Co., (“GPC”) is a publishing company registered with ASCAP and doing

 7 business in and with the state of California, including in this judicial district.

 8         56.    Upon information and belief, Plaintiffs allege that Defendant Abraham
 9 Mateo Chamorro p/k/a Abraham Mateo (“Mateo”) is a Spanish individual residing in

10 California and doing business in and with the state of California, including in this

11 judicial district.

12         57.    Upon information and belief, Plaintiffs allege that Defendant Javier
13 Alexander Salazar p/k/a Alex Sensation (“Alex Sensation”) is a Columbian

14 individual residing in Manhattan, New York and doing business in and with the state

15 of California, including in this judicial district.

16         58.    Upon information and belief, Plaintiffs allege that Defendant Larissa de
17 Marcedo Machado p/k/a Anitta (“Anitta”) is a Brazilian individual living in Rio de

18 Janeiro, Brazil and doing business in and with the state of California, including in this

19 judicial district.
20         59.    Upon information and belief, Plaintiffs allege that Defendant Justin
21 Rafael Quiles Rivera p/k/a Justin Quiles or J Quiles (“Justin Quiles”) is a Puerto

22 Rican individual living in Miami, Florida and doing business in and with the state of

23 California, including in this judicial district.

24         60.    Upon information and belief, Plaintiffs allege that Defendant Peermusic
25 III, Ltd. (“Peermusic”) is a Delaware Corporation with a principal place of business

26 at 901 West Alameda Avenue, Suite 108 Burbank, California and doing business in
27 and with the state of California, including in this judicial district.

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 1         61.      Upon information and belief, Plaintiffs allege that Defendant Pulse
 2 Records, Inc. (“Pulse”) is a California Corporation with a principal place of business

 3 at 2840 Rowena Ave. Los Angeles, California 90039 and doing business in and with

 4 the state of California, including in this judicial district.

 5         62.      Upon information and belief, Plaintiffs allege that Defendant Alexander
 6 Delgado Hernandez and Defendant Randy Malcom Martinez collectively

 7 professionally known as the group Gente De Zona (“Gente de Zona”) are Cuban

 8 individuals living in Miami, Florida and doing business in and with the state of

 9 California, including in this district.

10         63.      Upon information and belief, Plaintiffs allege that Defendant Austin
11 Agustin Santos p/k/a Arcangel (“Arcangel”) is an individual living in New York City

12 and Puerto Rico and doing business in and with the state of California, including in

13 this district.

14         64.      Upon information and belief, Plaintiffs allege that Defendant Rafael
15 Castillo Torres p/k/a De La Ghetto (“De La Ghetto”) is an individual living in New

16 York City and Puerto Rico and doing business in and with the state of California,

17 including in this district.

18         65.      Upon information and belief, Plaintiffs allege that Defendant Jesus
19 Manuel Nieves Cortez p/k/a Jhayco or Jhay Cortez (“Jhay Cortez”) is an individual
20 living in New Jersey and Puerto Rico and doing business in and with the state of

21 California, including in this district.

22         66.      Upon information and belief, Plaintiffs allege that Defendant Andy Clay
23 Cruz p/k/a Andy Clay (“Andy Clay”) is an individual living in Miami, Florida and

24 doing business in and with the state of California, including in this district.

25         67.      Upon information and belief, Plaintiffs allege that Edgar Semper and
26 Defendant Xavier Semper collectively professionally known as the group Mambo
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 1 Kingz (“Mambo Kingz”) are individuals living in Puerto Rico and doing business in

 2 and with the state of California, including in this district.

 3         68.    Upon information and belief, Plaintiffs allege that Defendant Luian
 4 Malave p/k/a DJ Luian (“DJ Luian”) is an individual living in Puerto Rico and doing

 5 business in and with the state of California, including in this district.

 6         69.    Upon information and belief, Plaintiffs allege that Sony Music
 7 Publishing, LLC (“SMP”) is a Delaware Limited Liability Company with offices

 8 located in Los Angeles, California and doing business in and with the state of

 9 California, including in this district.

10         70.     Upon information and belief, Plaintiffs allege that Defendant Mauricio
11 Alberto Reglero Rodriguez p/k/a Mau (“Mau”) is an individual living in Miami,

12 Florida and doing business in and with the state of California, including in this

13 district.

14         71.    Upon information and belief, Plaintiffs allege that Defendant Ricardo
15 Andres Reglero Rodriguez p/k/a Ricky (“Ricky”) is an individual residing in Miami,

16 Florida and doing business in and with the state of California, including in this

17 judicial district. Ricky and Mau perform as a duo professionally known as Mau &

18 Ricky (“Mau & Ricky”).

19         72.    Upon information and belief, Plaintiffs allege that Defendant Andres
20 Torres p/k/a Andres Torres (“Andres Torres”) is an individual residing in Los

21 Angeles, California and doing business in and with the state of California, including

22 in this judicial district.

23         73.    Upon information and belief, Plaintiffs allege that Defendant Jorge
24 Valdes Vasquez p/k/a Dimelo Flow (“Dimelo Flow”) is an individual residing in

25 Tampa, Florida and doing business in and with the state of California, including in

26 this judicial district.
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 1         74.    Upon information and belief, Plaintiffs allege that Defendant Maybach
 2 Music Group, LLC (“Maybach”) is a Florida Limited Liability Company with a

 3 principal place of business in Mississippi and doing business in and with the state of

 4 California, including in this judicial district.

 5         75.    Upon information and belief, Plaintiffs allege that Defendant Cinq
 6 Music Group, LLC (“Cinq Music”) is a California Limited Liability Company with a

 7 principal place of business at Los Angeles, California and doing business in and with

 8 the state of California, including in this judicial district.

 9         76.    Upon information and belief, Plaintiffs allege that Defendant Cinq
10 Music Publishing, LLC (“Cinq Publishing”) is a California Limited Liability

11 Company with a principal place of business at Los Angeles, California and doing

12 business in and with the state of California, including in this judicial district.

13         77.    Upon information and belief, Plaintiffs allege that Defendant Egbert
14 Rosa Cintron p/k/a Fino Como El Haze (“Haze”) is an individual residing in Tampa,

15 Florida and doing business in and with the state of California, including in this

16 judicial district.

17         78.    Upon information and belief, Plaintiffs allege that Defendant Real Hasta
18 la Muerte, LLC (“RHLM”) is a Florida Limited Liability Company with a principal

19 place of business at 10421 SW 89th Ave. Miami, Florida and doing business in and
20 with the state of California, including in this judicial district.

21         79.    Upon information and belief, Plaintiffs allege that Defendant Nelson
22 Diaz Martinez p/k/a DJ Nelson (“DJ Nelson”) is an individual residing in Puerto Rico

23 and doing business in and with the state of California, including in this judicial

24 district.

25         80.    Upon information and belief, Plaintiffs allege that Defendant Daniel
26 Oviedo p/k/a Ovy on the Drums (“Ovy on the Drums”) is an individual residing in
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 1 Miami, Florida and doing business in and with the state of California, including in

 2 this judicial district.

 3         81.    Upon information and belief, Plaintiffs allege that Defendant Carbon
 4 Fiber Music, Inc. (“Carbon Fiber”) is a Florida Corporation with a principal place of

 5 business at 14125 NW 80th Ave; 401, Miami Lakes, Florida 33016 and doing

 6 business in and with the state of California, including in this judicial district.

 7         82.    Upon information and belief, Plaintiffs allege that Defendant Enrique
 8 Iglesias p/k/a Enrique Iglesias (“Enrique Iglesias”) is an individual residing in Miami,

 9 Florida and doing business in and with the state of California, including in this

10 judicial district.

11         83.    Upon information and belief, Plaintiffs allege that Defendant Rimas
12 Music, LLC (“Rimas”) is a Florida Limited Liability Company with a principal place

13 of business at 333 S.E. 2nd Avenue Suite 3200, Miami, Florida 33131 and doing

14 business in and with the state of California, including in this judicial district.

15         84.    Upon information and belief, Plaintiffs allege that Defendant Benito
16 Antonio Martinez Ocasio p/k/a Bad Bunny (“Bad Bunny”) is an individual residing

17 in Miami, Florida, Los Angeles, California, Puerto Rico and doing business in and

18 with the state of California, including in this judicial district.

19         85.    Upon information and belief, Plaintiffs allege that Defendant Felix Ortiz
20 Torres p/k/a Zion (“Zion”) is an individual living in Puerto Rico and doing business

21 in and with the state of California, including in this district.

22         86.    Upon information and belief, Plaintiffs allege that Defendant Gabriel
23 Pizarro p/k/a Lennox (“Lennox”) is an individual residing in Puerto Rico and doing

24 business in and with the state of California, including in this judicial district. Zion

25 and Lennox perform as a duo professionally known as Zion & Lennox (“Zion &

26 Lennox”).
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 1         87.   Upon information and belief, Plaintiffs allege that Defendant Aura
 2 Music, LLC (“Aura”) is a Florida Limited Liability Company with a principal place

 3 of business at 1759 Avenida Del Sol, Boca Raton, Florida 33432 and doing business

 4 in and with the state of California, including in this judicial district.

 5         88.   Upon information and belief, Plaintiffs allege that Defendant Freddy
 6 Montalvo Jr. p/k/a Freddy El Synthethyzer (“Freddy”) is an individual living in

 7 Puerto Rico and doing business in and with the state of California, including in this

 8 judicial district. Freddy and Jose Cruz p/k/a (“Phantoms”) perform as a duo

 9 professionally known as SubeloNeo (“SubeloNeo”).

10         89.   Upon information and belief, Plaintiffs allege that Defendant Miguel
11 Andres Martinez Perea p/k/a Slow Mike (“Slow Mike”) is an individual residing in

12 Miami Florida and doing business in and with the state of California, including in this

13 judicial district.

14         90.   Upon information and belief, Plaintiffs allege that Defendant Christian
15 Mena p/k/a Saga WhiteBlack (“Saga WhiteBlack”) is an individual residing in Miami

16 Florida and doing business in and with the state of California, including in this

17 judicial district.

18         91.   Upon information and belief, Plaintiffs allege that Defendant Vladimir
19 Felix p/k/a DJ Blass (“DJ Blass”) is an individual residing in Miami, Florida and
20 doing business in and with the state of California, including in this judicial district.

21         92.   Upon information and belief, Plaintiffs allege that Defendant Orlando
22 Javier Valle Vega p/k/a Chencho Corleone(“Chencho”) is an individual living in

23 Puerto Rico and doing business in and with the state of California, including in this

24 judicial district.

25         93.   Upon information and belief, Plaintiffs allege that Defendant Edwin
26 Vasquez Vega p/k/a Maldy (“Maldy”) is an individual residing in Puerto Rico and
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 1 doing business in and with the state of California, including in this judicial district.

 2 Chencho and Maldy perform as a duo professionally known as Plan B (“Plan B”).

 3         94.    Upon information and belief, Plaintiffs allege that Defendant Hipgnosis
 4 Songs Group, LLC (“Hipgnosis”) is a Delaware Limited Liability Company

 5 registered to do business in the state of California with a principal place of business

 6 at 15503 Ventura Blvd. Suite 300, Encino, CA 91436 and doing business in and with

 7 the state of California, including in this judicial district.

 8         95.    Upon information and belief, Plaintiffs allege that Defendant Kemosabe
 9 Records, LLC (“Kemosabe”) is a Delaware Limited Liability Company registered to

10 do business in the state of California and doing business in and with the state of

11 California, including in this judicial district. Upon information and belief, Kemosabe

12 is owned by Sony Music Entertainment, based in Los Angeles, California.

13         96.    Upon information and belief, Plaintiffs allege that Defendant Rebbeca
14 Marie Gomez p/k/a Becky G (“Becky G”) is an individual residing in Los Angeles,

15 California and doing business in and with the state of California, including in this

16 judicial district.

17         97.    Upon information and belief, Plaintiffs allege that Defendant Juan Luis
18 Londono Arias p/k/a Maluma (“Maluma”) is an individual residing in Miami, Florida

19 and Columbia doing business in and with the state of California, including in this
20 judicial district.

21         98.    Upon information and belief, Plaintiffs allege that Defendant Natalia
22 Amapola Alexandra Gutierrez Batista p/k/a Natti Natasha (“Natti Natasha”) is an

23 individual residing in Miami, Florida and doing business in and with the state of

24 California, including in this judicial district.

25         99.    Upon information and belief, Plaintiffs allege that Defendant Camilo
26 Echeverria p/k/a Camilo (“Camilo”) is an individual residing in Miami Florida and
27 doing business in and with the state of California, including in this judicial district.

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 1         100. Upon information and belief, Plaintiffs allege that Defendant Concord
 2 Music Group, LLC (“Concord”) is a Delaware Limited Liability Company registered

 3 to do business in the state of California with an office at 5750 Wilshire Blvd Suite

 4 450, Los Angeles, California 90036 and doing business in and with the state of

 5 California, including in this judicial district.

 6         101. Upon information and belief, Plaintiffs allege that Defendant Pedro
 7 David Daleccio Torres p/k/a Dalex (“Dalex”) is an individual residing in Miami,

 8 Florida and doing business in and with the state of California, including in this

 9 judicial district.

10         102. Upon information and belief, Plaintiffs allege that Defendant Manuel
11 Turizo Zapata p/k/a Manuel Turizo (“Manuel Turizo”) is an individual residing in

12 Miami, Florida and doing business in and with the state of California, including in

13 this judicial district.

14         103. Upon information and belief, Plaintiffs allege that Defendant Anton
15 Alvarez Alfaro p/k/a C. Tangana (“C. Tangana”) is an individual residing in

16 Columbia and doing business in and with the state of California, including in this

17 judicial district.

18         104. Upon information and belief, Plaintiffs allege that Defendant Alejandro
19 Rengifo p/k/a Cali (“Cali”) is an individual living in Colombia and doing business in
20 and with the state of California, including in this judicial district.

21         105. Upon information and belief, Plaintiffs allege that Defendant Maurivio
22 Rengifo p/k/a El Dandee (“El Dandee”) is an individual residing in Colombia and

23 doing business in and with the state of California, including in this judicial district.

24 Cali and El Dandee perform as a duo professionally known as Cali & El Dandee

25 (“Cali & El Dandee”).

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 1         106. Upon information and belief, Plaintiffs allege that Defendant Jesus
 2 Alberto Navarro is an individual living in New York, New York and doing business

 3 in and with the state of California, including in this judicial district.

 4         107. Upon information and belief, Plaintiffs allege that Defendant Julio
 5 Ramirez Eguia is an individual residing in San Diego, California and doing business

 6 in and with the state of California, including in this judicial district.

 7         108. Upon information and belief, Plaintiffs allege that Defendant Gilberto
 8 Marin Espinoza is an individual residing in Playa Del Carmen, Mexico and doing

 9 business in and with the state of California, including in this judicial district. Jesus

10 Alberto Navarro, Julio Ramirez Equia, and Gilberto Marin Espinoza are

11 professionally known as the band Reik (“Reik”).

12         109. Upon information and belief, Plaintiffs allege that Defendant Danna
13 Paola Rivera Munguia p/k/a Danna Paola (“Danna Paola”) is an individual living in

14 Mexico City, Mexico and doing business in and with the state of California,

15 including in this district.

16         110. Upon information and belief, Plaintiffs allege that Defendant Michael
17 Egred Mejia p/k/a Mike Bahia (“Mike Bahia”) is an individual living in Colombia

18 and doing business in and with the state of California, including in this judicial

19 district.
20         111. Upon information and belief, Plaintiffs allege that Defendant Carlos
21 Alberto Vives Restrepo p/k/a Carlos Vives (“Carlos Vives”) is an individual living in

22 Miami, Florida and Colombia and doing business in and with the state of California,

23 including in this judicial district.

24         112. Upon information and belief, Plaintiffs allege that Defendant Enrique
25 Martin Morales p/k/a Ricky Martin (“Ricky Martin”) is an individual living in

26 Beverly Hills, California and doing business in and with the state of California,
27 including in this judicial district.

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 1         113. Upon information and belief, Plaintiffs allege that Defendant Marcos
 2 Ramirez is an individual living in Puerto Rico and doing business in and with the

 3 state of California, including in this judicial district.

 4         114. Upon information and belief, Plaintiffs allege that Defendant Victor R.
 5 Torres is an individual living in Puerto Rico and doing business in and with the state

 6 of California, including in this judicial district.

 7         115. Upon information and belief, Marcos Ramirez and Victor R. Torres
 8 perform and are professionally known as Los Legendarios (collectively “Los

 9 Legendarios”).

10         116. Upon information and belief, Plaintiffs allege that Defendant Julio
11 Alberto Cruz Garcia p/k/a Casper Magico (“Casper Magico”) is an individual living

12 in Puerto Rico and doing business in and with the state of California, including in this

13 judicial district.

14         117. Upon information and belief, Plaintiffs allege that Defendant Vydia, Inc.
15 (“Vydia”) is a Delaware Corporation registered to do business in the state of

16 California with an office at 101 Crawford Corner Road Holmdel, New Jersey 07733

17 and doing business in and with the state of California, including in this judicial

18 district.

19         118. Upon information and belief, Plaintiffs allege that Defendant Richard
20 Camacho is an individual living in Miami, Florida doing business in and with the

21 state of California, including in this judicial district.

22         119. Upon information and belief, Plaintiffs allege that Defendant Erick
23 Brian Colon is an individual residing in Miami, Florida and doing business in and

24 with the state of California, including in this judicial district.

25         120. Upon information and belief, Plaintiffs allege that Defendant
26 Christopher Velez is an individual residing in Miami, Florida and doing business in
27 and with the state of California, including in this judicial district.

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 1         121. Upon information and belief, Plaintiffs allege that Defendant Zabdiel De
 2 Jesus is an individual residing in Miami, Florida and doing business in and with the

 3 state of California, including in this judicial district. Defendants Richard Camacho,

 4 Erick Brian Colon, Christopher Velez, and Zabdiel De Jesus perform and are

 5 professionally known as the Latin American boy band CNCO (collectively

 6 “CNCO”).

 7         122. Upon information and belief, Plaintiffs allege that Defendant Salomon
 8 Villada Hoyos p/k/a Feid (“Feid”) is an individual living in Miami, Florida and doing

 9 business in and with the state of California, including in this judicial district.

10         123. Upon information and belief, Plaintiffs allege that Defendant Solar
11 Music Rights management Limited (“SOLAR”) is an English Limited Liability

12 Company doing business in and with the state of California, including in this judicial

13 district.

14         124. Upon information and belief, Plaintiffs allege that Defendant Greeicy
15 Yeliana Rendon Ceballos p/k/a Greeicy (“Greeicy”) is an individual living in

16 Columbia and doing business in and with the state of California, including in this

17 judicial district.

18         125. Upon information and belief, Plaintiffs allege that Defendant Daniel
19 Alejandro Morales Reyes p/k/a Danny Ocean (“Danny Ocean”) is an individual
20 living in Miami, Florida and doing business in and with the state of California,

21 including in this judicial district.

22         126. Upon information and belief, Plaintiffs allege that Defendant William
23 Sami Etienne Grigahcine p/k/a DJ Snake (“DJ Snake”) is an individual living in

24 France and doing business in and with the state of California, including in this

25 judicial district.

26         127. Upon information and belief, Plaintiffs allege that Defendant Glad
27 Empire Live, LLC. (“Glad Empire”) is a Puerto Rican Limited Liability Company

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 1 doing business in and with the state of California, including in this judicial district.

 2 Upon information and belief, Glad Empire is owned and operated by Get Low

 3 Records, LLC a Florida Limited Liability Company.

 4         128. Upon information and belief, Plaintiffs allege that Defendant Luis Angel
 5 O’Neill Laureano p/k/a O’Neill (“O’Neill”) is an individual living in Miami Florida

 6 and doing business in and with the state of California, including in this judicial

 7 district.

 8         129. Upon information and belief, Plaintiffs allege that Defendant Hear This
 9 Music, LLC (“Hear This Music”) is a Puerto Rican Limited Liability Company doing

10 business in and with the state of California, including in this judicial district.

11         130. Upon information and belief, Plaintiffs allege that Defendant Marcos D.
12 Perez p/k/a Sharo Towers or Sharo Torres (“Sharo Towers”) is an individual living in

13 Miami, Florida and doing business in and with the state of California, including in

14 this judicial district.

15         131. Upon information and belief, Plaintiffs allege that Defendant Martha
16 Ivelisse Pesante Rodriguez p/k/a Ivy Queen (“Ivy Queen”) is an individual residing in

17 Puerto Rico and Miami, Florida and doing business in and with the state of

18 California, including in this judicial district.

19         132. Upon information and belief, Plaintiffs allege that Defendant Jose
20 Alvaro Osorio Balvin p/k/a J Balvin (“J Balvin”) is an individual residing in New

21 York and Columbia and doing business in and with the state of California, including

22 in this judicial district.

23         133. Upon information and belief, Plaintiffs allege that Defendant Thomas
24 Wesley Pentz p/k/a Diplo (“Diplo”) is an individual residing in Los Angeles,

25 California and doing business in and with the state of California, including in this

26 judicial district.
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 1         134. Upon information and belief, Plaintiffs allege that Defendant Eric
 2 Alberto-Lopez p/k/a Ape Drums (“Ape Drums”) is an individual residing in Miami,

 3 Florida and doing business in and with the state of California, including in this

 4 judicial district.

 5         135. Upon information and belief, Plaintiffs allege that Defendants Diplo, and
 6 Ape Drums perform and are professionally known as the group Major Lazer

 7 (collectively “Major Lazer”).

 8         136. Upon information and belief, Plaintiffs allege that Defendant Mad
 9 Decent Publishing, LLC. (“Mad Decent Publishing”) is a Delaware Limited Liability

10 Company registered to do business in California and doing business in and with the

11 state of California, including in this judicial district.

12         137. Upon information and belief, Plaintiffs allege that Defendant Mad
13 Decent Protocol, LLC. (“Mad Decent”) is a Pennsylvania Limited Liability Company

14 registered to do business in California and doing business in and with the state of

15 California, including in this judicial district.

16         138. Upon information and belief, Plaintiffs allege that Defendant Jason Joel
17 Desrouleaux p/k/a Jason Derulo (“Jason Derulo”) is an individual residing in Los

18 Angeles, California and doing business in and with the state of California, including

19 in this judicial district.
20         139. Upon information and belief, Plaintiffs allege that Defendant Joshua
21 Christian Nanai p/k/a Jawsh 685 (“Jawsh 685”) is an individual residing in

22 Manurewa New Zealand and doing business in and with the state of California,

23 including in this judicial district.

24         140. Upon information and belief, Plaintiffs allege that Defendant Julio
25 Manuel Gonzalez Tavarez p/k/a Lenny Tavarez (“Lenny Tavarez”) is an individual

26 residing in Puerto Rico and doing business in and with the state of California,
27 including in this judicial district.

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 1         141. Upon information and belief, Plaintiffs allege that Defendant Rich
 2 Music Inc. (“Rich Music”) is a Delaware Corporation registered with a principal

 3 place of business in Miami Florida and doing business in and with the state of

 4 California, including in this judicial district.

 5         142. Upon information and belief, Plaintiffs allege that Defendant Giencarlos
 6 Rivera p/k/a Yan Madmusick (“Yan Madmusick”) is an individual residing in Miami,

 7 Florida and doing business in and with the state of California, including in this

 8 judicial district.

 9         143. Upon information and belief, Plaintiffs allege that Defendant Jonathan
10 Rivera p/k/a Yon Madmusick (“Yon Madmusick”) is an individual residing in Miami

11 Florida and doing business in and with the state of California, including in this

12 judicial district.

13         144. Upon information and belief, Plaintiffs allege that Defendants Yon
14 Madmusick and Yan Madmusick perform and are professionally known together as

15 Madmusick (collectively “Madmusick”).

16         145. Upon information and belief, Plaintiffs allege that Defendant Kevin
17 Mauricio Jimenez Londono p/k/a Kevin ADG (“Kevin ADG”) is an individual

18 residing in Miami, Florida and doing business in and with the state of California,

19 including in this judicial district.
20         146. Upon information and belief, Plaintiffs allege that Defendant Bryan
21 Lezcano Chaverra p/k/a Chan El Genio (“Chan El Genio”) is an individual residing in

22 Miami, Florida and doing business in and with the state of California, including in

23 this judicial district.

24         147. Upon information and belief, Plaintiffs allege that Defendants Kevin
25 ADG and Chan El Genio perform and are professionally known together as The Rude

26 Boyz (collectively “Rude Boyz”).
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 1         148. Upon information and belief, Plaintiffs allege that Defendant Ernesto
 2 Fidel Padilla p/k/a Nesty (“Nesty”) is an individual residing in Miami, Florida and

 3 doing business in and with the state of California, including in this judicial district.

 4         149. Upon information and belief, Plaintiffs allege that Defendant Dimelo Vi
 5 LLC (“Dimelo Vi”) is a Puerto Rican Limited Liability Company with a principal

 6 place of business in San Juan, Puerto Rico and doing business in and with the state of

 7 California, including in this judicial district.

 8         150. Upon information and belief, Plaintiffs allege that Defendant VP
 9 Records Corporation (“VP Records”) is a Puerto Rican Corporation with a principal

10 place of business in Puerto Rico and doing business in and with the state of

11 California, including in this judicial district.

12         151. Upon information and belief, Plaintiffs allege that Defendant Jose
13 Aponte Santi p/k/a Hi Music Hi Flow (“Hi Music Hi Flow”) is an individual residing

14 in Puerto Rico and doing business in and with the state of California, including in this

15 judicial district.

16         152. Upon information and belief, Plaintiffs allege that Defendant Mr. 305,
17 Inc. (“Mr. 305”) is a Florida Corporation with a principal place of business at 218

18 NW 24th Street unit 310, Miami, Florida 33127 and doing business in and with the

19 state of California, including in this judicial district.
20         153. Upon information and belief, Plaintiffs allege that Defendant Eric Perez
21 Rovira p/k/a Eric Duars (“Eric Duars”) is an individual residing in Puerto Rico and

22 doing business in and with the state of California, including in this judicial district.

23         154. Upon information and belief, Plaintiffs allege that Defendant Duars
24 Entertainment, Corp. (collectively “Duars Ent.”) is a Puerto Rican Corporation doing

25 business in and with the state of California, including in this judicial district.

26         155. Upon information and belief, Plaintiffs allege that Defendant Isolation
27 Network Inc. doing business as Ingrooves Music Group (collectively “Ingrooves”) is

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 1 a California Corporation with a principal place of business at 2200 Colorado Ave.

 2 Santa Monica, California 90404 and doing business in and with the state of

 3 California, including in this judicial district.

 4           156. Upon information and belief, Plaintiffs allege that Defendant Andres
 5 Felipe Zapata Gaviria p/k/a Wolfine (“Wolfine”) is an individual residing in

 6 Columbia and doing business in and with the state of California, including in this

 7 judicial district.

 8           157. Upon information and belief, Plaintiffs allege that Defendant Empire
 9 Distribution, Inc. doing business as Empire (collectively “Empire”) is a California

10 Corporation with a principal place of business at 235 Pine Street 24th floor, San

11 Francisco, California 94104 and doing business in and with the state of California,

12 including in this judicial district.

13           158. Upon information and belief, Plaintiffs allege that Defendant Paulo
14 Ezequiel Londra Farias p/k/a Paulo Londra (“Paulo Londra”) is an individual residing

15 in Argentina and doing business in and with the state of California, including in this

16 judicial district.

17           159. Upon information and belief, Plaintiffs allege that Defendant Aubrey
18 Drake Graham p/k/a Drake (“Drake”)2 is an individual residing in Los Angeles,

19 California and doing business in and with the state of California, including in this
20 judicial district.

21           160. Upon information and belief, Plaintiffs allege that Defendant OVO
22 Sound, LLC (“OVO”) is a California Limited Liability Company operating out of

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25   2   Service upon Drake is currently the subject of Plaintiffs’ ex parte motion (Dkt.
26 299), and should that motion be denied, Drake will be dismissed without prejudice
27 pursuant to the Case Administration Plan (Dkt. 143).

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 1 Toronto, Canada and doing business in and with the state of California, including in

 2 this judicial district.

 3         161. Upon information and belief, Plaintiffs allege that Defendant Flow La
 4 Movie, Inc. (“Flow La Movie”) is a Florida Corporation doing business in and with

 5 the state of California, including in this judicial district.

 6         162. Upon information and belief, Plaintiffs allege that Defendant Rosalia
 7 Vila I Tobella p/k/a Rosalia (“Rosalia”) is an individual residing in Miami, Florida

 8 and doing business in and with the state of California, including in this judicial

 9 district.

10         163. Upon information and belief, Plaintiffs allege that Defendant Jose Angel
11 Lopez Martinez p/k/a Jay Wheeler (“Jay Wheeler”) is an individual residing in Puerto

12 Rico and doing business in and with the state of California, including in this judicial

13 district.

14         164. Upon information and belief, Plaintiffs allege that Defendant Silvestre
15 Francisco Dangond Corrales p/k/a Silvestre Dangond (“Silvestre Dangond”) is an

16 individual residing in Columbia and doing business in and with the state of

17 California, including in this judicial district.

18         165. Upon information and belief, Plaintiffs allege that Defendant Geoffrey
19 Royce Rojas p/k/a Prince Royce (“Prince Royce”) is an individual residing in New
20 York, New York and doing business in and with the state of California, including in

21 this judicial district.

22         166. Upon information and belief, Plaintiffs allege that Defendant Luis
23 Antonia Quinones Garcia p/k/a Nio Garcia (“Nio Garcia”) is an individual residing in

24 Puerto Rico and doing business in and with the state of California, including in this

25 judicial district.

26         167. Upon information and belief, Plaintiffs allege that Defendant The
27 Royalty Network, Inc. (“Royalty”) is a New York Corporation registered to do

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 1 business in California with an office at 12711 Ventura Blvd. #217, Studio City, CA

 2 91604 and doing business in and with the state of California, including in this judicial

 3 district.

 4         168. Upon information and belief, Plaintiffs allege that Defendant Manuel
 5 Enrique Cortes Cleghorn p/k/a Rike Music (“Rike Music”) is an individual residing

 6 in Panama and Miami, Florida and doing business in and with the state of California,

 7 including in this judicial district.

 8         169. Upon information and belief, Plaintiffs allege that Defendant WK
 9 Records, LLC (“WK Records”) is a Florida Limited Liability Company doing

10 business in and with the state of California, including in this judicial district.

11         170. Upon information and belief, Plaintiffs allege that Defendant La Base
12 Music Group, LLC (“La Base”) is a Florida Limited Liability Company doing

13 business in and with the state of California, including in this judicial district.

14         171. Defendants Does 1 through 20 (collectively, “Doe Defendants”)
15 (altogether with the above-referenced parties, “Defendants”) are other parties not yet

16 identified who have infringed Plaintiffs’ copyrights, have contributed to the

17 infringement of Plaintiffs’ copyrights, and/or have engaged in one or more of the

18 wrongful practices alleged herein. The true names, whether corporate, individual, or

19 otherwise, of Doe Defendants are presently unknown to Plaintiffs, who therefore sue
20 said Defendants by such fictitious names, and will seek leave to amend this

21 Complaint to show their true names and capacities when the same have been

22 ascertained.

23         172. Upon information and belief, Plaintiffs allege that each of the
24 Defendants was the agent, affiliate, officer, director, manager, principal, alter-ego,

25 and/or employee of the remaining Defendants, and was at all times acting within the

26 scope of such agency, affiliation, alter-ego relationship, and/or employment; and
27 actively participated in, subsequently ratified, and/or adopted the acts or conduct

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 1 alleged herein, with full knowledge of all the facts and circumstances of the alleged

 2 violations of Plaintiffs’ rights and the damages to Plaintiffs proximately caused

 3 thereby.

 4                                  Factual Background
 5        173. Plaintiff Cleveland Constantine Browne, p/k/a Clevie (“Mr. Browne”), is
 6 a world-renowned influential and innovative composer, musician, and producer

 7 known for, inter alia, pioneering the use of drum machines in reggae.

 8        174. Wycliffe Anthony Johnson, p/k/a Steely (“Mr. Johnson”), was a likewise
 9 influential and innovative composer, musician, and producer.

10        175. Together, Mr. Browne and Mr. Johnson formed the duo “Steely &
11 Clevie,” and worked on numerous genre-defining projects. Mr. Browne and Mr.

12 Johnson worked with such legendary artists as Bob Marley, Bunny Wailer, Jimmy

13 Cliff, Gregory Isaacs, Ziggy Marley, and Lee Scratch Perry.

14        176. Plaintiff Steely & Clevie Productions Ltd. is the production company of
15 Mr. Browne and Mr. Johnson.

16        177. Ephraim Barrett was a producer who was professionally known as
17 “Count Shelly.”

18        178. Denis Halliburton is a musician who is professionally known as “Dennis
19 the Menace.”
20        179. In 1989, Mr. Browne and Mr. Johnson wrote and recorded the
21 instrumental song Fish Market (“Fish Market” or the “Song”). They own the

22 copyright for the Song and the sound recording and composition for the Song are

23 registered with the U.S. Copyright Office.

24        180. Fish Market is an original work, including, without limitation, an
25 original drum pattern that differentiates it from prior works. Fish Market features,

26 inter alia, a programmed kick, snare, and hi-hat playing a one bar pattern; percussion
27 instruments, including a tambourine playing through the entire bar, a synthesized

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 1 ‘tom’ playing on beats one and three, and timbales that play a roll at the end of every

 2 second bar and free improvisation over the pattern for the duration of the song; and a

 3 synthesized Bb (b-flat) bass note on beats one and three of each bar, which follows

 4 the aforementioned synthesized ‘tom’ pattern. The foregoing combination of

 5 elements is original to Mr. Browne and Mr. Johnson and was groundbreaking upon

 6 its creation.

 7         181. Mr. Browne and Mr. Johnson co-authored the song titled Dem Bow
 8 (roughly, “They Bow” in English) with Shabba Ranks and co-own, with Shabba

 9 Ranks, the song’s copyrights. The composition for Dem Bow is registered with the

10 U.S. Copyright Office. Dem Bow was a massive hit, and a critical and commercial

11 success, in the international reggae dancehall scene. Indeed, Dem Bow’s instrumental

12 (an alternative mix of Fish Market, based on the same multi-track recording) is iconic

13 and has been widely copied in songs in the reggaeton music genre.3

14         182. In 1990, after Dem Bow’s release and success and at the direction of Mr.
15 Barrett, Mr. Halliburton, performed the instrumental of the song “Dem Bow,” which

16 incorporates the “Fish Market” composition, to create a derivative work that will be

17 referred to hereinafter as the “Pounder Riddim.” The Pounder Riddim was then used

18 to create the sound recordings of Ellos Benia, a Spanish language version of “Dem

19 Bow,” and Pounder Dub Mix II (“Pounder”).
20         183. For the “Pounder Riddim,”4 Denis Halliburton copied Dem Bow’s
21 instrumental, sound, arrangement, and composition, including the drum pattern,

22 the drum components, including the kick, snare, hi-hat, tom and timbales as well as

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      See, e.g., Wayne Marshall, “Reggaeton,” pgs. 36-48, Raquel Z. Rivera, Duke
     University Press (2009).
25

26   The term “riddim” in Reggae Dancehall refers to an instrumental track that can be
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   used to record multiple different songs. The term “riddim” in dancehall, similar to
27
   the term beat in hip hop, encompasses the entire track without vocals.
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 1 the full bassline. The composition played by Halliburton is virtually identical to Fish

 2 Market.

 3        184. The Fish Market composition is captured in the sound recordings for the
 4 Pounder Riddim and Pounder. The sound recording for Pounder was released first to

 5 the U.S. public in or around 1990 and has been sampled by numerous Defendants,

 6 and each of them, as alleged herein.

 7        185. The sound recording for Fish Market was recorded in Jamaica and
 8 originally released first in the United States through VP Records before it was

 9 released in Jamaica.

10        186. Dem Bow was originally released in the United States through VP
11 Records before it was released in Jamaica.

12        187. The sound recordings for Pounder Riddim and Pounder were created in
13 the United States.

14        188. Pounder Riddim and Pounder were released to the U.S. market in 1990
15 on vinyl by the label Shelly’s Records in New York. Pounder has been widely copied

16 and/or sampled5 by the Defendants in this action, and each of them. Transcripts of

17 portions of Fish Market and the Pounder Riddim are shown below. Any copying,

18 interpolating, or sampling of the Pounder Riddim is a copying or interpolation of Fish

19 Market’s composition.
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    The prolific sampling of Pounder in reggaeton is described in the acclaimed
25
   documentary LOUD: The history of Reggaeton, from Spotify and Futuro Media and
26 narrated by Martha Ivelisse Pesante Rodríguez p/k/a Ivy Queen,
   https://www.latinousa.org/loudthehistoryofreggaeton/ (last accessed July 29, 2022).
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16        189. Plaintiffs possess copyright ownership and U.S. registrations for the Fish
17 Market composition and sound recording, the Dem Bow composition, and the

18 Pounder sound recording (and the composition captured thereupon due to the

19 composition being copied from Fish Market) and the allegations made herein are for
20 the violation of Plaintiffs’ ownership and/or exclusive rights in the aforementioned

21 compositions and sound recordings.

22        190. On information and belief, Plaintiff alleges that Defendants, and each of
23 them, are responsible for the creation and exploitation of the works found and listed

24 in Exhibit A attached hereto (collectively, the “Infringing Works”). The Infringing

25 Works are each commercial songs that have garnered millions (and, for some,

26 billions) of plays and streams, respectively, and resulted in significant revenue and
27 profits to the Defendants, and each of them. Each party listed in the “Involved

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 1 Defendants” column of Exhibit A is responsible for the creation and/or exploitation

 2 of the listed Infringing Work.

 3        191. On information and belief, Plaintiff alleges that Defendants never sought
 4 or obtained a license, authorization, or consent from Plaintiffs to use or copy the any

 5 elements, portions, or versions of Fish Market, Dem Bow, Pounder, or the other

 6 derivatives in which Plaintiffs own copyrights, in connection with any of the

 7 Infringing Works.

 8        192. On information and belief, Plaintiff alleges that each of the Infringing
 9 Works, as described below, infringes on Plaintiffs’ copyrights in the above-

10 mentioned compositions and sound recordings. Despite notice of the infringement,

11 Defendants, and each of them, continue to exploit, and generate revenue and profits

12 from, the Infringing Works, in violation of Plaintiffs’ rights in the works at issue.

13        193. As set forth below, the Infringing Works can be divided into 59
14 groups—(1) works written, recorded, and performed by the artist El Chombo; (2)

15 works written, recorded, and performed by Luis Fonsi; and (3) works written,

16 recorded, and performed by Daddy Yankee—along with a myriad of additional

17 performers and featured artists on each of the respective works (4) works written,

18 recorded, and performed by Abraham Mateo—along with a myriad of additional

19 performers and featured artists on each of the respective works; (5) works written,
20 recorded, and performed by Alex Sensation—along with a myriad of additional

21 performers and featured artists on each of the respective works; (6) works written,

22 recorded, and performed by Anitta—along with a myriad of additional performers

23 and featured artists on each of the respective works; (7) works written, recorded, and

24 performed by Anuel AA—along with a myriad of additional performers and featured

25 artists on each of the respective works; (8) works written, recorded, and performed by

26 Anuel AA & Ozuna-- along with a myriad of additional performers and featured
27 artists on each of the respective works; (9) works written, recorded, and performed by

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 1 Bad Bunny—along with a myriad of additional performers and featured artists on

 2 each of the respective works; (10) works written, recorded, and performed by Becky

 3 G—along with a myriad of additional performers and featured artists on each of the

 4 respective works; (11) works written, recorded, and performed by Cali & El

 5 Dandee—along with a myriad of additional performers and featured artists on each of

 6 the respective works; (12) works written, recorded, and performed by Camilo—along

 7 with a myriad of additional performers and featured artists on each of the respective

 8 works; (13) works written, recorded, and performed by Carlos Vives—along with a

 9 myriad of additional performers and featured artists on each of the respective works;

10 (14) works written, recorded, and performed by Casper Magico—along with a myriad

11 of additional performers and featured artists on each of the respective works; (15)

12 works written, recorded, and performed by CNCO—along with a myriad of

13 additional performers and featured artists on each of the respective works; (16) works

14 written, recorded, and performed by Dalex—along with a myriad of additional

15 performers and featured artists on each of the respective works; (17) works written,

16 recorded, and performed by Danna Paola—along with a myriad of additional

17 performers and featured artists on each of the respective works; (18) works written,

18 recorded, and performed by Danny Ocean—along with a myriad of additional

19 performers and featured artists on each of the respective works; (19) works written,
20 recorded, and performed by De La Ghetto—along with a myriad of additional

21 performers and featured artists on each of the respective works; (20) works written,

22 recorded, and performed by Dimelo Flow—along with a myriad of additional

23 performers and featured artists on each of the respective works; (21) works written,

24 recorded, and performed by DJ Snake—along with a myriad of additional performers

25 and featured artists on each of the respective works; (22) works written, recorded, and

26 performed by Drake—along with a myriad of additional performers and featured
27 artists on each of the respective works; (23) works written, recorded, and performed

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 1 by Enrique Iglesias—along with a myriad of additional performers and featured

 2 artists on each of the respective works; (24) works written, recorded, and performed

 3 by Farruko—along with a myriad of additional performers and featured artists on

 4 each of the respective works; (25) works written, recorded, and performed by Feid—

 5 along with a myriad of additional performers and featured artists on each of the

 6 respective works; (26) works written, recorded, and performed by Gente De La

 7 Zona—along with a myriad of additional performers and featured artists on each of

 8 the respective works; (27) works written, recorded, and performed by Greeicy—

 9 along with a myriad of additional performers and featured artists on each of the

10 respective works; (28) works written, recorded, and performed by Ivy Queen—along

11 with a myriad of additional performers and featured artists on each of the respective

12 works; (29) works written, recorded, and performed by J Balvin—along with a

13 myriad of additional performers and featured artists on each of the respective works;

14 (30) works written, recorded, and performed by Jason Derulo—along with a myriad

15 of additional performers and featured artists on each of the respective works; (31)

16 works written, recorded, and performed by Jawsh 685—along with a myriad of

17 additional performers and featured artists on each of the respective works; (32) works

18 written, recorded, and performed by Jay Wheeler—along with a myriad of additional

19 performers and featured artists on each of the respective works; (33) works written,
20 recorded, and performed by Jhay Cortez—along with a myriad of additional

21 performers and featured artists on each of the respective works; (34) works written,

22 recorded, and performed by Justin Quiles—along with a myriad of additional

23 performers and featured artists on each of the respective works; (35) works written,

24 recorded, and performed by Karol G—along with a myriad of additional performers

25 and featured artists on each of the respective works; (36) works written, recorded, and

26 performed by Lenny Tavarez—along with a myriad of additional performers and
27 featured artists on each of the respective works; (37) works written, recorded, and

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 1 performed by Los Legendarios—along with a myriad of additional performers and

 2 featured artists on each of the respective works; (38) works written, recorded, and

 3 performed by Major Lazer—along with a myriad of additional performers and

 4 featured artists on each of the respective works; (39) works written, recorded, and

 5 performed by Maluma—along with a myriad of additional performers and featured

 6 artists on each of the respective works; (40) works written, recorded, and performed

 7 by Manuel Turizo—along with a myriad of additional performers and featured artists

 8 on each of the respective works; (41) works written, recorded, and performed by

 9 Myke Towers—along with a myriad of additional performers and featured artists on

10 each of the respective works; (42) works written, recorded, and performed by Natti

11 Natasha—along with a myriad of additional performers and featured artists on each

12 of the respective works; (43) works written, recorded, and performed by Nicky

13 Jam—along with a myriad of additional performers and featured artists on each of the

14 respective works; (44) works written, recorded, and performed by Ozuna—along

15 with a myriad of additional performers and featured artists on each of the respective

16 works; (45) works written, recorded, and performed by Paulo Londra—along with a

17 myriad of additional performers and featured artists on each of the respective works;

18 (46) works written, recorded, and performed by Pitbull—along with a myriad of

19 additional performers and featured artists on each of the respective works; (47) works
20 written, recorded, and performed by Rauw Alejandro—along with a myriad of

21 additional performers and featured artists on each of the respective works; (48) works

22 written, recorded, and performed by Reik—along with a myriad of additional

23 performers and featured artists on each of the respective works; (49) works written,

24 recorded, and performed by Ricky Martin—along with a myriad of additional

25 performers and featured artists on each of the respective works; (50) works written,

26 recorded, and performed by Rosalia—along with a myriad of additional performers
27 and featured artists on each of the respective works; (51) works written, recorded, and

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 1 performed by Sech—along with a myriad of additional performers and featured

 2 artists on each of the respective works; (52) works written, recorded, and performed

 3 by Silvestre Dangond—along with a myriad of additional performers and featured

 4 artists on each of the respective works; (53) works written, recorded, and performed

 5 by Sky—along with a myriad of additional performers and featured artists on each of

 6 the respective works; (54) works written, recorded, and performed by Wisin—along

 7 with a myriad of additional performers and featured artists on each of the respective

 8 works; (55) works written, recorded, and performed by Wisin & Yandel—along with

 9 a myriad of additional performers and featured artists on each of the respective

10 works; (56) works written, recorded, and performed by Wolfine—along with a

11 myriad of additional performers and featured artists on each of the respective works;

12 (57) works written, recorded, and performed by Yandel—along with a myriad of

13 additional performers and featured artists on each of the respective works; (58) works

14 written, recorded, and performed by Zion & Lennox—along with a myriad of

15 additional performers and featured artists on each of the respective works.

16        194. As set forth below, the entity defendants were involved in the
17 exploitation, distribution, and publishing of each of the Infringing Works. The parties

18 responsible for each song and the manner of copying alleged is either described

19 below and/or can be found in Exhibit A attached hereto.
20        195. On information and belief, Plaintiff alleges that Defendants, and each of
21 them, in reproducing, distributing, developing, and performing the Infringing Works,

22 committed at least one act of copyright infringement in the United States that allowed

23 for further infringement outside of the United States.

24        196. On information and belief, Plaintiff alleges that Defendants, and each of
25 them, in reproducing, distributing, developing, and performing the Infringing Works,

26 committed at least one act of copyright infringement in the United States and its
27 territories that allowed for further infringement outside of the United States.

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 1        197. On information and belief, Plaintiff alleges that numerous Infringing
 2 Works were created at studios or other locations within the United States and that this

 3 creative process included reproducing, copying, and/or creating derivative works

 4 from the sound recordings and compositions for Fish Market, Dem Bow, and/or

 5 Pounder.

 6        198. On information and belief, Plaintiff alleges that numerous Infringing
 7 Works were created at studios or other locations within the United States territories

 8 and that this creative process included reproducing, copying, and/or creating

 9 derivative works from the sound recordings and compositions for Fish Market, Dem

10 Bow, and/or Pounder.

11        199. On information and belief, Plaintiff alleges that each of the Infringing
12 Works was streamed, distributed, downloaded, uploaded, downloaded, performed

13 and otherwise exploited within the United States, and its territories, and by United

14 States residents, and that this creative process included reproducing, copying, and/or

15 creating derivative works from the sound recordings and compositions for Fish

16 Market, Dem Bow, and/or Pounder.

17        200. The copyrights for Fish Market’s sound recording and composition,
18 Dem Bow’s composition, and Pounder’s sound recording have been registered with

19 the U.S. Copyright Office. Plaintiffs have an ownership interest in each of the
20 foregoing works.

21                                El Chombo Allegations
22        201. On April 2, 2018, Sony, and Ultra released the single Dame tu Cosita by
23 El Chombo.

24        202. On or about August 2018, Sony, and Ultra released an alternative mix of
25 Dame tu Cosita by El Chombo, Pitbull, and Karol G.

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 1         203. Both recordings, the Dame tu Cosita and/or the Dame Tu Cosita Remix,
 2 were hit songs garnering millions (if not billions) of plays and streams, resulting in

 3 significant revenue and profits to Defendants.

 4         204. The Infringing Works consist of rhythmic speech, drums, and
 5 percussion. The primary rhythm and drum sections of Dame tu Cosita and Dame Tu

 6 Cosita Remix consist of an unauthorized sample and/or a verbatim copy of elements

 7 from the Song.

 8         205. Moreover, the composition of Dame tu Cosita substantially comprises
 9 the composition of Fish Market. The drum pattern of the Dame tu Cosita is the drum

10 pattern of Fish Market set forth above. Two versions of the drum pattern are played.

11 The first is one with a “stop” (i.e., a cut) on the third beat and silence on the fourth

12 beat. The second is like the first, but with a continuous beat (i.e., with no stop).

13 Among other things, as in Fish Market, the low drum (or bass) sound in the rhythm

14 track of Dame tu Cosita plays on beats 1 and 3, is pitched at a Bb (B-flat). The main

15 riffs of Fish Market are also included in the Dame tu Cosita, including the kick and

16 snare pattern, the reinforcing of beats 1 and 3 on a low-pitched drum, and the

17 sixteenth notes on the ‘and’ of beat 1 on the snare. The kick and snare drums are

18 prominent in the Dame tu Cosita mix, just as in Fish Market.

19         206. For the same reasons, the composition of the Dame Tu Cosita Remix
20 substantially comprises the composition of Fish Market.

21         207. A sample of audio from the recording of Fish Market is incorporated
22 throughout Dame Tu Cosita and the Dame Tu Cosita Remix. Particularly, percussive

23 elements mixed in the background of Dame Tu Cosita and the Dame Tu Cosita Remix

24 correspond to the pattern and frequency bandwidth of sounds in Fish Market,

25 including the timbales and tambourine—identifiable, key components of the Song.

26                                  Luis Fonsi Allegations
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 1        208. On or about June 3, 2021, UMG released the Luis Fonsi single entitled
 2 Bésame. Upon information and belief, Plaintiffs allege that Bésame was written,

 3 recorded, produced, distributed, and/or exploited by Defendants UMG, Warner, Luis

 4 Fonsi, Myke Towers, Cali, and Torres.

 5        209. On or about June 14, 2018, UMG released the Luis Fonsi single entitled
 6 Calypso. Upon information and belief, Plaintiffs allege that Calypso was written,

 7 recorded, produced, distributed, and/or exploited by Defendants UMG, Warner,

 8 Sony, Luis Fonsi, Cali, Torres, Dyo, and Stefflon Don.

 9        210. On or about April 23, 2019, UMG released the single Date La Vuelta.
10 Upon information and belief, Plaintiffs allege that Date La Vuelta was written,

11 recorded, produced, distributed, and/or exploited by Defendants UMG, Warner,

12 Sony, UMP, Luis Fonsi, Cali, Torres, Llano, Nicky Jam, and Sebastian Yatra.

13        211. On or about January 12, 2017, UMG released the Luis Fonsi single
14 Despacito. Upon information and belief, Plaintiffs allege that Despacito was written,

15 recorded, produced, distributed, and/or exploited by Defendants UMG, Sony, Luis

16 Fonsi, Simoes, Andres Torres, and Daddy Yankee.

17        212. On or about April 2017, UMG released a remix of Despacito featuring
18 Justin Bieber (the “Despacito Remix”). Upon information and belief, Plaintiffs allege

19 that the Despacito Remix was written, recorded, produced, distributed, and/or
20 exploited by Defendants UMG, Sony, Luis Fonsi, Simoes, Daddy Yankee, Bieber,

21 and Boyd.

22        213. On or about November 17, 2017, UMG released the Luis Fonsi single
23 entitled Échame La Culpa. Upon information and belief, Plaintiffs allege that

24 Échame La Culpa was written, recorded, produced, distributed, and/or exploited by

25 Defendants UMG, Warner. Sony, Luis Fonsi, El Dandee, Cali, and Torres.

26        214. On or about October 19, 2018, UMG released the Luis Fonsi single
27 entitled Imposible. Upon information and belief, Plaintiffs allege that Imposible was

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 1 written, recorded, produced, distributed, and/or exploited by Defendants UMG, Sony,

 2 Luis Fonsi, El Dandee, Torres, and Ozuna.

 3        215. On or about September 23, 2020, UMG released the Luis Fonsi single
 4 entitled Perfecta. Upon information and belief, Plaintiffs allege that Perfecta was

 5 written, recorded, produced, distributed, and/or exploited by Defendants UMG,

 6 Warner, Sony, Luis Fonsi, El Dandee, Torres, and Farruko.

 7        216. On or about February 6, 2019, UMG released the Luis Fonsi single
 8 entitled Sola. Upon information and belief, Plaintiffs allege that Sola was written,

 9 recorded, produced, distributed, and/or exploited by Defendants UMG, Warner,

10 Sony, Luis Fonsi, El Dandee, and Torres.

11        217. On or about February 18, 2021, UMG released the Luis Fonsi single
12 entitled Vacio. Upon information and belief, Plaintiffs allege that Vacio was written,

13 recorded, produced, distributed, and/or exploited by Defendants UMG, Sony, Luis

14 Fonsi, El Dandee, Torres, and Rauw Alejandro.

15        218. Bésame, Calypso, Date La Vuelta, Despacito, Despacito Remix, Échame
16 La Culpa, Imposible, Perfecta, Sola, and Vacio (collectively, the “Luis Fonsi

17 Works”) were each hit songs garnering millions (if not billions) of plays and streams,

18 resulting in significant revenue and profits to the respective Defendants.

19        219. Each of the Luis Fonsi Works incorporates an unauthorized sample of
20 the Fish Market recording and/or a verbatim copy of the Fish Market composition as

21 the primary rhythm / drum section of each work.

22        220. A comparison of Fish Market and each of the Luis Fonsi Works
23 establishes that each of the Luis Fonsi Works incorporates both qualitatively and

24 quantitatively significant sections of the Fish Market recording and/or composition.

25        221. The rhythm section of Bésame copies original elements of the Fish
26 Market rhythm section, including the original combination of drum patterns featured
27 in Fish Market—among other things, the kick, snare, and hi-hat patterns and the

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 1 sixteenth notes on the ‘and’ of beat one (from a hi-hat sound substituted for the

 2 corresponding snare in Fish Market); the kick drum, which plays four crotchets per

 3 bar beginning on the first beat of each bar, as in Fish Market; and bongos, which are

 4 substituted for the corresponding timbales pattern in Fish Market, playing a rapid

 5 burst phrase ending the fourth bar. The drum and bass tracks, together and

 6 independently, are substantially similar in rhythmic structures and texture to the same

 7 tracks in Fish Market. The kick, snare, hi-hat, and bass are prominent in the mix of

 8 Bésame, which emulates the sonic texture of Fish Market. And the bassline anchors

 9 beats one and three, as in Fish Market. Because these copied elements form the

10 backbone of Bésame, significant portions of Bésame are substantially similar, if not

11 virtually identical, to significant portions of Fish Market, as set forth in the

12 transcripts below.

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14        222. The rhythm section of Calypso copies original elements of the Fish

15 Market rhythm section, including the original combination of drum and bass patterns

16 featured in Fish Market. These purloined elements include, without limitation, the

17 kick, snare, and hi-hat patterns, and the sixteenth notes on the ‘and’ of beat one from

18 a snare sound. The kick, snare, hi-hat and bass are prominent in the mix of Calypso,

19 which emulates the sonic texture of Fish Market. Because these copied elements form
20 the backbone of Calypso, Calypso is substantially similar, if not virtually identical, to

21 Fish Market, as set forth in the transcripts of portions of each below.

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           223. The rhythm section of Date La Vuelta copies original elements of the
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     Fish Market rhythm section, including the original combination of drum and bass
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     patterns featured in Fish Market. These purloined elements include, without
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     limitation, the kick, snare, and hi-hat patterns, and the sixteenth notes on the ‘and’ of
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     beat one from a snare sound. The kick drum of Date La Vuelta plays four crotchets
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 1 per bar beginning on the first beat of each bar, as in Fish Market. The hi-hat plays a

 2 similar pattern, as shown on bar 2, 4, 6, and 7 (below). The snare largely mimics the

 3 snare pattern as played in Fish Market, with a minor variation on alternating bars.

 4 The kick, snare, hi-hat, and bass are prominent in the mix of Date La Vuelta, which

 5 emulates the sonic texture of Fish Market. The tom in Date La Vuelta plays the exact

 6 down beat pattern as Fish Market, with emphasis on beats 1 and 3, and shares the

 7 unique sonic character of the tom sound found in the Pounder, indicating that the tom

 8 sound was sampled from the Pounder. The drum and bass tracks, together and

 9 independently, are substantially similar in rhythmic structures and texture to those of

10 Fish Market. And the bassline anchors beats one and three, as in Fish Market.

11 Because these copied elements form the backbone of Date La Vuelta, Date La Vuelta

12 is substantially similar, if not virtually identical, to significant portions of Fish

13 Market, as set forth below.

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           224. The rhythm section of Despacito and the Despacito Remix copies
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     original elements of the Fish Market rhythm section, including the original
12
     combination of drum and bass patterns featured in Fish Market. These purloined
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     elements include, without limitation, the kick, snare, and bass patterns. The kick
14
     drum of Despacito plays four crotchets per bar beginning on the first beat of each bar,
15
     as in Fish Market. The snare mimics the snare pattern played in Fish Market. As in
16
     Fish Market, the bass pattern in Despacito is primarily played on beats one and three.
17
     In addition, the kick, snare, and bass are prominent in the mix of Despacito, as in
18
     Fish Market. Despacito also emulates the texture of Fish Market. The drum and bass
19
     tracks, together and independently, are substantially similar in rhythmic structures
20
     and texture to those of Fish Market. The Despacito Remix includes the same
21
     elements. The musical backbones of Despacito and the Despacito Remix are
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     substantially similar, if not virtually identical, to Fish Market, as set forth below.
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           225. The rhythm section of Échame La Culpa copies original elements of the
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     Fish Market rhythm section, including the original combination of drum and bass
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     patterns featured in Fish Market. These copied elements include, without limitation,
23
     the kick, snare, and bass patterns. The Échame La Culpa bass pattern is
24
     predominantly played on beats one and three of every bar, as in Fish Market. Both
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     the kick drum and the hi-hat play four crotchets per bar beginning on the first beat of
26
     each bar. The snare also mimics the snare in Fish Market. The kick, snare, and bass
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 1 are prominent in the mix of Échame La Culpa, as in Fish Market. Further, Échame

 2 La Culpa includes a timbale roll/phrase occurring at the end of every second bar,

 3 which mimics the structure of Fish Market. In sum, the musical backbone of Échame

 4 La Culpa is substantially similar, if not virtually identical, to Fish Market, as set forth

 5 below.

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 1        226. Imposible copies Fish Market by using a sample or interpolation of the
 2 Pounder as its rhythm section. The bass has a similar texture, and the bassline

 3 anchors beats one and three, as in Fish Market. The drum and bass tracks combined

 4 are substantially similar to the rhythmic structures and texture of the Fish Market.

 5 Because the Pounder sample provides the musical backbone for Imposible, Imposible

 6 is substantially similar, if not virtually identical, to Fish Market, as set forth below.

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 1        227. The rhythm section of Perfecta copies original elements of the Fish
 2 Market rhythm section, including the original combination of drum and bass patterns

 3 featured in Fish Market. The kick drum plays four crotchets per bar beginning on the

 4 first beat of each bar. The hi-hat plays a similar pattern. The snare mimics the snare

 5 pattern in Fish Market, with the third sixteenth note filled in or substituted by a

 6 percussion or timbale, resulting in the same rhythmic effect as in Fish Market.

 7 Perfecta also copies Fish Market by using a sample of the Pounder as its rhythm

 8 section. Thus, the copied elements of Fish Market provide the musical backbone for

 9 Perfecta, as set forth below.

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           228. The rhythm section of Sola copies original elements of the Fish Market
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     rhythm section, including the original combination of drum and bass patterns featured
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     in Fish Market. These purloined elements include, without limitation, the kick and
14
     snare patterns. The kick drum plays two crotchets per bar on beats 1 and 3 of each
15
     bar, and beats 2 and 4 are played with a percussive substitute, thus formulating the
16
     full kick drum pattern of Fish Market. The bass maintains a similar texture with the
17
     deep tone timbre found in Fish Market. The bassline anchors beats one and three, as
18
     in Fish Market. And the kick, snare, and bass are prominent in the mix of Sola, as in
19
     Fish Market. Accordingly, the musical backbone of Sola is substantially similar, if
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     not virtually identical, to a significant portion of Fish Market, as set forth below.
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           229. The rhythm section of Vacio copies original elements of the Fish Market
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     rhythm section, including the original combination of drum and bass patterns featured
22
     in Fish Market. The kick drum and hi-hat play four crotchets per bar beginning on the
23
     first beat of each bar, as in Fish Market. The snare mimics the snare pattern played in
24
     Fish Market. Tom 1 (below) is played on beats 1 and 3, as in Fish Market. The
25
     rhythmic structures and texture of the drum and bass tracks are substantially similar
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     to those of Fish Market. And the bassline emphasizes beats 1 and 3, as in Fish
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 1 Market. Vacio also uses a sample of the Pounder as its rhythm section. Because the

 2 copied elements of Fish Market provide the musical backbone for Vacio, Vacio is

 3 substantially similar, if not virtually identical to, significant portions of Fish Market,

 4 as set forth below.

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24                                  Daddy Yankee Claims
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 1         230.   On or about September 12, 1995, the mixtape Playero 39 by Pedro
 2 Gerardo Torruellas Brito p/k/a DJ Playero (“DJ Playero”),6 which included the

 3 Daddy Yankee song Te Ves Bien, was released. Upon information and belief,

 4 Plaintiffs allege that Te Ves Bien was written, recorded, produced, distributed, and/or

 5 exploited by Defendants GPC and Daddy Yankee. Copied elements from Fish

 6 Market, including the original combination of drum and bass patterns featured in Fish

 7 Market (that, upon information and belief, are audio samples of the Pounder and/or

 8 Fish Market), form the backbone of Te Ves Bien. Accordingly, significant portions of

 9 Te Ves Bien are substantially similar, if not virtually identical, to significant portions

10 of Fish Market.

11         231. On or about March 5, 1996, the mixtape Playero 40: New Era, which
12 included the Daddy Yankee song Camuflash, was released. Upon information and

13 belief, Plaintiffs allege that Camuflash was written, recorded, produced, distributed,

14 and/or exploited by Defendants GPC and Daddy Yankee. Copied elements from Fish

15 Market, including the original combination of drum and bass patterns featured in Fish

16 Market (that, upon information and belief, are audio samples of the Pounder and/or

17 Fish Market), form the backbone of Camuflash. Accordingly, significant portions of

18 Camuflash are substantially similar, if not virtually identical, to significant portions of

19 Fish Market.
20         232. On or about June 20, 2002, El Cartel released the song Latigazo. Upon
21 information and belief, Plaintiffs allege that Latigazo was written, recorded,

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       DJ Playero is credited as one of the originators of reggaeton with the mixtapes
24   Playero 37 from 1993 (which featured reggae dancehall riddims released subsequent
     to Poco Man Jam, such as Armshouse Riddim (1993), Pitch Riddim (1992), Make
25
     Hay Riddim (1993), Bam Bam Riddim (1992) (on which Defendant Daddy Yankee
26   was recorded), Big Up Riddim (1992) and Hot This Year Riddim (1992), etc.) and
     Playero 38 (also from 1993), on which Daddy Yankee was featured on the song No
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     Te Canses (which includes multiple different hip-hop and dancehall samples).
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 1 produced, distributed, and/or exploited by Defendants El Cartel, GPC, and Daddy

 2 Yankee. Copied elements from Fish Market, including the original combination of

 3 drum and bass patterns featured in Fish Market (that, upon information and belief, are

 4 audio samples of the Pounder and/or Fish Market), form the backbone of Latigazo.

 5 Accordingly, significant portions of Latigazo are substantially similar, if not virtually

 6 identical, to significant portions of Fish Market.

 7         233. On or about July 13, 2004, El Cartel released the song Cuéntame. Upon
 8 information and belief, Plaintiffs allege that Cuéntame was written, recorded,

 9 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy Yankee,

10 Luny, and Tunes. Copied elements from Fish Market, including the original

11 combination of drum and bass patterns featured in Fish Market (that, upon

12 information and belief, are audio samples of the Pounder and/or Fish Market), form

13 the backbone of Cuéntame. Accordingly, significant portions of Cuéntame are

14 substantially similar, if not virtually identical, to significant portions of Fish Market.

15         234. On or about July 13, 2004, El Cartel released the song Dale Caliente.
16 Upon information and belief, Plaintiffs allege that Dale Caliente was written,

17 recorded, produced, distributed, and/or exploited by Defendants El Cartel, GPC,

18 Daddy Yankee, and DJ Urba. Copied elements from Fish Market, including the

19 original combination of drum and bass patterns featured in Fish Market (that, upon
20 information and belief, are audio samples of the Pounder and/or Fish Market), form

21 the backbone of Dale Caliente. Accordingly, significant portions of Dale Caliente are

22 substantially similar, if not virtually identical, to significant portions of Fish Market.

23         235. On or about July 13, 2004, El Cartel released the song El Empuje. Upon
24 information and belief, Plaintiffs allege that El Empuje was written, recorded,

25 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy

26 Yankee, and DJ Urba. Copied elements from Fish Market, including the original
27 combination of drum and bass patterns featured in Fish Market (that, upon

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 1 information and belief, are audio samples of the Pounder and/or Fish Market), form

 2 the backbone of El Empuje. Accordingly, significant portions of El Empuje are

 3 substantially similar, if not virtually identical, to significant portions of Fish Market.

 4         236. On or about July 13, 2004, El Cartel released the song Dos Mujeres.
 5 Upon information and belief, Plaintiffs allege that Dos Mujeres was written,

 6 recorded, produced, distributed, and/or exploited by Defendants El Cartel, GPC,

 7 Daddy Yankee, and Luny Tunes. Copied elements from Fish Market, including the

 8 original combination of drum and bass patterns featured in Fish Market (that, upon

 9 information and belief, are audio samples of the Pounder and/or Fish Market), form

10 the backbone of Dos Mujeres. Accordingly, significant portions of Dos Mujeres are

11 substantially similar, if not virtually identical, to significant portions of Fish Market.

12         237. On or about July 13, 2004, El Cartel released the song King Daddy.
13 Upon information and belief, Plaintiffs allege that King Daddy was written, recorded,

14 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy

15 Yankee, Luny, and Tunes. Copied elements from Fish Market, including the original

16 combination of drum and bass patterns featured in Fish Market (that, upon

17 information and belief, are audio samples of the Pounder and/or Fish Market), form

18 the backbone of King Daddy. Accordingly, significant portions of King Daddy are

19 substantially similar, if not virtually identical, to significant portions of Fish Market.
20         238. On or about July 13, 2004, El Cartel released the song No Me Dejes
21 Solo. Upon information and belief, Plaintiffs allege that No Me Dejes Solo was

22 written, recorded, produced, distributed, and/or exploited by Defendants El Cartel,

23 GPC, Daddy Yankee, Wisin, Yandel, and DJ Urba. Copied elements from Fish

24 Market, including the original combination of drum and bass patterns featured in Fish

25 Market (that, upon information and belief, are audio samples of the Pounder and/or

26 Fish Market), form the backbone of No Me Dejes Solo. Accordingly, significant
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 1 portions of No Me Dejes Solo are substantially similar, if not virtually identical, to

 2 significant portions of Fish Market.

 3         239. On or about July 13, 2004, El Cartel released the song ¿Que Vas
 4 Hacer?. Upon information and belief, Plaintiffs allege that ¿Que Vas Hacer? was

 5 written, recorded, produced, distributed, and/or exploited by Defendants El Cartel,

 6 GPC, Daddy Yankee and DJ Urba. Copied elements from Fish Market, including the

 7 original combination of drum and bass patterns featured in Fish Market (that, upon

 8 information and belief, are audio samples of the Pounder and/or Fish Market), form

 9 the backbone of ¿Que Vas Hacer?. Accordingly, significant portions of ¿Que Vas

10 Hacer? are substantially similar, if not virtually identical, to significant portions of

11 Fish Market.

12         240. On or about December 21, 2004, El Cartel released the song Machete.
13 Upon information and belief, Plaintiffs allege that Machete was written, recorded,

14 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy

15 Yankee, and DJ Urba. Copied elements from Fish Market, including the original

16 combination of drum and bass patterns featured in Fish Market (that, upon

17 information and belief, are audio samples of the Pounder and/or Fish Market), form

18 the backbone of Machete. Accordingly, significant portions of Machete are

19 substantially similar, if not virtually identical, to significant portions of Fish Market.
20         241. On or about September 20, 2005, El Cartel released the song Rompe.
21 Upon information and belief, Plaintiffs allege that Rompe was written, recorded,

22 produced, distributed, and/or exploited by Defendants El Cartel, GPC, Daddy

23 Yankee, and DJ Urba. Copied elements from Fish Market, including the original

24 combination of drum and bass patterns featured in Fish Market (that, upon

25 information and belief, are audio samples of the Pounder and/or Fish Market), form

26 the backbone of Rompe. Accordingly, significant portions of Rompe are substantially
27 similar, if not virtually identical, to significant portions of Fish Market.

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 1         242. On or about September 30, 2005, El Cartel released the song Gangsta
 2 Zone. Upon information and belief, Plaintiffs allege that Gangsta Zone was written,

 3 recorded, produced, distributed, and/or exploited by Defendants El Cartel, GPC, and

 4 Daddy Yankee. Copied elements from Fish Market, including the original

 5 combination of drum and bass patterns featured in Fish Market (that, upon

 6 information and belief, are audio samples of the Pounder and/or Fish Market), form

 7 the backbone of Gangsta Zone. Accordingly, significant portions of Gangsta Zone

 8 are substantially similar, if not virtually identical, to significant portions of Fish

 9 Market.

10         243. On or about August 30, 2009, El Cartel released the single “Desafio”,
11 with William Omar Landrón Rivera p/k/a Don Omar (“Don Omar”). Upon

12 information and belief, Plaintiffs allege that Desafio was written, recorded, produced,

13 distributed and/or exploited by Defendants El Cartel, GPC, Daddy Yankee, Luny,

14 and Tunes. Copied elements from Fish Market, including the original combination of

15 drum and bass patterns featured in Fish Market (that, upon information and belief, are

16 audio samples of the Pounder and/or Fish Market), form the backbone of Desafio and

17 accordingly, significant portions of Desafio are substantially similar if not virtually

18 identical to significant portions of Fish Market.

19         244. On or about July 6, 2011, El Cartel released the single “Llegamos a la
20 Disco”. Upon information and belief, Plaintiffs allege that Llegamos a la Disco was

21 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,

22 GPC, and Daddy Yankee. Copied elements from Fish Market, including the original

23 combination of drum and bass patterns featured in Fish Market (that, upon

24 information and belief, are audio samples of the Pounder and/or Fish Market), form

25 the backbone of Llegamos a la Disco and accordingly, significant portions of

26 Llegamos a la Disco are substantially similar if not virtually identical to significant
27 portions of Fish Market.

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 1         245. On or about January 28, 2012, El Cartel released the single “Guaya”.
 2 Upon information and belief, Plaintiffs allege that Guaya was written, recorded,

 3 produced, distributed and/or exploited by Defendants El Cartel, GPC, and Daddy

 4 Yankee. Copied elements from Fish Market, including the original combination of

 5 drum and bass patterns featured in Fish Market (that, upon information and belief, are

 6 audio samples of the Pounder and/or Fish Market), form the backbone of Guaya and

 7 accordingly, significant portions of Guaya are substantially similar if not virtually

 8 identical to significant portions of Fish Market.

 9         246. On or about September 11, 2012, El Cartel released the single “Perros
10 Salvajes”. Upon information and belief, Plaintiffs allege that Perros Salvajes was

11 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,

12 GPC, and Daddy Yankee. Copied elements from Fish Market, including the original

13 combination of drum and bass patterns featured in Fish Market (that, upon

14 information and belief, are audio samples of the Pounder and/or Fish Market), form

15 the backbone of Perros Salvajes and accordingly, significant portions of Perros

16 Salvajes are substantially similar if not virtually identical to significant portions of

17 Fish Market.

18         247. On or about October 15, 2012, El Cartel released the single “After
19 Party”. Upon information and belief, Plaintiffs allege that After Party was written,
20 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC, and

21 Daddy Yankee. Copied elements from Fish Market, including the original

22 combination of drum and bass patterns featured in Fish Market (that, upon

23 information and belief, are audio samples of the Pounder and/or Fish Market), form

24 the backbone of After Party and accordingly, significant portions of After Party are

25 substantially similar if not virtually identical to significant portions of Fish Market.

26         248. On or about October 29, 2013, El Cartel released the single “La Rompe
27 Carros”. Upon information and belief, Plaintiffs allege that La Rompe Carros was

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 1 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,

 2 GPC, Daddy Yankee, Luny, and Tunes. Copied elements from Fish Market,

 3 including the original combination of drum and bass patterns featured in Fish Market

 4 (that appear to be at least partially provided by an audio sample of the Pounder),

 5 form the backbone of La Rompe Carros and accordingly, significant portions of La

 6 Rompe Carros are substantially similar if not virtually identical to significant

 7 portions of Fish Market.

 8        249. On or about September 7, 2012, El Cartel released the single “Po’
 9 Encima”. Upon information and belief, Plaintiffs allege that Po’ Encima was written,

10 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC, and

11 Daddy Yankee. Copied elements from Fish Market (that, upon information and

12 belief, are audio samples of the Pounder and/or Fish Market) form the backbone of

13 Po’ Encima and accordingly, significant portions of Po’ Encima are substantially

14 similar if not virtually identical to significant portions of Fish Market.

15        250. On or about September 7, 2012, El Cartel released the single “Quiero
16 Decirte”. Upon information and belief, Plaintiffs allege that Quiero Decirte was

17 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,

18 GPC, and Daddy Yankee. Copied elements from Fish Market (that, upon information

19 and belief, are audio samples of the Pounder and/or Fish Market) form the backbone
20 of Quiero Decirte and accordingly, significant portions of Quiero Decirte are

21 substantially similar if not virtually identical to significant portions of Fish Market.

22        251. On or about October 13, 2013, El Cartel released the single “Nada Ha
23 Cambiado”. Upon information and belief, Plaintiffs allege that Nada Ha Cambiado

24 was written, recorded, produced, distributed and/or exploited by Defendants El

25 Cartel, GPC, and Daddy Yankee. Copied elements from Fish Market (that, upon

26 information and belief, are audio samples of the Pounder and/or Fish Market) form
27 the backbone of Nada Ha Cambiado and accordingly, significant portions of Nada

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 1 Ha Cambiado are substantially similar if not virtually identical to significant portions

 2 of Fish Market.

 3        252. On or about February 3, 2016, El Cartel released the single “Alerta
 4 Roja”. Upon information and belief, Plaintiffs allege that Alerta Roja was written,

 5 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC,

 6 Daddy Yankee, Chris Jeday, and Gaby Music. Copied elements from Fish Market,

 7 including the original combination of drum and bass patterns featured in Fish Market

 8 (that, upon information and belief, are audio samples of the Pounder and/or Fish

 9 Market), form the backbone of Alerta Roja and accordingly, significant portions of

10 Alerta Roja are substantially similar if not virtually identical to significant portions of

11 Fish Market.

12        253. After Party, Alerta Roja, Camuflash, Cuéntame, Dale Caliente, Desafio,
13 Dos Mujeres, El Empuje, Gangsta Zone, Guaya, King Daddy, La Rompe Carros,

14 Latigazo, Llegamos a la Disco, Machete, Nada Ha Cambiado, No Me Dejes Solo,

15 Perros Salvajes, Po’ Encima, ¿Que Vas Hacer?, Quiero Decirte, Rompe, and Te Ves

16 Bien all copied elements from Fish Market (that, upon information and belief, are

17 audio samples of the Pounder and/or Fish Market). Each of these identified

18 Infringing Works were each hit songs, garnering at least millions of plays and

19 streams and resulting in significant revenue and profits to the respective Defendants.
20        254. On or about November 8, 2018, UMG and El Cartel released the single
21 “Adictiva”. Upon information and belief, Plaintiffs allege that Adictiva was written,

22 recorded, produced, distributed and/or exploited by Defendants UMG, UMP, El

23 Cartel, Warner, Kobalt, GPC, Daddy Yankee, Chris Jeday, Gaby Music, and Anuel

24 AA.

25        255. On or about January 24, 2019, UMG and El Cartel released the single
26 “Con Calma”. Upon information and belief, Plaintiffs allege that Con Calma was
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 1 written, recorded, produced, distributed and/or exploited by Defendants UMG, El

 2 Cartel, GPC, Warner, Daddy Yankee, Play, and Skillz.

 3        256. On or about January 31, 2020, UMG and El Cartel released the single
 4 “Definitivamente”. Upon information and belief, Plaintiffs allege that

 5 Definitivamente was written, recorded, produced, distributed and/or exploited by

 6 Defendants UMG, UMP, El Cartel, GPC, SONY, Daddy Yankee, Sech, and Luny.

 7        257. On or about September 11, 2020, UMG and El Cartel released the single
 8 “Don Don”. Upon information and belief, Plaintiffs allege that Don Don was written,

 9 recorded, produced, distributed and/or exploited by Defendants UMG, UMP, Warner,

10 El Cartel, GPC, Sony, Daddy Yankee, and Anuel AA.

11        258. On or about January 18, 2018, UMG and El Cartel released the single
12 “Dura”. Upon information and belief, Plaintiffs allege that Dura was written,

13 recorded, produced, distributed and/or exploited by Defendants UMG, Kobalt, El

14 Cartel, GPC, Daddy Yankee, Warner, DJ Urba, and Gaby Music.

15        259. On or about April 23, 2021, UMG and El Cartel released the single “El
16 Pony”. Upon information and belief, Plaintiffs allege that El Pony was written,

17 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC,

18 Daddy Yankee, UMG, Warner, Chris Jeday, and Gaby Music.

19        260. On or about November 1, 2004, El Cartel released the single
20 “Gasolina”. Upon information and belief, Plaintiffs allege that Gasolina was written,

21 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC,

22 Daddy Yankee, UMG, SONY, Luny, and Tunes.

23        261. On or about March 3, 2017, El Cartel released the single “Hula Hoop”.
24 Upon information and belief, Plaintiffs allege that Hula Hoop was written, recorded,

25 produced, distributed and/or exploited by Defendants El Cartel, GPC, Daddy Yankee,

26 UMG, Kobalt, Sony, SONY, and DJ Urba.
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 1         262. On or about January 6, 2017, Sony and El Cartel released the single “La
 2 Rompe Corazones”. Upon information and belief, Plaintiffs allege that La Rompe

 3 Corazones was written, recorded, produced, distributed and/or exploited by

 4 Defendants El Cartel, GPC, Daddy Yankee, UMG, SONY, Warner, Ozuna, Chris

 5 Jeday, and Gaby Music.

 6         263. On or about May 16, 2004, Sony and El Cartel released the single “Lo
 7 Que Pasó, Pasó”. Upon information and belief, Plaintiffs allege that Lo Que Pasó,

 8 Pasó was written, recorded, produced, distributed and/or exploited by Defendants El

 9 Cartel, GPC, Daddy Yankee, UMG, Sony, SONY, Luny, and Tunes.

10         264. On or about September 21, 2021, Sony and El Cartel released the single
11 “Métele Al Perreo”. Upon information and belief, Plaintiffs allege that Métele Al

12 Perreo was written, recorded, produced, distributed and/or exploited by Defendants

13 El Cartel, GPC, Daddy Yankee, UMG, SONY, Luny, and Tunes.

14         265. On or about January 8, 2020, Sony and Epic released the single
15 “Muévelo”. Upon information and belief, Plaintiffs allege that Muévelo was written,

16 recorded, produced, distributed and/or exploited by Defendants El Cartel, GPC,

17 Daddy Yankee, UMG, Warner, Sony, Kobalt, Nicky Jam, Play-n-Skillz, and SONY.

18         266. On or about February 25, 2021, Sony and El Cartel released the single
19 “Problema”. Upon information and belief, Plaintiffs allege that Problema was
20 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,

21 GPC, Daddy Yankee, UMG, UMP, SONY, and Sony.

22         267. On or about October 18, 2019, Sony and El Cartel released the single
23 “Que Tire Pa' 'Lante”. Upon information and belief, Plaintiffs allege that Que Tire

24 Pa' 'Lante was written, recorded, produced, distributed and/or exploited by

25 Defendants El Cartel, GPC, Daddy Yankee, UMG, SONY, Warner, Kobalt, and DJ

26 Urba.
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 1        268. On or about December 11, 2015, UMG and El Cartel released the single
 2 “Shaky Shaky”. Upon information and belief, Plaintiffs allege that Shaky Shaky was

 3 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,

 4 GPC, SONY, Daddy Yankee, UMG, Sony, Kobalt, Gaby Music, and DJ Urba.

 5        269. On or about June 28, 2019, El Cartel released the single “Si Supieras”.
 6 Upon information and belief, Plaintiffs allege that Si Supieras was written, recorded,

 7 produced, distributed and/or exploited by Defendants El Cartel, GPC, Daddy Yankee,

 8 UMG, Warner, Sony, Tainy, Luny, SONY, Wisin, and Yandel.

 9        270. On or about March 12, 2015, UMG and El Cartel released the single
10 “Sígueme y Te Sigo”. Upon information and belief, Plaintiffs allege that Sígueme y

11 Te Sigo was written, recorded, produced, distributed and/or exploited by Defendants

12 El Cartel, GPC, Daddy Yankee, UMG, SONY, Sony, Warner, Chris Jeday, and Gaby

13 Music.

14        271. On or about June 15, 2018, Sony Music and Pina Records released the
15 single “Zum Zum”. Upon information and belief, Plaintiffs allege that Zum Zum was

16 written, recorded, produced, distributed and/or exploited by Defendants El Cartel,

17 GPC, Daddy Yankee, UMG, Warner, Sony, Kobalt, Luny, and Tunes.

18        272. Adictiva, Con Calma, Definitivamente, Don Don, Dura, El Pony,
19 Gasolina, Hula Hoop, La Rompe Corazones, Lo Que Pasó, Pasó, Métele Al Perreo,
20 Muévelo, Problema, Que Tire Pa' 'Lante, Shaky Shaky, Si Supieras, Sígueme y Te

21 Sigo, and Zum Zum were each hit songs garnering at least millions of plays and

22 streams and resulting in significant revenue and profits to the respective Defendants.

23        273. On or about July 13, 2004, UMG and El Cartel released the single
24 “Golpe de Estado”. Upon information and belief, Plaintiffs allege that Golpe de

25 Estado was written, recorded, produced, distributed and/or exploited by Defendants

26 El Cartel, GPC, Daddy Yankee, UMG, Yandel, Luny, and Tunes. Golpe de Estado
27 includes elements that are substantially similar if not virtually identical to significant

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 1 portions of Dem Bow, including the lyrical portions of Dem Bow. Additionally,

 2 copied elements from Fish Market (that appear to be at least partially provided by an

 3 audio sample of the Pounder) form the backbone of Golpe de Estado and

 4 accordingly, significant portions of Golpe de Estado are substantially similar if not

 5 virtually identical to significant portions of Fish Market.

 6        274. On or about October 29, 2013, El Cartel released the single “Calenton”.
 7 Upon information and belief, Plaintiffs allege that Calenton was written, recorded,

 8 produced, distributed and/or exploited by Defendants El Cartel, GPC, Daddy Yankee,

 9 and Yandel. Calenton includes elements that are substantially similar if not virtually

10 identical to significant portions of Dem Bow, including the lyrical portions of Dem

11 Bow. Additionally, copied elements from Fish Market (that appear to be at least

12 partially provided by an audio sample of the Pounder) form the backbone of

13 Calenton and accordingly, significant portions of Calenton are substantially similar if

14 not virtually identical to significant portions of Fish Market.

15        275. Golpe de Estado, and Calenton each contain substantially similar if not
16 virtually identical portions of Dem Bow, including the lyrical portions of Dem Bow.

17 Golpe de Estado, and Calenton were each hit songs garnering at least millions of

18 plays and streams around the world resulting in significant revenue and profits to the

19 respective Defendants.
20        276. Adictiva, Con Calma, Definitivamente, Don Don, Dura, El Pony,
21 Gasolina, Hula Hoop, La Rompe Corazones, Lo Que Pasó, Pasó, Métele Al Perreo,

22 Muévelo, Problema, Que Tire Pa' 'Lante, Shaky Shaky, Si Supieras, Sígueme y Te

23 Sigo, Zum Zum, After Party, Alerta Roja, Camuflash, Cuéntame, Dale Caliente,

24 Desafio, Dos Mujeres, El Empuje, Gangsta Zone, Guaya, King Daddy, La Rompe

25 Carros, Latigazo, Llegamos a la Disco, Machete, Nada Ha Cambiado, No Me Dejes

26 Solo, Perros Salvajes, Po’ Encima, ¿Que Vas Hacer?, Quiero Decirte, Rompe, Te
27 Ves Bien, Golpe de Estado, and Calenton (collectively the “Daddy Yankee Works”)

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 1 incorporates an unauthorized sample of the Fish Market recording and/or a verbatim

 2 copy of the Fish Market composition as the primary rhythm / drum section of the

 3 Daddy Yankee Work. The Daddy Yankee Works and the parties responsible are also

 4 depicted in Exhibit A attached hereto.

 5        277. A comparison of Fish Market and each of the Daddy Yankee Works
 6 establishes that each of the Daddy Yankee Works incorporates both qualitatively and

 7 quantitatively significant sections of the Fish Market recording and/or composition.

 8        278. Specific analysis of Adictiva, Con Calma, Definitivamente, Don Don,
 9 Dura, El Pony, Gasolina, Hula Hoop, La Rompe Corazones, Lo Que Pasó, Pasó,

10 Métele Al Perreo, Muévelo, Problema, Que Tire Pa' 'Lante, Shaky Shaky, Si

11 Supieras, Sígueme y Te Sigo, and Zum Zum illustrates the substantial similarity

12 between the Fish Market and the identified Daddy Yankee Works.

13        279. The rhythm section of Adictiva copies original elements of the Fish
14 Market rhythm section, including the original combination of drum patterns featured

15 in Fish Market. These purloined elements include, without limitation, the kick, and

16 snare patterns of Fish Market. The kick drum of Adictiva plays four crotchets per bar

17 beginning on the first beat of each bar as in Fish Market. The rim/snare pattern also

18 replicates that of Fish Market. Adictiva features a percussive 32nd beats pulse at the

19 end of the second bar. This serves to replicate the 32nd timbale roll played at the end
20 of the second bar in Fish Market. The drum and bass tracks both together and

21 independently, are substantially similar in rhythmic structures and texture to those of

22 Fish Market. The kick, snare, hi-hat and bass in Adictiva are at least substantially

23 similar to those elements in Fish Market. Further, despite note deviations to match

24 the song's chord structure, the bassline most commonly anchors on beats one and

25 three as in Fish Market. The bass line also copies the tone and minimalist structure of

26 that played in Fish Market. These copied elements form the backbone of Adictiva and
27 accordingly, significant portions of Adictiva are substantially similar if not virtually

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 1 identical to significant portions of Fish Market, as shown by comparison of the

 2 transcripts of portions of each below.

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21        280. The rhythm section of Con Calma copies original elements of the Fish
22 Market rhythm section, including the original combination of drum patterns featured

23 in Fish Market. These purloined elements include, without limitation, the kick, snare

24 and hi-hat patterns of Fish Market. The kick drum of Con Calma plays four crotchets

25 per bar beginning on the first beat of each bar as in Fish Market. The rim/snare

26 pattern also replicates that of Fish Market. The hi-hat copies the pattern as played on
27 beats one, two, three and four of each bar in Fish Market. The timbale of Con Calma

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 1 replicates the portions of the Fish Market pattern and sonic characteristics found in

 2 the Pounder and could be an audio sample taken from the same. The tom copies the

 3 Fish Market tom pattern which is played on the down beats one and three. The drum

 4 and bass tracks both together and independently, are substantially similar in rhythmic

 5 structures and texture to those of Fish Market. Further, despite note deviations to

 6 match the song's chord structure, the bassline most commonly anchors on beats one

 7 and three as in Fish Market. The bass line also copies the tone and minimalist

 8 structure of that played in Fish Market. These copied elements form the backbone of

 9 Con Calma and accordingly, significant portions of Con Calma are substantially

10 similar if not virtually identical to significant portions of Fish Market, as shown in

11 the transcripts of portions of each below.

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11        281. The rhythm section of Definitivamente copies original elements of the
12 Fish Market rhythm section, including the original combination of drum and bass

13 patterns featured in Fish Market. These purloined elements include, without

14 limitation, the kick, snare and hi-hat patterns of Fish Market. The kick drum of

15 Definitivamente plays four crotchets per bar beginning on the first beat of each bar as

16 in Fish Market. The rim/snare pattern also replicates that of Fish Market. The

17 maracas copy excerpts of the tambourine pattern played in Fish Market. Further,

18 despite note deviations to match the song's chord structure, the bassline most

19 commonly anchors on beats one and three as in Fish Market. The bass line also
20 copies the tone and minimalist structure of that played in Fish Market. The drum and

21 bass tracks both together and independently, are substantially similar in rhythmic

22 structures and texture to those of Fish Market. As compared to Fish Market, the

23 tempo of Definitivamente is approximately the same at 100 bpm. These copied

24 elements form the backbone of Definitivamente and accordingly, significant portions

25 of Definitivamente are substantially similar if not virtually identical to significant

26 portions of Fish Market, as shown in the transcripts of portions of each below.
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 1        282. The rhythm section of Don Don copies original elements of the Fish
 2 Market rhythm section, including the original combination of drum patterns featured

 3 in Fish Market. These purloined elements include, without limitation, the kick, and

 4 snare patterns of Fish Market. The kick drum of Don Don plays four crotchets per bar

 5 beginning on the first beat of each bar as in Fish Market. The rim copies the snare

 6 pattern played in Fish Market with the exception of omitting the second eighth note,

 7 synonymous with the Fish Market snare pattern. The hi-hat copies the pattern as

 8 played on beats one, two, three and four of each bar in Fish Market with an additional

 9 second eighth note beat on each bar replacing the second eighth note beat omitted

10 from the snare thus completing the original Fish Market snare pattern. The drum and

11 bass tracks both together and independently, are substantially similar in rhythmic

12 structures and texture to those of Fish Market. Further, despite note deviations to

13 match the song's chord structure, the bassline most commonly anchors on beats one

14 and three as in Fish Market. The bass line also copies the tone and minimalist

15 structure of that played in Fish Market. These copied elements form the backbone of

16 Don Don and accordingly, significant portions of Don Don are substantially similar if

17 not virtually identical to significant portions of Fish Market, as shown by comparison

18 of the transcripts of portions of each below.

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22        283. The rhythm section of Dura copies original elements of the Fish Market
23 rhythm section, including the original combination of drum patterns featured in Fish

24 Market. These purloined elements include, without limitation, the kick, and snare

25 patterns of Fish Market. The kick drum of Dura plays four crotchets per bar

26 beginning on the first beat of each bar as in Fish Market. The rim/snare pattern also
27 replicates that of Fish Market. Synth tom is played on beats one and three as in Fish

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 1 Market. The drum and bass tracks both together and independently, are substantially

 2 similar in rhythmic structures and texture to those of Fish Market. Further, despite

 3 note deviations to match the song's chord structure, the bassline most commonly

 4 anchors on beats one and three as in Fish Market. The bass line also copies the tone

 5 and minimalist structure of that played in Fish Market. These copied elements form

 6 the backbone of Dura and accordingly, significant portions of Dura are substantially

 7 similar if not virtually identical to significant portions of Fish Market, as shown by

 8 comparison of the transcripts of portions of each below.

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 1        284. The rhythm section of El Pony copies original elements of the Fish
 2 Market rhythm section, including the original combination of drum patterns featured

 3 in Fish Market. These purloined elements include, without limitation, the kick, and

 4 snare patterns of Fish Market. The kick drum of El Pony plays four crotchets per bar

 5 beginning on the first beat of each bar as in Fish Market. The hi-hat cymbals play a

 6 similar pattern to that of Fish Market with a slight variation at the end of the second

 7 bar. The rim/snare pattern also replicates that of Fish Market. Synth tom is played on

 8 beats one and three throughout El Pony as in Fish Market. However, the synth tom is

 9 taken out at 1:19 (the captioned excerpt) and the pattern introduces a 32nd timbale

10 roll at the end of bar two which mimics the timbale roll in Fish Market. Further,

11 despite note deviations to match the song's chord structure, the bassline most

12 commonly anchors on beats one and three as in Fish Market. The bass line also

13 copies the tone and minimalist structure of that played in Fish Market. These copied

14 elements form the backbone of El Pony and accordingly, significant portions of El

15 Pony are substantially similar if not virtually identical to significant portions of Fish

16 Market, as shown by comparison of the transcripts of portions of each below.

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10        285. The rhythm section of Gasolina copies original elements of the Fish
11 Market rhythm section, including the original combination of drum patterns featured

12 in Fish Market. These purloined elements include, without limitation, the kick, and

13 snare patterns of Fish Market. The kick drum of Gasolina plays four crotchets per bar

14 beginning on the first beat of each bar as in Fish Market. The hi-hat maintains the

15 main accents of the Fish Market hi-hat pattern played on beats one, two, three and

16 four of each bar, with additional 8th notes replacing the missing 8th notes as played

17 on the Fish Market snare pattern. Despite the substitution of hi-hat for snare drum on

18 the 2nd and 6th 8th notes of each bar, the rhythm of the combined elements result is

19 the same as Fish Market. The combination of the snare drum and hi-hat pattern as
20 played in Gasolina gives the same snare and hi-hat audio overlay effect as the pattern

21 played in Fish Market. The arrows in the Gasolina notation, emanates from the hi-hat

22 substitution note and points to the location where the snare is played in Fish Market.

23 The bongos in Gasolina serves to substitute the timbales played in Fish Market with

24 a slight variation to the pattern. However, despite the substitution of sound, the bongo

25 drum serves well at capturing the overall feel and sonic characteristics found in Fish

26 Market. Synth tom is played on beats one and three at various points throughout
27 Gasolina, copying the Fish Market tom pattern. *Example 0:20 - 0:28, 0:40 - 0:48,

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 1 1:00 -1:08, 1:20 - 1:28, etc. (These can be clearly heard at the locations identified in

 2 the *examples at the timestamp locations shown above.) The drum and bass tracks

 3 both together and independently, are substantially similar in rhythmic structures and

 4 texture to those of Fish Market. Further, despite note deviations to match the song's

 5 chord structure, the bassline most commonly anchors on beats one and three as in

 6 Fish Market. The bass line also copies the tone and minimalist structure of that

 7 played in Fish Market. These copied elements form the backbone of Gasolina and

 8 accordingly, significant portions of Gasolina are substantially similar if not virtually

 9 identical to significant portions of Fish Market, as shown by comparison of the

10 transcripts of portions of each below.

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10        286. The rhythm section of Hula Hoop copies original elements of the Fish
11 Market rhythm section, including the original combination of drum and bass patterns

12 featured in Fish Market. These purloined elements include, without limitation, the

13 kick, and snare patterns of Fish Market. As compared to Fish Market, the rhythm

14 section of Hula Hoop plays the exact pattern with exclusion of the timbales. The kick

15 drum and hi-hat cymbals play on beats one, two, three and four of each bar, while the

16 tom and bass plays on beats one and three. The snare drum is also a copy of the Fish

17 Market snare pattern. The bass line on Hula Hoop, anchors on beats one and three

18 and plays a Bb (B flat) note as in Fish Market. Hula Hoop also emulates the sonic

19 characteristics of Fish Market with use of similar instrumentation. These include
20 programming utilizing kick, snare, hi-hat and electric tom drums. The bass is

21 synthesized with emphasis on sub frequency tonations. Further, despite note

22 deviations to match the song's chord structure, the bassline most commonly anchors

23 on beats one and three as in Fish Market. The bass line also copies the tone and

24 minimalist structure of that played in Fish Market. These copied elements form the

25 backbone of Hula Hoop and accordingly, significant portions of Hula Hoop are

26 substantially similar if not virtually identical to significant portions of Fish Market,
27 as shown by comparison of the transcripts of portions of each below.

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20        287. The rhythm section of La Rompe Corazones copies original elements of
21 the Fish Market rhythm section, including the original combination of drum patterns

22 featured in Fish Market. These purloined elements include, without limitation, the

23 kick, and snare patterns of Fish Market. The kick drum of La Rompe Corazones plays

24 four crotchets per bar beginning on the first beat of each bar as in Fish Market. The

25 rim/snare pattern also replicates that of Fish Market. The snare copies the pattern

26 played in Fish Market. The hi-hat of La Rompe Corazones copies the pattern as
27 played on beats one, two, three and four of each bar in Fish Market. The tom copies

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 1 the Fish Market tom pattern which is played on the down beats one and three. The

 2 bass line copies the minimalist structure of the bass line played in Fish Market.

 3 However, despite note deviations to match the song's chord structure, the bassline

 4 most commonly anchors on beats one and three as in Fish Market. These copied

 5 elements form the backbone of La Rompe Corazones and accordingly, significant

 6 portions of La Rompe Corazones are substantially similar if not virtually identical to

 7 significant portions of Fish Market, as shown by comparison of the transcripts of

 8 portions of each below.

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 1        288. The rhythm section of Lo Que Pasó, Pasó copies original elements of
 2 the Fish Market rhythm section, including the original combination of drum patterns

 3 featured in Fish Market. These purloined elements include, without limitation, the

 4 kick drum, snare drum, hi-hat, timbales and synth tom patterns of Fish Market,

 5 replicating the same combined patterns as contained in Fish Market, with the

 6 exception of a maracas replacing the tambourine in Fish Market. Lo Que Pasó, Pasó

 7 is composed of layered elements of drums which includes programmed drums and

 8 sampled drum loops. The kick drum plays on beats one, two, three and four of each

 9 bar complemented by the original Fish Market snare pattern as shown in the attached

10 notation excerpt. The hi-hat and maracas in combination, seems aimed at capturing

11 the hi-hat and tambourine pattern in Fish Market. However, the instrument interplay

12 in Lo Que Pasó, Pasó is not definitively clear, therefore the notation excerpt

13 combines both patterns on a single line of the score; here notated as a combined

14 pattern on the hi-hat line. The timbale pattern is the same unique original pattern

15 contained in Fish Market. Synth tom is played on beats one and three as in Fish

16 Market. The bass plays on all four beats of each bar with notes in line with the new

17 chord structure. However, the track also features a ‘mid-range frequency’ second bass

18 track playing on beats one and three as in Fish Market. The drum and bass tracks

19 both together and independently, are substantially similar in rhythmic structures and
20 texture to those of Fish Market. The kick, snare, hi-hat and bass are prominent in the

21 mix of Lo Que Pasó, Pasó which emulates the sonic texture of Fish Market, giving

22 the song a similar feel. The sonic elements as contained in the looped drum samples,

23 are indicative of a frequency manipulated audio sample in which the low frequencies

24 are reduced. This procedure may have been applied to allow for masking of bass note

25 clashes. This can be beneficial to musical outcomes particularly in cases in which the

26 key of a ‘bass heavy’ sample is different from that of the new work in which the
27 sample is applied. In this case, the key is Eb as opposed to Bb in the case of Fish

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 1 Market. Based on the combined identifiable factors of drum pattern, drum sound and

 2 instrumentation, the sample contained in Lo Que Pasó, Pasó is consistent with the

 3 Pounder; a re-recorded version of Fish Market. These copied elements form the

 4 backbone of Lo Que Pasó, Pasó and accordingly, significant portions of Lo Que

 5 Pasó, Pasó are substantially similar if not virtually identical to significant portions of

 6 Fish Market, as shown by comparison of the transcripts of portions of each below.

 7 Further, sampling of the sound recording of the Pounder provides direct evidence of

 8 copying of the Fish Market composition.

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12        289. The rhythm section of Métele Al Perreo copies original elements of the
13 Fish Market rhythm section, including the original combination of drum patterns

14 featured in Fish Market. These purloined elements include, without limitation, the

15 kick, and snare patterns of Fish Market. The kick drum and hi-hat of Métele Al

16 Perreo plays four crotchets per bar beginning on the first beat of each bar as in Fish

17 Market. The rim/snare pattern also replicates that of Fish Market. Synth tom is

18 played on beats one and three which is the same pattern as Fish Market. The bass line

19 played on Métele Al Perreo copies the tone and minimalist structure of the bass line
20 played in Fish Market, with emphasis placed on beats 1 and 3 of each bar to direct

21 the chord movements. However, there are minor note deviations to match the Métele

22 Al Perreo key and chord structure. The Métele Al Perreo drum and bass tracks

23 deliver retains the rhythmic structures and texture of Fish Market. These copied

24 elements form the backbone of Métele Al Perreo and accordingly, significant

25 portions of Métele Al Perreo are substantially similar if not virtually identical to

26 significant portions of Fish Market, as shown by comparison of the transcripts of
27 portions of each below.

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19        290. The rhythm section of Muévelo copies original elements of the Fish
20 Market rhythm section, including the original combination of drum patterns featured

21 in Fish Market. These purloined elements include, without limitation, the kick, and

22 snare patterns of Fish Market. As compared to Fish Market, the rhythm section

23 contained in Muévelo, features similar drum parts as contained in Fish Market,

24 namely, kick drum, snare drums, hi-hat, timbales and tom. These parts are

25 structured/performed so as to replicate the drum patterns as contained in Fish Market.

26 Muévelo appears to be comprised of layered elements of drums which may include
27 programmed drums and/or looped drum samples. The kick drum plays on the down

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 1 beats one, two, three and four of each bar as performed in Fish Market. The snare

 2 pattern is the same as the snare pattern in Fish Market. The hi-hat is also a copy of

 3 the Fish Market minimalistic hi-hat pattern with four crochets played on down beats

 4 one, two, three and four. The timbale pattern is the same as contained in Fish Market.

 5 However, the timbre of the instrument is in line with the Fish Market cover version,

 6 the Pounder. Synth tom is played on beats one and three as in Fish Market. The bass

 7 in this work, plays on all four beats of each bar. However, it anchors heavily on the

 8 song’s root note ‘D’ which is played on beats 1 and 3 thus accentuating and copying

 9 the rhythmic pattern of the Fish Market bass. The sonic elements as contained in the

10 looped drum samples are indicative of a frequency manipulated audio sample in

11 which the low frequencies are reduced. This procedure may have been applied to

12 allow for masking of bass note clashes. This can be beneficial to musical outcomes

13 particularly in cases in which the key of a ‘bass heavy’ sample is different from that

14 of the new work in which the sample is applied. In this case, the key is D as opposed

15 to Bb in the case of Fish Market. Based on the combined identifiable factors of drum

16 pattern, drum sound and instrumentation, an audio sample infringement is suspected

17 and is sonically consistent with the Pounder. The drum and bass tracks both together

18 and independently, are substantially similar in rhythmic structures and texture to

19 those of Fish Market. These copied elements form the backbone of Muévelo and
20 accordingly, significant portions of Muévelo are substantially similar if not virtually

21 identical to significant portions of Fish Market, as shown by comparison of the

22 transcripts of portions of each below.

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19        291. The rhythm section of Problema copies original elements of the Fish
20 Market rhythm section, including the original combination of drum patterns featured

21 in Fish Market. These purloined elements include, without limitation, the kick, and

22 snare patterns of Fish Market. As in Fish Market, the kick drum and hi-hat of

23 Problema play four crotchets per bar beginning on the first beat of each bar. The

24 snare drum copies the snare drum pattern played in Fish Market. Synth tom is played

25 on beats one and three which is the same pattern as Fish Market. The bass line played

26 on Problema copies the tone and minimalist structure of the bass line played in Fish
27 Market, with emphasis placed on beats 1 and 3 of each bar. The drum and bass tracks

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 1 both together and independently, are substantially similar in rhythmic structures and

 2 texture to those of Fish Market. These copied elements form the backbone of

 3 Problema and accordingly, significant portions of Problema are substantially similar

 4 if not virtually identical to significant portions of Fish Market, as shown by

 5 comparison of the transcripts of portions of each below.

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24        292. The rhythm section of Que Tire Pa' 'Lante copies original elements of
25 the Fish Market rhythm section, including the original combination of drum patterns

26 featured in Fish Market, which form the main rhythm section of Que Tire Pa' 'Lante.
27 Que Tire Pa’ ‘Lante also includes a sample of Pounder. In addition, Que Tire Pa'

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 1 'Lante appears to intersperse samples of other dancehall tracks of the era following

 2 Fish Market including “A Who Seh Me Done” by Phillip Anthony Thomas p/k/a

 3 Cutty Ranks, released 1992, and “Hot This Year” by Patrick Thompson p/k/a

 4 Dirtsman, released 1992. The purloined elements of Fish Market include, without

 5 limitation, the kick, and snare patterns of Fish Market. The kick drum and hi-hat play

 6 four crotchets per bar beginning on the first beat of each bar. The snare drum copies

 7 the snare drum pattern played in Fish Market. A timbale 32nd beats roll can be heard

 8 at approximately 2:35 in Que Tire Pa' 'Lante. This is a significant musical element

 9 original to Fish Market and occurs at the same bar location point in Que Tire Pa'

10 'Lante as in Fish Market. See below for Fish Market timbale 2 notation excerpt. The

11 synth tom of Que Tire Pa' 'Lante is played on beats one and three which is the same

12 pattern as Fish Market. The bass line played on Que Tire Pa' 'Lante copies the tone

13 and minimalist structure of the bass line played in Fish Market. This pattern can be

14 heard at approximately 2:56 in the Que Tire Pa' 'Lante (in which the bass is played

15 on beats 1 and 3). Based on the combined identifiable factors of drum pattern, drum

16 sound and instrumentation, an audio sample infringement is suspected and is

17 sonically consistent with the Pounder. In addition, Que Tire Pa' 'Lante appears to

18 include audio samples from the sound recording of Fish Market, for example from

19 the intro phrase of Fish Market at approximately 3:03-3:07 and truncated at 0:12,
20 0:20, and 0:25. These copied elements form the backbone of Que Tire Pa' 'Lante and

21 accordingly, significant portions of Que Tire Pa' 'Lante are substantially similar if not

22 virtually identical to significant portions of Fish Market, as shown by comparison of

23 the transcripts of portions of each below.

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23        293. The rhythm section of Shaky Shaky copies original elements of the Fish
24 Market rhythm section, including the original combination of drum patterns featured

25 in Fish Market. These purloined elements include, without limitation, the kick, hi-hat

26 and snare patterns of Fish Market. As compared to Fish Market, the drum and bass
27 tracks feature similar patterns as follows: The kick drum copies that of Fish Market

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 1 playing four crotchets per bar beginning on the first beat of each bar. The hi-hat plays

 2 the same pattern as Fish Market with the addition of 2 16th beats at the end of each

 3 bar. The snare 1 pattern is the same as Fish Market’s. Snare 2 has a minor deviation

 4 with the addition of a single 16th beat on the 6th sixteenth note of each bar. Snare 3

 5 adds another beat being the 8th sixteenth beat of each bar. These changes have very

 6 little impact on the outcome as it relates to the overall rhythmic similarity as

 7 compared to Fish Market. This is so as the combination of all the snares and

 8 additional hi-hat elements, results in a copy of the snare and timbale 1 patterns as

 9 composed in Fish Market. See comparative notation below. The colored lines show

10 the Shaky Shaky connecting beats which formulates the timbale pattern played on

11 Fish Market. These beats have been distributed around various drums recreating the

12 same rhythmic elements found in Fish Market. The timbale 32nd beats roll played on

13 Fish Market, is substituted by a pick guitar on Shaky Shaky similarly filling the space.

14 A tom is played on beats one and three, copying the tom pattern in Fish Market. The

15 bass line played on Shaky Shaky copies the tone and minimalist structure of that

16 played in Fish Market. The drum and bass tracks both together and independently,

17 are substantially similar in rhythmic structures and texture to those of Fish Market.

18 These copied elements form the backbone of Shaky Shaky and accordingly,

19 significant portions of Shaky Shaky are substantially similar if not virtually identical
20 to significant portions of Fish Market, as shown by comparison of the transcripts of

21 portions of each below.

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11        294. The rhythm section of Si Supieras copies original elements of the Fish
12 Market rhythm section, including the original combination of drum patterns featured

13 in Fish Market. These purloined elements include, without limitation, the kick, and

14 snare patterns of Fish Market. The kick drum of Si Supieras plays four crotchets per

15 bar beginning on the first beat of each bar as in Fish Market. The snare copies the

16 pattern played in Fish Market. The hi-hat copies the pattern as played on beats one,

17 two, three and four of each bar in Fish Market. The tom copies the Fish Market tom

18 pattern which is played on the down beats one and three. The bass line copies the

19 minimalist structure of the bass line played in Fish Market, with emphasis placed on
20 beats 1 and 3 of each bar. However, there are note deviations to match the new chord

21 structure. The drum and bass tracks both together and independently, are substantially

22 similar in rhythmic structures and texture to those of Fish Market. These copied

23 elements form the backbone of Si Supieras and accordingly, significant portions of Si

24 Supieras are substantially similar if not virtually identical to significant portions of

25 Fish Market, as shown by comparison of the transcripts of portions of each below.

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18        295. The rhythm section of Sígueme y Te Sigo copies original elements of the
19 Fish Market rhythm section, including the original combination of drum patterns
20 featured in Fish Market. These purloined elements include, without limitation, the

21 kick, and snare patterns of Fish Market. The kick drum and hi-hat of Sígueme y Te

22 Sigo plays four crotchets per bar beginning on the first beat of each bar as in Fish

23 Market. The snare pattern also replicates that of Fish Market with the timbale filling

24 in the missing lead in snare drum on the third 16th beat of each bar, thus completing

25 the original snare pattern. The timbale also helps to capture the timbre associated

26 with the Fish Market sound. The tom is played on beats one and three, copying the
27 tom pattern in Fish Market. The bass line anchors heavily on beats one and three and

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 1 copies the tone and minimalist structure of that played in Fish Market. The drum and

 2 bass tracks both together and independently, are substantially similar in rhythmic

 3 structures and texture to those of Fish Market. These copied elements form the

 4 backbone of Sígueme y Te Sigo and accordingly, significant portions of Sígueme y Te

 5 Sigo are substantially similar if not virtually identical to significant portions of Fish

 6 Market, as shown by comparison of the transcripts of portions of each below.

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 1        296. The rhythm section of Zum Zum copies original elements of the Fish
 2 Market rhythm section, including the original combination of drum patterns featured

 3 in Fish Market. These purloined elements include, without limitation, the kick, and

 4 snare patterns of Fish Market. The kick drum of Zum Zum plays four crotchets per

 5 bar beginning on the first beat of each bar as in Fish Market. Snare 1 and snare 2

 6 together formulate the snare pattern played in Fish Market. The hi-hat (in bar 1)

 7 copies the pattern as played on the down beats one, two, three and four in Fish

 8 Market. The timbale copies the 32nd beat (timbale 2) roll as at the end of bar two in

 9 Fish Market. The high percussion replaces the tambourine in Fish Market and fills in

10 the rhythmic component and frequency bandwidth synonyms with Fish Market. The

11 bass drum copies the bass as played in Fish Market, this being on beats one and three.

12 The drum and bass tracks deliver strong retention of the rhythmic structures and

13 timbre of Fish Market. The bass line also copies the tone and minimalist structure of

14 that played in Fish Market. These copied elements form the backbone of Zum Zum

15 and accordingly, significant portions of Zum Zum are substantially similar if not

16 virtually identical to significant portions of Fish Market, as shown by comparison of

17 the transcripts of portions of each below.

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  1                             Abraham Mateo Allegations
  2         297. As shown in the accompanying Exhibit A, Abraham Mateo and a
  3 plurality of the defendants, the corresponding defendants for each song named

  4 therein, have released the songs entitled A Cámara Lenta, Esta Cuarentena, Loco

  5 Enamorado, Me Vuelvo Loco, No Encuentro Palabras, ¿Qué Ha Pasao’?, Se Acabó

  6 el Amor, and Tiempo Pa Olvidar.

  7        298. Each of A Cámara Lenta, Esta Cuarentena, Loco Enamorado, Me
  8 Vuelvo Loco, No Encuentro Palabras, ¿Qué Ha Pasao'?, Se Acabó el Amor, and

  9 Tiempo Pa Olvidar (collectively, the “Abraham Mateo Works”) were separately

 10 released at different times subsequent to the 1989 release of Fish Market.

 11        299. Each of the Abraham Mateo Works incorporates an unauthorized sample
 12 of the Fish Market recording and/or a verbatim copy of the Fish Market composition

 13 as the primary rhythm / drum section of each work.

 14        300. A comparison of Fish Market and each of the Abraham Mateo Works
 15 establishes that each of the Abraham Mateo Works incorporates both qualitatively

 16 and quantitatively significant sections of the Fish Market recording and/or

 17 composition. The various defendants responsible for each of the identified works and

 18 the manner of copying are described in the accompanying Exhibit A.

 19                              Alex Sensation Allegations
 20         301. As shown in the accompanying Exhibit A, Alex Sensation and a
 21 plurality of the defendants, the corresponding defendants for each song named

 22 therein, have released the songs entitled Dame Un Chance, La Calle, La Diabla, La

 23 Mala Y La Buena, Pa' Lante, and Que Va.

 24        302. Each of Dame Un Chance, La Calle, La Diabla, La Mala Y La Buena,
 25 Pa' Lante, and Que Va (collectively, the “Alex Sensation Works”) were separately

 26 released at different times subsequent to the 1989 release of Fish Market.
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  1        303. Each of the Alex Sensation Works incorporates an unauthorized sample
  2 of the Fish Market recording and a verbatim copy of the Fish Market composition as

  3 the primary rhythm / drum section of each work.

  4        304. A comparison of Fish Market and each of the Alex Sensation Works
  5 establishes that each of the Alex Sensation Works incorporates both qualitatively and

  6 quantitatively significant sections of the Fish Market recording and composition. The

  7 various defendants responsible for each of the identified works and the manner of

  8 copying are described in the accompanying Exhibit A.

  9                                   Anitta Allegations
 10         305. As shown in the accompanying exhibit, Anitta and a plurality of the
 11 defendants, the corresponding defendants for each song named therein, have released

 12 the songs entitled Downtown, Goals, Juego, Loco, Medicina, Paradinha, Si O No,

 13 Sim Ou Não, Sin Miedo, Some Que Ele Vem Atrás, Terremoto, Tócame, Tu Y Yo, and

 14 Veneno.

 15        306. Each of Downtown, Goals, Juego, Loco, Medicina, Paradinha, Si O No,
 16 Sim Ou Não, Sin Miedo, Some Que Ele Vem Atrás, Terremoto, Tócame, Tu Y Yo, and

 17 Veneno (collectively, the “Anitta Works”) were separately released at different times

 18 subsequent to the 1989 release of Fish Market.

 19        307. Each of the Anitta Works incorporates an unauthorized sample of the
 20 Fish Market recording and a verbatim copy of the Fish Market composition as the

 21 primary rhythm / drum section of each work.

 22        308. A comparison of Fish Market and each of the Anitta Works establishes
 23 that each of the Anitta Works incorporates both qualitatively and quantitatively

 24 significant sections of the Fish Market recording and composition. The various

 25 defendants responsible for each of the identified works and the manner of copying are

 26 described in the accompanying Exhibit A.
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  1                                 Anuel AA Allegations
  2        309. As shown in the accompanying Exhibit A, Anuel AA and a plurality of
  3 the defendants, the corresponding defendants for each song named therein, have

  4 released the songs entitled 3 Some, Amanece, Armaos 100PRE Andamos, Así Soy Yo,

  5 Ayer, Ayer 2, Bandido, Bandolera, Ceniza En Cenicero, China, Cristiniando,

  6 Demonia, El Manual, El Problema, Ella Quiere Beber, Espina, Fútbol y Rumba,

  7 Hasta Que Dios Diga, Hipócrita, Jangueo, Keii, La Bella Y La Bestia, Nacimos Pa

  8 Morir, Naturaleza, No Love, Nunca Amare, Pensando En Tí, Que Se Joda,

  9 Reggaetonera, Secreto, Sola Remix, Sola, Street Poem, Súbelo, Te Necesito,

 10 Tentandome, and Tocándote.

 11        310. Each of 3 Some, Amanece, Armaos 100PRE Andamos, Así Soy Yo, Ayer,
 12 Ayer 2, Bandido, Bandolera, Ceniza En Cenicero, China, Cristiniando, Demonia, El

 13 Manual, El Problema, Ella Quiere Beber, Espina, Fútbol y Rumba, Hasta Que Dios

 14 Diga, Hipócrita, Jangueo, Keii, La Bella Y La Bestia, Nacimos Pa Morir,

 15 Naturaleza, No Love, Pensando En Tí, Que Se Joda, Reggaetonera, Secreto, Sola

 16 Remix, Sola, Street Poem, Súbelo, Te Necesito, and Tocándote (collectively, the

 17 “Anuel AA Works”) were separately released at different times subsequent to the

 18 1989 release of Fish Market.

 19        311. Specifically, Amanece incorporates a sample taken directly from
 20 Pounder and, by extension, Fish Market. The sample is introduced at approximately

 21 0:36 and is looped at various other intervals throughout Amanece. The 2 bars sample

 22 originated from Pounder. However, the fundamental pattern in Fish Market is

 23 maintained and remains dominant throughout Amanece. Additionally, the drum

 24 tracks in Amanece feature the same kick drum and hi-hat patterns to those in Fish

 25 Market with each playing four crotchets per bar beginning on the first beat of each

 26 bar. The snare drum pattern in Amanece is the same as Fish Market. The synth tom in
 27 Amanece copies the pattern of the synth tom in Fish Market and Pounder played on

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  1 beats 1 and 3 of every bar. Further, Amanece copies Fish Market’s bass pattern which

  2 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Amanece is

  3 the same sub frequency sound spectrum range as in Fish Market and Pounder.

  4        312. Specifically, Así Soy Yo features a truncated sample taken directly from
  5 Pounder and, by extension, Fish Market. The sample is played at approximately

  6 1:06-1:16. However, the fundamental pattern in Fish Market is maintained and

  7 remains dominant throughout Así Soy Yo. Additionally, the Bb or B flat key in Así

  8 Soy Yo is the same as Fish Market and Pounder. The bass line played in Así Soy Yo is

  9 a minimalistic pattern as found in Fish Market having emphasis placed on beats 1 and

 10 3 of each bar anchoring on a B flat note. The timbre of the bass in Así Soy Yo is the

 11 same sub frequency sound spectrum range as in Fish Market and Pounder.

 12        313. Specifically, Ayer incorporates a sample taken directly from Pounder
 13 and, by extension, Fish Market. The sample is played at approximately 0:41 and is

 14 introduced at various other intervals throughout Ayer. The 2 bars sample originated

 15 from Pounder. However, the fundamental pattern in Fish Market is maintained and

 16 remains dominant throughout Ayer. Additionally, the drum tracks in Ayer feature the

 17 same kick drum and hi-hat patterns to those in Fish Market with each playing four

 18 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

 19 Ayer is the same as Fish Market including the addition of a truncated Fish Market
 20 intro drum roll on beat 3 of bar 2 and on the second bar of the 2 bars pattern.

 21 Additionally, Ayer copies both the location and the tambourine pattern in the second

 22 bar of the 2 bars pattern in Fish Market. The synth tom in Ayer copies the pattern of

 23 the synth tom in Fish Market and Pounder played on beats 1 and 3 of every bar.

 24 Further, Ayer copies Fish Market’s bass pattern which anchors the root of the chords

 25 on beats 1 and 3. The timbre of the bass in Ayer has the same sub frequency sound

 26 spectrum range as in Fish Market and Pounder.
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  1        314. Specifically, Ayer 2 copies the fundamental pattern from Fish Market.
  2 However, the fundamental pattern in Fish Market is maintained and remains

  3 dominant throughout Ayer 2. Additionally, the drum tracks in Ayer 2 feature the same

  4 kick drum and hi-hat patterns to those in Fish Market with each playing four

  5 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

  6 Ayer 2 is the same as the snare pattern in Fish Market and Pounder and also

  7 incorporates a segment of the timable pattern which when combined serves to

  8 complete the full drum pattern contained within the Fish Market. The synth tom in

  9 Ayer 2 copies the pattern of the synth tom in Fish Market and Pounder played on

 10 beats 1 and 3 of every bar. Further, the bass line played in Ayer 2 is a minimalistic

 11 pattern as found in Fish Market having emphasis placed on beats 1 and 3 of each bar.

 12 The timbre of the bass in Ayer 2 has the same sub frequency sound spectrum range as

 13 in Fish Market and Pounder.

 14        315. Specifically, Bandolera copies the fundamental pattern from Fish
 15 Market. However, the fundamental pattern in Fish Market is maintained and remains

 16 dominant throughout Bandolera. The drum tracks in Bandolera feature the same kick

 17 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per

 18 bar beginning on the first beat of each bar. The snare drum pattern in Bandolera is the

 19 same as Fish Market. The synth tom in Bandolera copies the pattern of the synth tom
 20 in Fish Market and Pounder played on beats 1 and 3 of every bar. Further, the bass

 21 line played in Bandolera is a minimalistic pattern as found in Fish Market having

 22 emphasis placed on beats 1 and 3. The timbre of the bass in Bandolera has the same

 23 sub frequency sound spectrum range as in Fish Market.

 24        316. Specifically, Demonia incorporates a sample taken directly from
 25 Pounder and, by extension, Fish Market. The sample is introduced at approximately

 26 0:23 and islooped at various other intervals throughout Demonia. The 2 bars sample
 27 originated from Pounder. However, the fundamental pattern in Fish Market is

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  1 maintained and remains dominant throughout Demonia. Additionally, the drum

  2 tracks in Demonia feature the same kick drum and hi-hat patterns to those in Fish

  3 Market with each playing four crotchets per bar beginning on the first beat of each

  4 bar. The snare drum pattern in Demonia is the same as Fish Market. The synth tom in

  5 Demonia copies the pattern of the synth tom in Fish Market and Pounder played on

  6 beats 1 and 3 of every bar. The timbale pattern in Demonia is the same as Fish

  7 Market. Further, Demonia copies Fish Market’s bass pattern which anchors the root

  8 of the chords on beats 1 and 3. The timbre of the bass in Demonia has the same sub

  9 frequency sound spectrum range as in Fish Market and Pounder.

 10        317. Specifically, Keii incorporates a sample taken directly from Pounder
 11 and, by extension, Fish Market. The sample is played at approximately 0:46-1:07,

 12 1:29-1:51, 2:02-2:13 and 2:56-3:18. The 2 bars sample originated from Pounder.

 13 However, the fundamental pattern in Fish Market is maintained and remains

 14 dominant throughout Keii. Additionally, the drum tracks in Keii feature the same kick

 15 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per

 16 bar beginning on the first beat of each bar. The snare drum pattern in Keii is the same

 17 as Fish Market. The synth tom in Keii copies the pattern of the synth tom in Fish

 18 Market and Pounder played on beats 1 and 3 of every bar. The timbale pattern in Keii

 19 is the same as Fish Market. Further, Keii copies Fish Market’s bass pattern which
 20 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Keii has the

 21 same sub frequency sound spectrum range as in Fish Market and Pounder.

 22        318. Specifically, Nacimos Pa Morir incorporates a sample taken directly
 23 from Pounder and, by extension, Fish Market. The sample is played at approximately

 24 0:42-1:02, 1:14-1:34, 2:18-2:59 and 3:22-3:42. The 2 bars sample originated from

 25 Pounder. Additionally, the drum tracks in Nacimos Pa Morir feature the same kick

 26 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per
 27 bar beginning on the first beat of each bar. The snare drum pattern in Nacimos Pa

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  1 Morir is the same as Fish Market. The synth tom in Nacimos Pa Morir copies the

  2 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every

  3 bar. The timbale pattern in Nacimos Pa Morir is the same as Fish Market. Further,

  4 Nacimos Pa Morir copies Fish Market’s bass pattern which anchors the root of the

  5 chords on beats 1 and 3. The timbre of the bass in Nacimos Pa Morir has the same

  6 sub frequency sound spectrum range as in Fish Market and Pounder.

  7        319. Specifically, No Love incorporates a sample taken directly from Pounder
  8 and, by extension, Fish Market. The sample is played at approximately 0:27-0:37,

  9 0:38-2:39, 2:51-2:59, 3:13-3:21 and 3:24-4:07. The 2 bars sample originated from

 10 Pounder. However, the fundamental pattern in Fish Market is maintained and

 11 remains dominant throughout No Love. Additionally, the drum tracks in No Love

 12 feature the same kick drum and hi-hat patterns to those in Fish Market with each

 13 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

 14 pattern in No Love is the same as Fish Market. The synth tom in No Love copies the

 15 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every

 16 bar. No Love contains the same timbale pattern as Fish Market. Further, No Love

 17 copies Fish Market’s bass pattern which anchors the root of the chords on beats 1 and

 18 3. The timbre of the bass in No Love has the same sub frequency sound spectrum

 19 range as in Fish Market and Pounder.
 20        320. Specifically, Nunca Amare incorporates elements of the Fish Market
 21 pattern beginning at approximately 0:35-0:56, 1:00-1:19, 1:30-1:51 and 2:13-2:57.

 22 Additionally, the drum tracks in Nunca Amare feature the same kick drum and hi-hat

 23 patterns to those in Fish Market with each playing four crotchets per bar beginning

 24 on the first beat of each bar. The snare drum pattern in Nunca Amare copies the

 25 fundamental snare drum pattern in Fish Market. The synth tom in Nunca Amare

 26 copies the pattern of the synth tom in Fish Market played on beats 1 and 3 of every
 27 bar. Nunca Amare contains a drum loop that mimics the timbale roll played in Fish

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  1 Market. Further, Nunca Amare copies Fish Market’s bass pattern which anchors the

  2 root of the chords on beats 1 and 3. The timbre of the bass in Nunca Amare has the

  3 same sub frequency sound spectrum range as in Fish Market and Pounder.

  4        321. Specifically, Reggaetonera incorporates a sample taken directly from
  5 Pounder and, by extension, Fish Market. The sample is introduced at approximately

  6 0:31 and is looped at various other intervals throughout Reggaetonera. The 2 bars

  7 sample originated from Pounder. However, the fundamental pattern in Fish Market is

  8 maintained and remains dominant throughout Reggaetonera. Additionally, the drum

  9 tracks in Reggaetonera feature the same kick drum and hi-hat patterns to those in

 10 Fish Market with each playing four crotchets per bar beginning on the first beat of

 11 each bar. The snare drum pattern in Reggaetonera is the same as Fish Market. The

 12 synth tom in Reggaetonera copies the pattern of the synth tom in Fish Market and

 13 Pounder played on beats 1 and 3 of every bar. The timbale pattern in Reggaetonera

 14 copies the timbale pattern from Pounder and Fish Market. Further, Reggaetonera

 15 copies Fish Market’s bass pattern which anchors the root of the chords on beats 1 and

 16 3. The timbre of the bass in Reggaetonera has the same sub frequency sound

 17 spectrum range as in Fish Market and Pounder.

 18        322. Specifically, Tentandome incorporates a sample taken directly from
 19 Pounder and, by extension, Fish Market. The sample is introduced at approximately
 20 0:32 and is looped at various other intervals throughout Tentandome. The 2 bars

 21 sample originated from Pounder. However, the fundamental pattern in Fish Market is

 22 maintained and remains dominant throughout Tentandome. Additionally, the drum

 23 tracks in Tentandome feature the same kick drum and hi-hat patterns to those in Fish

 24 Market with each playing four crotchets per bar beginning on the first beat of each

 25 bar. The snare drum pattern in Tentandome is the same as Fish Market. The synth

 26 tom in Tentandome copies the pattern of the synth tom in Fish Market and Pounder
 27 played on beats 1 and 3 of every bar. Tentandome copies the timbale pattern from

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  1 Pounder and Fish Market. Further, Tentandome copies Fish Market’s bass pattern

  2 which anchors the root of the chords on beats 1 and 3. The timbre of the bass in

  3 Tentandome has the same sub frequency sound spectrum range as in Fish Market and

  4 Pounder.

  5        323. Each of the Anuel AA Works incorporates an unauthorized sample of
  6 the Fish Market recording and a verbatim copy of the Fish Market composition as the

  7 primary rhythm / drum section of each work.

  8        324. A comparison of Fish Market and each of the Anuel AA Works
  9 establishes that each of the Anuel AA Works incorporates both qualitatively and

 10 quantitatively significant sections of the Fish Market recording and composition. The

 11 various defendants responsible for each of the identified works and the manner of

 12 copying are described in the accompanying Exhibit A.

 13                            Anuel AA & Ozuna Allegations
 14        325. As shown in the accompanying exhibit, Anuel AA & Ozuna and a
 15 plurality of the defendants, the corresponding defendants for each song named

 16 therein, have released the songs entitled 100, Antes, DIME TÚ, Nena Buena, Nunca,

 17 and Perreo.

 18        326. Each of 100, Antes, DIME TÚ, Nena Buena, Nunca, and Perreo
 19 (collectively, the “Anuel AA & Ozuna Works”) were separately released at different
 20 times subsequent to the 1989 release of Fish Market.

 21        327. Each of the Anuel AA & Ozuna Works incorporates an unauthorized
 22 sample of the Fish Market recording and a verbatim copy of the Fish Market

 23 composition as the primary rhythm / drum section of each work.

 24        328. A comparison of Fish Market and each of the Anuel AA & Ozuna
 25 Works establishes that each of the Anuel AA & Ozuna Works incorporates both

 26 qualitatively and quantitatively significant sections of the Fish Market recording and
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  1 composition. The various defendants responsible for each of the identified works and

  2 the manner of copying are described in the accompanying Exhibit A.

  3                                 Bad Bunny Allegations
  4        329. As shown in the accompanying Exhibit A, Bad Bunny and a plurality of
  5 the defendants, the corresponding defendants for each song named therein, have

  6 released the songs entitled A Tu Merced, BAD CON NICKY, Bellacoso, Bichiyal,

  7 BYE ME FUI, Callaíta, CANCIÓN CON YANDEL, CÓMO SE SIENTE (Remix),

  8 Cuando Perriabas, Efecto, Ignorantes, LA CANCIÓN, La Corriente, La Difícil, La

  9 Noche de Anoche, La Romana, La Santa, La Zona, MÁS DE UNA CITA, Me Porto

 10 Bonito, Mia, Moscow Mule, Ojitos Lindos, PA' ROMPERLA, Party, Que Malo,

 11 Safaera, Si Estuviésemos Juntos, Soliá, Solo De Mi, Tarot, Tití Me Preguntó, Un

 12 Ratito, Una Vez, VETE, Yo Perreo Sola, and Yonaguni.

 13        330. Each of A Tu Merced, BAD CON NICKY, Bellacoso, Bichiyal, BYE ME
 14 FUI, Callaíta, CANCIÓN CON YANDEL, CÓMO SE SIENTE (Remix), Cuando

 15 Perriabas, Efecto, Ignorantes, LA CANCIÓN, La Corriente, La Difícil, La Noche de

 16 Anoche, La Romana, La Santa, La Zona, MÁS DE UNA CITA, Me Porto Bonito, Mia,

 17 Moscow Mule, Ojitos Lindos, PA' ROMPERLA, Party, Que Malo, Safaera, Si

 18 Estuviésemos Juntos, Soliá, Solo De Mi, Tarot, Tití Me Preguntó, Un Ratito, Una

 19 Vez, VETE, Yo Perreo Sola, and Yonaguni (collectively, the “Bad Bunny Works”)
 20 were separately released at different times subsequent to the 1989 release of Fish

 21 Market.

 22        331. Specifically, A Tu Merced copies elements of the Fish Market drum and
 23 bass patterns throughout most of the work. The drum tracks in A Tu Merced feature

 24 the same kick drum and hi-hat patterns to those in Fish Market with each playing

 25 four crotchets per bar beginning on the first beat of each bar. The snare drum pattern

 26 in A Tu Merced copies elements of the snare drum pattern played in Fish Market, but
 27 leaves out certain elements that it instead copies using maracas rather than a snare

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  1 drum. This fills in the beats that are missing from the A Tu Merced snare drum

  2 pattern, resulting in the same pattern as Fish Market. Further, the bass line played in

  3 A Tu Merced, is a minimalistic pattern as performed in Fish Market and gives

  4 emphasis on beats one and three while utilizing the same smooth sub frequency

  5 timbre.

  6        332. Specifically, Callaita copies elements of the Fish Market drum and bass
  7 patterns through most of the work beginning at 0:35 seconds into Callaita. The drum

  8 tracks in Callaita feature the same kick drum patterns to those in Fish Market with

  9 each play four crotchets per bar beginning on the first beat of each bar. The four

 10 crotchets per bar played on the hi-hat in Fish Market is substituted by a vocal sample

 11 applied on the Fish Market hi-hat beats being four crotchets per bar beginning on the

 12 first beat of each bar. This is heard at various locations throughout the work and on

 13 all the choruses in Callaita beginning at 0:35-0:56. The snare drum in Callaita copies

 14 elements of the snare drum pattern played in Fish Market. The bass line played on

 15 Callaita, is a minimalistic pattern as performed in Fish Market and gives emphasis on

 16 beats one and three while utilizing the same smooth sub frequency timbre.

 17        333. Specifically, Cuando Perriabas copies elements of the Fish Market
 18 drum and bass patterns throughout most of the work. Further, a truncated audio

 19 sample taken from Pounder can be heard at 1:34 and opens up to the full sample at
 20 1:39-1:45 and again at 2:44 through the end of the work. The sample has been temp

 21 manipulated, being slowed down from approximately 100 BPM in Pounder/Fish

 22 Market to approximately 82 BPM in Cuando Perriabas. The sample remains clearly

 23 identifiable. Further, the bass line played in Cuando Perriabas, is a minimalistic

 24 pattern as performed in Fish Market and gives emphasis on beats one and three while

 25 utilizing the same smooth sub frequency timbre.

 26        334. Specifically, La Dificil copies the Fish Market drum and bass patterns
 27 throughout most of the work and can be heard beginning at approximately 0:45-0:55,

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  1 again at 1:07-2:00 and interspersed throughout the rest of the work. There are edits,

  2 breaks and slight rhythmic deviations in between both locations. However, the

  3 fundamental pattern in Fish Market is maintained throughout. The drum sounds may

  4 have been taken from samples derived from the Pounder recording. The drum tracks

  5 in La Dificil feature similar kick drum and hi-hat patterns to those in Fish Market

  6 with each playing four crotchets per bar beginning on the first beat of each bar. The

  7 snare drum pattern in La Dificil copies the snare drum pattern played in Fish Market.

  8 The synth tom in La Dificil plays the same pattern on beats 1 and 3 as in Fish Market.

  9 Further, the bass line played in La Dificil, is a minimalistic pattern as performed in

 10 Fish Market and gives emphasis on beats one and three while utilizing the same

 11 smooth sub frequency timbre.

 12        335. Specifically, La Corriente copies elements of the Fish Market drum and
 13 bass patterns throughout most of the work and includes an audio sample taken from

 14 Pounder at approzimately 1:18-1:23. Both tempos are the same with a miniscule

 15 difference between both works. La Corriente is approximately 98 BPM as opposed to

 16 Fish market at approximately 100 BPM. This 2 BMP difference does not impact or

 17 change the rhythmic similarities. The drum tracks in La Corriente feature the same

 18 kick drum and hi-hat patterns to those in Fish Market with each playing four

 19 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in A
 20 Tu Merced copies the snare drum pattern played in Fish Market. This pattern is more

 21 complete and evident at the point of introduction of the Pounder sample at 1:18-1:23.

 22 This sample infringes the master recording from which the sample was derived as

 23 well as the Fish Market composition; which includes the timbales, synth tom, kick,

 24 snare, hi-hat and bass patterns also embedded within the sample. Further, the bass

 25 line played in A Tu Merced, is a minimalistic pattern as performed in Fish Market

 26 and gives emphasis on beats one and three while utilizing the same smooth sub
 27 frequency timbre.

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  1        336. Specifically, Efecto copies the Fish Market drum and bass patterns
  2 throughout most of the work. The copied pattern can be heard at approximately 0:19-

  3 0:37, 0:39-1:26 and intermittently throughout the rest of the song. Both tempos are

  4 the same with a miniscule difference between both works. Efecto is approximately 98

  5 BPM as opposed to Fish Market at approximately 100 BPM. This 2 BMP difference

  6 does not impact or change the rhythmic similarities. The drum tracks in Efecto

  7 feature the same kick drum and hi-hat patterns to those in Fish Market with each

  8 playing four crotchets per bar beginning on the first beat of each bar. The combined

  9 snare drum patterns copy the snare drum pattern played in Fish Market, featuring a

 10 third 16th note in each bar as played in the Fish Market snare pattern. This is more

 11 clearly defined at 2:17-2:22, where the additional snare beat can be heard, thus

 12 completing the Fish Market snare drum pattern. (See red arrows pointers on notation

 13 indicating location of additional snare beat). Further, the bass line played in Efecto, is

 14 a minimalistic pattern as performed in Fish Market and gives emphasis on beats one

 15 and three while utilizing the same smooth sub frequency timbre.

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            337. Specifically, La Zona copies the Fish Market drum and bass patterns
 14
      throughout most of the work. Elements of Fish Market can be heard at approximately
 15
      1:13 in La Zona, which introduces the timbale roll from Fish Market at the end of bar
 16
      2 of the pattern. The Fish Market pattern is interspersed throughout the rest of the
 17
      work manipulated in the mix with audio filters, breaks, and edits. However, the
 18
      fundamental pattern in Fish Market is maintained throughout. The drum sounds are
 19
      the same to those contained in Pounder and may have been sampled from that
 20
      recording or derived from manipulation of audio from the same Pounder recording.
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      The drum tracks in La Zona feature the same kick drum and hi-hat patterns to those
 22
      in Fish Market with each playing four crotchets per bar beginning on the first beat of
 23
      each bar. The snare drum pattern in La Zona copies the snare drum pattern played in
 24
      Fish Market. The synth tom in La Zona also plays the same pattern on beats 1 and 3
 25
      as in Fish Market. Further, the bass line played in La Zona, is a minimalistic pattern
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  1 as performed in Fish Market and gives emphasis on beats one and three while

  2 utilizing the same smooth sub frequency timbre.

  3        338. Specifically, Me Porto Bonito copies the Fish Market drum and bass
  4 patterns throughout most of the work. The copied pattern can be heard more clearly

  5 starting at approximately 2:59-3:04 where there is no disruptive vocal overlay.

  6 However, the pattern can also be heard at 0:32-0:41, 0:43-1:53 leading to an audio

  7 sample at 1:54 which is taken from either the Fish Market or Pounder introduction

  8 drum roll. The drum tracks in Me Porto Bonito feature the same kick drum and hi-hat

  9 patterns to those in Fish Market with each playing four crotchets per bar beginning

 10 on the first beat of each bar. The combined snare drum and cabasa patterns found in

 11 Me Porto Bonito copy the snare drum pattern played in Fish Market, with the cabasa

 12 replacing the third 16th note of each bar as played in the Fish Market snare pattern.

 13 (See red arrows in the notation below). Further, the bass line played in Me Porto

 14 Bonito, is a minimalistic pattern as is the bass line in Fish Market and utilizes the

 15 same smooth sub frequency timbre.

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            339. Specifically, Moscow Mule copies the Fish Market drum and bass
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      patterns throughout most of the work while maintaining the same tempo at
 16
      approximately 100 BPM. The copied pattern can be heard more distinctly starting at
 17
      approximately 0:53-0:57 and is the predominant pattern played throughout the work.
 18
      The drum tracks in Moscow Mule feature the same kick drum and hi-hat patterns to
 19
      those in Fish Market with each playing four crotchets per bar beginning on the first
 20
      beat of each bar. The combined snare drum pattern in Moscow Mule copies the snare
 21
      drum pattern in Fish Market. The synth tom in Moscow Mule is played on beats one
 22
      and three as in Fish Market. Further, the bass line found in Moscow Mule, copies the
 23
      minimalist pattern of the bass in Fish Market being on beats one and three. The track
 24
      also copies the timbre of sounds played in Fish Market and Pounder.
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  1        340. Specifically, Party copies the Fish Market drum and bass patterns
  2 throughout most of the work. The copied pattern can be heard more distinctly starting

  3 at approximately 0:29-0:48, 1:19-1:25 and is the predominant pattern played

  4 throughout the work. The drum tracks in Party feature the same kick drum and hi-hat

  5 patterns to those in Fish Market with each playing four crotchets per bar beginning

  6 on the first beat of each bar. The combined snare drum pattern in Party copies the

  7 snare drum pattern in Fish Market. The synth tom in Party is played on beats one and

  8 three as in Fish Market. A sample if Pounder also appears in Party beginning at 0:29

  9 and at various other locations throughout the work. Further, the bass line played in

 10 Party, copies the minimalistic pattern of the bass in Fish Market.

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            341. Specifically, Ojitos Lindos copies the Fish Market drum and bass

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      patterns throughout most of the work. The copied pattern can be heard more

 16
      distinctly starting at approximately 0:36-0:59, 1:12-1:35 and is the predominant

 17
      pattern played throughout the work. The drum tracks in Ojitos Lindos feature the

 18
      same kick drum and hi-hat patterns to those in Fish Market with each playing four

 19
      crotchets per bar beginning on the first beat of each bar. The combined snare drum

 20
      pattern in Ojitos Lindos copies the snare drum pattern in Fish Market. Additional

 21
      percussive loop elements added halfway through the choruses at approximately 0:48-

 22
      0:59, combine with the existing patterns to create the tambourine pattern contained in

 23
      Fish Market. The synth tom in Ojitos Lindos is played on beats one and three as in

 24
      Fish Market. Further, the bass line played in Ojitos Lindos, copies the minimalistic

 25
      pattern of the bass in Fish Market on beats one and three. The track also copies the

 26
      timbre of the bass as played in Fish Market and Pounder.

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  1        342. Specifically, Si Estuviesemos Juntos copies elements of the Fish Market
  2 drum and bass patterns throughout most of the work. The Fish Market pattern is

  3 interspersed throughout the work manipulated in the mix with audio filters, breaks,

  4 and edits. However, the fundamental pattern in Fish Market is maintained

  5 throughout. The drum tracks in Si Estuviesemos Juntos feature the same kick drum

  6 and hi-hat patterns to those in Fish Market with each playing four crotchets per bar

  7 beginning on the first beat of each bar. The snare drum pattern copies the pattern

  8 played in Fish Market, which in combination with the hi-hat and the high-pitched

  9 percussion element played in Si Estuviesemos Juntos, replicates the tambourine

 10 pattern in Fish Market. Despite the tambourine pattern’s beats distribution being

 11 placed among different percussive elements in Si Estuviesemos Juntos, the combined

 12 rhythmic outcome is the same as the tambourine pattern in Fish Market. Si

 13 Estuviesemos Juntos includes a timbale roll contained in the pattern loop which is the

 14 same to the roll in Fish Market. The synth tom in Si Estuviesemos Juntos is played on

 15 beats one and three as in Fish Market. Further, the bass line played in Si

 16 Estuviesemos Juntos, is a minimalistic pattern as found in Fish Market having

 17 emphasis placed on beats one and three while utilizing the same smooth sub

 18 frequency timbre.

 19        343. Specifically, Solo De Mi copies elements of the Fish Market drum and
 20 bass patterns throughout most of the work. The Fish Market pattern is interspersed

 21 through the work manipulated in the mix with breaks and edits. This track features

 22 less instruments when compared to Fish Market. However, the fundamental pattern

 23 in Fish Market is predominant throughout the work. The drum tracks in Solo De Mi

 24 feature the same kick drum and hi-hat patterns to those in Fish Market with each

 25 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

 26 pattern in Solo De Mi copies the snare drum pattern in Fish Market. Further, the bass
 27 line played in Solo De Mi is a minimalistic pattern as performed in Fish Market

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  1 having emphasis placed on beats 1 and 3 while utilizing the same smooth sub

  2 frequency timbre.

  3        344. Specifically, Un Ratito copies the Fish Market drum and bass patterns
  4 throughout most of the work with the exclusion of the timbales and tambourine. This

  5 can be heard more distinctly at approximately 1:13-1:18, 1:34-1:43 and 1:54-2:02.

  6 The drum tracks in Un Ratito feature the same kick drum and hi-hat patterns to those

  7 in Fish Market with each playing four crotchets per bar beginning on the first beat of

  8 each bar. The combined snare drum pattern in Un Ratito copies the snare drum

  9 pattern in Fish Market. The synth tom in Un Ratito is played on beats one and three

 10 as in Fish Market. Further, the bass line played in Un Ratito, copies the minimalistic

 11 pattern of the bass in Fish Market on beats one and three. The track also copies the

 12 timbre of the bass as played in Fish Market and Pounder.

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 14        345. Specifically, Yo Perreo Sola copies elements of the Fish Market drum
 15 and bass patterns throughout most of the work. The Fish Market pattern is

 16 interspersed throughout the work manipulated in the mix with breaks and edits.

 17 However, the fundamental pattern in Fish Market is predominant throughout the

 18 work. The drum tracks in Yo Perreo Sola feature the same kick drum and hi-hat

 19 patterns to those in Fish Market with each playing four crotchets per bar beginning
 20 on the first beat of each bar. The snare drum pattern in Yo Perreo Sola copies the

 21 snare drum pattern in Fish Market. The synth tom in Yo Perreo Sola is played on

 22 beats one and three as in Fish Market. Further, the bass line played in Yo Perreo Sola

 23 is a minimalistic pattern as performed in Fish Market. However, beats 2 and 4 are

 24 added to the 1 and 2 pattern in Fish Market. The same sub frequency timbre is used

 25 on the bass as with Fish Market.

 26        346. Specifically, Yonaguni copies elements of the Fish Market drum and
 27 bass patterns throughout most of the work. The Fish Market pattern is interspersed

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  1 throughout the work manipulated in the mix with breaks and edits. However, the

  2 fundamental pattern in Fish Market is predominant throughout the work. The drum

  3 tracks in Yonaguni features the same kick drum and hi-hat patterns to those in Fish

  4 Market with each playing four crotchets per bar beginning on the first beat of each

  5 bar. The snare drum pattern in Yonaguni copies the snare drum pattern in Fish

  6 Market. However, the pattern is augmented with a kick drum playing the same snare

  7 pattern. Further, the bass line played in Yonaguni is a minimalistic pattern. Half of

  8 the work features the same bass pattern to Fish Market with emphasis placed on beats

  9 1 and 3. The other bass pattern puts emphasis on a combination of the snare and kick

 10 patterns. The same sub frequency timbre is used on the bass as with Fish Market

 11        347. Specifically, La Romana copies elements of the Fish Market drum and
 12 bass patterns throughout most of the work. The Fish Market pattern is interspersed

 13 throughout the work manipulated in the mix with breaks and edits. However, the

 14 fundamental pattern in Fish Market is predominant throughout the work. The drum

 15 tracks in La Romana feature the same kick drum patterns to that in Fish Market

 16 playing four crotchets per bar beginning on the first beat of each bar. There is no hi-

 17 hat played in this work, however, the hi-hat pattern in Fish Market is played on the

 18 kick drum in this work being four crotchets per bar beginning on the first beat of each

 19 bar. The snare drum pattern in La Romana copies the snare drum pattern in Fish
 20 Market. Further, the bass line played in La Romana is a minimalistic pattern with

 21 emphasis on beats 1 and 3. The same sub frequency timbre is used on the bass as with

 22 Fish Market.

 23        348. Specifically, La Santa copies elements of the Fish Market drum and bass
 24 patterns throughout most of the work. The Fish Market pattern is interspersed

 25 throughout the work manipulated in the mix with breaks and edits. However, the

 26 fundamental pattern in Fish Market is predominant throughout the work. The drum
 27 tracks in La Santa feature the same kick drum and hi-hat patterns to those in Fish

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  1 Market with each playing four crotchets per bar beginning on the first beat of each

  2 bar. The snare drum pattern in La Santa copies the snare drum pattern in Fish

  3 Market.

  4        349. Specifically, PA’ ROMPERLA copies elements of the Fish Market drum
  5 and bass patterns throughout most of the work. The Fish Market pattern is

  6 interspersed throughout the work manipulated in the mix with audio filters, breaks,

  7 and edits. However, the fundamental pattern in Fish Market is maintained

  8 throughout. The track incorporates a variety of drum loops developed from Fish

  9 Market and Pounder. The drum tracks in PA’ ROMPERLA feature the same kick

 10 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per

 11 bar beginning on the first beat of each bar. The snare drum pattern in PA’

 12 ROMPERLA copies the pattern played in Fish Market. The synth tom in PA’

 13 ROMPERLA is played on beats one and three as in Fish Market. Further, the bass line

 14 played in PA’ ROMPERLA, is a minimalistic pattern as found in Fish Market. The

 15 key is transposed 3 steps down, from B flat to G, but maintains the same single note

 16 pattern placed on beats 1 and 3 of each bar as in Fish Market. PA’ ROMPERLA has

 17 the same sub frequency timbre as used for the bass as in Fish Market.

 18        350. Specifically, CÓMO SE SIENTE (Remix) copies elements of the Fish
 19 Market drum and bass patterns throughout most of the work manipulated in the mix
 20 with occasional beat pauses and frequency filtering. However, the fundamental

 21 pattern in Fish Market is maintained throughout. The track incorporates a variety of

 22 drum loops developed from Fish Market and Pounder. The drum tracks in CÓMO SE

 23 SIENTE (Remix) feature the same kick drum and hi-hat patterns to those in Fish

 24 Market with each playing four crotchets per bar beginning on the first beat of each

 25 bar. The snare drum pattern in CÓMO SE SIENTE (Remix) copies the pattern played

 26 in Fish Market. Further, the bass line played in CÓMO SE SIENTE (Remix) is a
 27 minimalistic pattern as found in Fish Market. The bass pattern maintains the same

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  1 rhythmic pattern with emphasis placed on beats 1 and 3 of each bar. CÓMO SE

  2 SIENTE (Remix) has the same sub frequency timbre as used for the bass as in Fish

  3 Market.

  4        351. Specifically, Safaera copies elements of the Fish Market drum and bass
  5 patterns throughout most of the work. Safaera is sample driven containing audio

  6 excerpts from Pounder and a variety of other well-known works. However, the

  7 fundamental pattern in Fish Market is maintained and is predominant throughout the

  8 work. At about 0:58 in the work, all elements of Fish Market are introduced. Samples

  9 from Pounder can be heard at 1:19-1:28, 3:26-3:30, 3:51-3:56 and 4:13-4:35.

 10        352. Specifically, Una Vez copies elements of the Fish Market drum and bass
 11 patterns interspersed throughout the work. The fundamental pattern in Fish Market is

 12 maintained throughout. The drum tracks in Una Vez feature the same kick drum and

 13 hi-hat patterns to those in Fish Market with each playing four crotchets per bar

 14 beginning on the first beat of each bar. The snare drum pattern in Una Vez copies the

 15 pattern played in Fish Market. The synth tom in Una Vez copies the sound and

 16 pattern of the synth tom in Pounder and Fish Market played on beats 1 and 3 of every

 17 bar. Further, the bass line played in Una Vez is a minimalistic pattern. However,

 18 emphasis is placed on all four beats of the bars adding to the beats 1 and 3 as in Fish

 19 Market. The bass in Una Vez maintains the tonal texture of Fish Market with smooth
 20 deep bass timbre.

 21        353. Specifically, BAD CON NICKY is a sample driven track incorporating
 22 the Pounder sample at 1:53-2:06 and again at 2:25-3:02. The rest of the track copies

 23 elements of the Fish Market drum and bass patterns throughout the work. The use of

 24 the Pounder sample in BAD CON NICKY encapsulates all the drum and bass

 25 elements contained in Fish Market. The bass line in BAD CON NICKY is a

 26 minimalistic pattern with emphasis placed on beats 1 and 3 of each bar as in Fish
 27 Market. The Fish Market key of B flat is maintained in BAD CON NICKY. The bass

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  1 in BAD CON NICKY maintains the tonal texture of Fish Market with a smooth deep

  2 bass timbre.

  3        354. Specifically, Que Malo copies elements of the Fish Market drum and
  4 bass patterns throughout the work. The track is manipulated by edits to include

  5 breaks, frequency filtering, and loop/sound changes. Nevertheless, the fundamental

  6 pattern in Fish Market is maintained throughout. The drum tracks in Que Malo

  7 feature the same kick drum and hi-hat patterns to those in Fish Market with each

  8 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

  9 pattern in Que Malo copies the pattern played in Fish Market. The synth tom in Que

 10 Malo copies the sound and pattern of the synth tom in Pounder and Fish Market

 11 played on beats 1 and 3 of every bar. Further, the bass line played in Que Malo is a

 12 minimalistic pattern with emphasis placed on beats 1 and 3 as in Fish Market. The

 13 bass in Una Vez maintains the tonal texture of Fish Market with smooth deep bass

 14 timbre.

 15        355. Specifically, La Noche De Anoche copies elements of the Fish Market
 16 drum and bass patterns throughout the work. The drum tracks in La Noche De

 17 Anoche feature the same kick drum and hi-hat patterns to those in Fish Market with

 18 each playing four crotchets per bar beginning on the first beat of each bar. The snare

 19 drum pattern in La Noche De Anoche copies the pattern played in Fish Market.
 20 However, the second 8th beat played on the snare drum in Fish Market is substituted

 21 in La Noche De Anoche with a maracas or other similar high pitched percussion

 22 sound. Further, the bass line played in La Noche De Anoche is a minimalistic pattern

 23 with emphasis is placed on beats 1 and 3 as in Fish Market. The same sub frequency

 24 timbre is used on the bass as with Fish Market.

 25        356. Specifically, Ignorantes copies elements of the Fish Market drum and
 26 bass patterns throughout the work. The drum tracks in Ignorantes feature the same
 27 kick drum and hi-hat patterns to those in Fish Market with each playing four

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  1 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

  2 Fish Market appears in Ignorante but appears as rim shots instead of a snare drum.

  3 copies the pattern played in Fish Market. Further, the bass line played in Ignorantes

  4 follows the patterns of the snare in Fish Market. The same sub frequency timbre is

  5 used on the bass as with Fish Market.

  6        357. Specifically, Bichiyal copies elements of the Fish Market drum and bass
  7 patterns throughout the work. Bichiyal is in the same key as Fish Market. The drum

  8 tracks in Bichiyal feature the same kick drum and hi-hat patterns to those in Fish

  9 Market with each playing four crotchets per bar beginning on the first beat of each

 10 bar. The snare drum pattern in Bichiyal copies the pattern played in Fish Market.

 11 Further, the bass line played in Bichiyal focuses on the song’s key root of B flat while

 12 placing rhythmic emphasis on beats 1 and 3 of each bar. This pattern copies the bass

 13 on Fish Market. The bass maintains the same sub frequency timbre as in Fish Market.

 14        358. Specifically, CANCION CON YANDEL copies elements of the Fish
 15 Market drum and bass patterns throughout the work. The drum tracks in CANCION

 16 CON YANDEL feature the same kick drum and hi-hat patterns to those in Fish

 17 Market with each playing four crotchets per bar beginning on the first beat of each

 18 bar. The snare drum pattern in CANCION CON YANDEL copies the pattern played in

 19 Fish Market with the hi-hat replacing the second 8th beat played in Fish Market’s
 20 snare pattern. Further, the bass line played in CANCION CON YANDEL plays a

 21 semibreve on each bar while maintaining the same sub frequency timbre as in Fish

 22 Market.

 23        359. Specifically, MAS DE UNA CITA copies elements of the Fish Market
 24 drum and bass patterns throughout the work. The drum tracks in MAS DE UNA CITA

 25 feature the same kick drum and hi-hat patterns to those in Fish Market with each

 26 playing four crotchets per bar beginning on the first beat of each bar. The snare drum
 27 pattern in MAS DE UNA CITA copies the pattern played in Fish Market. The synth

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  1 tom in MAS DE UNA CITA copies the pattern of the synth tom in Pounder and Fish

  2 Market played on beats 1 and 3 of every bar. Further, the bass line played in MAS DE

  3 UNA CITA places rhythmic emphasis on beats 1 and 3 of each bar as in Fish Market.

  4 The bass line also maintains a sub frequency timbre in the same way it appears in

  5 Fish Market.

  6        360. Specifically, LA CANCION copies elements of the Fish Market drum
  7 and bass patterns throughout the work. The drum tracks in LA CANCION feature the

  8 same kick drum pattern to those in Fish Market with each playing four crotchets per

  9 bar beginning on the first beat of each bar. The snare drum pattern in LA CANCION

 10 copies the pattern played in Fish Market. The hi-hat in LA CANCION emulates

 11 aspects of the tambourine pattern played in Fish Market. Further, the bass line played

 12 in LA CANCION maintains a sub frequency timbre in the same way it appears in Fish

 13 Market.

 14        361. Specifically, Bellacoso is a heavily sample driven track featuring a
 15 variety of loops taken from several other works containing elements of the Fish

 16 Market drum patterns. The track is sonically saturated to a point of audible distortion

 17 and is interspersed with rhythmic pauses, truncated loops and tempo manipulations.

 18 Nonetheless, the fundamental pattern in Fish Market is maintained and remains

 19 predominant throughout the work. A sampled segment from Pounder is heard at 2:40
 20 and is thus inclusive of all the attributes and patterns contained with the sampled

 21 segment of Pounder and by extension the patterns contained with the Fish Market

 22 recording.

 23        362. Specifically, Mia copies elements of the Fish Market drum and bass
 24 patterns throughout the work. The Fish Market pattern is interspersed throughout the

 25 work manipulated in the mix with breaks, edits, drum sounds or stems/loops.

 26 However, the fundamental Fish Market pattern is maintained and is predominant
 27 throughout the work. The drum tracks in Mia feature the same kick drum and hi-hat

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  1 patterns to those in Fish Market with each playing four crotchets per bar beginning

  2 on the first beat of each bar. The snare drum pattern in Mia copies the pattern played

  3 in Fish Market and is also used as a substitute for the timbale rolls heard at the end of

  4 every second bar in Fish Market. This can be heard as 2:18-2:23 and at other

  5 locations throughout the work. The synth tom in Mia copies the pattern of the synth

  6 tom in Pounder and Fish Market played on beats 1 and 3 of every bar. Further, the

  7 bass line played in Mia is a minimalistic pattern as performed in Fish Market. It

  8 maintains a similar pattern with emphasis placed on beats 1 and 3 of each bar. A

  9 similar sub frequency timbre is used for the bass in the same manner as in Fish

 10 Market.

 11        363. Specifically, Bye Me Fui copies elements of the Fish Market drum
 12 pattern beginning at approximately 0:10-0:33 with the kick drum pattern interspersed

 13 throughout the work. However, the fundamental Fish Market pattern is maintained

 14 and is predominant throughout Bye Me Fui. The drum tracks in Bye Me Fui feature

 15 the same kick drum and hi-hat patterns to those in Fish Market with each playing

 16 four crotchets per bar beginning on the first beat of each bar. The snare drum pattern

 17 played in Fish Market is reproduced in Bye Me Fui with a rimshot that plays the same

 18 fundamental snare drum pattern played in Fish Market. However, the third and

 19 eleventh sixteenth note beat played on the snare in Fish Market is played with a
 20 substitute percussion sound. Nonetheless, the combined rimshot and snare substitute

 21 patterns together reproduce the snare pattern synonymous with Fish Market. The bass

 22 line played in Bye Me Fui is a minimalistic pattern as performed in Fish Market.

 23 However, beats 2 and 4 are added to the 1 and 3 pattern in Fish Market.

 24        364. Specifically, Soliá copies elements of the Fish Market drum pattern
 25 beginning at approximately 0:31 and is introduced at various other intervals

 26 throughout the work. The fundamental pattern in Fish Market is maintained and
 27 remains predominant throughout the work. The drum tracks in Soliá feature the same

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  1 kick drum and hi-hat patterns to those in Fish Market with each playing four

  2 crotchets per bar beginning on the first beat of each bar. The snare drum equivalent in

  3 Soliá copies the fundamental snare drum pattern played in Fish Market. The second

  4 bass in Soliá that is introduced at approximately 0:31 copies the rhythmic accent of

  5 the bass in Fish Market on beats 1 and 3 of each bar.

  6        365. Specifically, Tarot copies elements of the Fish Market drum pattern
  7 beginning at approximately 0:35 and is introduced at various other intervals

  8 throughout the work. The fundamental pattern in Fish Market is maintained and

  9 remains predominant throughout the work. The drum tracks in Tarot feature the same

 10 kick drum and hi-hat patterns to those in Fish Market with each playing four

 11 crotchets per bar beginning on the first beat of each bar. The snare drum equivalent in

 12 Tarot copies the fundamental snare drum pattern played in Fish Market. The bass line

 13 played in Tarot is a minimalistic pattern as performed in Fish Market. However,

 14 beats 2 and 4 are added to the 1 and 3 pattern in Fish Market.

 15        366. Specifically, Tití Me Preguntó copies elements of the Fish Market drum
 16 pattern beginning at approximately 1:01 through approximately 2:45. The

 17 fundamental pattern in Fish Market is maintained and remains predominant

 18 throughout the work. The drum tracks in Tití Me Preguntó feature the same kick

 19 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per
 20 bar beginning on the first beat of each bar. The snare drum in Tití Me Preguntó

 21 maintains the same pattern as Fish Market, however, the third and eleventh sixteenth

 22 note played on the snare in Fish Market is substituted by a cabassa or similar

 23 sounding percussion instrument filling in the missing beats. A similar sub frequency

 24 timbre is used for the bass in the same manner as in Fish Market.

 25        367. Specifically, Vete copies elements of the Fish Market drum pattern
 26 beginning at approximately 0:34 and is introduced at various other intervals
 27 throughout the work. The fundamental pattern in Fish Market is maintained and

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  1 remains predominant throughout the work. The drum tracks in Vete feature the same

  2 kick drum and hi-hat patterns to those in Fish Market with each playing four

  3 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

  4 Vete copies the fundamental snare drum pattern played in Fish Market. The bass in

  5 Vete copies the rhythmic accent of the bass in Fish Market on beats 1 and 3 of each

  6 bar.

  7        368. Each of the Bad Bunny Works incorporates an unauthorized sample of
  8 the Fish Market recording and a verbatim copy of the Fish Market composition as the

  9 primary rhythm / drum section of each work.

 10        369. A comparison of Fish Market and each of the Bad Bunny Works
 11 establishes that each of the Bad Bunny Works incorporates both qualitatively and

 12 quantitatively significant sections of the Fish Market recording and composition. The

 13 various defendants responsible for each of the identified works and the manner of

 14 copying are described in the accompanying Exhibit A.

 15                                  Becky G Allegations
 16        370. As shown in the accompanying Exhibit A, Becky G and a plurality of
 17 the defendants, the corresponding defendants for each song named therein, have

 18 released the songs entitled 24/7, Bella Ciao, Cuando Te Besé, En Mi Contra, Guapa,

 19 La Respuesta, Mala Santa, Mamiii, Mayores, Me Acostumbré, Mejor Así, Ni De Ti Ni
 20 De Nadie, No Drama, No Te Pertenezco, Si Si, Sin Pijama, Sola, Subiendo, Te

 21 Superé, Todo Cambio, Vámonos, and Zooted.

 22        371. Each of 24/7, Bella Ciao, Cuando Te Besé, En Mi Contra, Guapa, La
 23 Respuesta, Mala Santa, Mamiii, Mayores, Me Acostumbré, Mejor Así, Ni De Ti Ni

 24 De Nadie, No Drama, No Te Pertenezco, Si Si, Sin Pijama, Sola, Subiendo, Te

 25 Superé, Todo Cambio, Vámonos, and Zooted (collectively, the “Becky G Works”)

 26 were separately released at different times subsequent to the 1989 release of Fish
 27 Market.

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  1        372. Specifically, Guapa features a truncated sample of Pounder capturing a
  2 two-beat segment of the pattern in the recording. This copying appears early in the

  3 work at approximately 0:11-0:21 and reintroduced at intervals throughout the work.

  4 The use of the stated sample in Guapa, by extension, serves to introduce a copying of

  5 the fundamental patterns contained in Fish Market. The drum tracks in Guapa feature

  6 the same kick drum and hi-hat patterns to those in Fish Market with each playing

  7 four crotchets per bar beginning on the first beat of each bar. The snare drum pattern

  8 in Guapa copies the pattern played in Fish Market. The synth tom in Guapa copies

  9 the pattern of the synth tom in Pounder and Fish Market played on beats 1 and 3 of

 10 every bar. Further, the bass line played in Guapa is a minimalistic pattern as

 11 performed in Fish Market. It maintains a similar pattern with emphasis placed on

 12 beats 1 and 3 of each bar. A similar sub frequency timbre is used for the bass in the

 13 same manner as in Fish Market.

 14        373. Specifically, Mayores incorporates a sample of Pounder capturing a
 15 two-beat segment of the pattern in the first bar of its 2 bar loop. A loop of the sample

 16 is introduced in the recording at approximately 0:40-1:00, 1:20-1:29, 1:49-1:59 and

 17 again at 2:29-3:08. The sample/pattern is re-introduced at intervals throughout the

 18 work; alternating between other drum loops and breaks. Nonetheless, the

 19 fundamental pattern in Fish Market is maintained and remains dominant throughout
 20 the work. The use of the Pounder sample in Mayores introduces a copying of the

 21 patterns contained in Fish Market. The drum tracks in Mayores feature the same kick

 22 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per

 23 bar beginning on the first beat of each bar. The snare drum pattern in Mayores copies

 24 the pattern played in Fish Market. The synth tom in Mayores copies the pattern of the

 25 synth tom in Pounder and Fish Market played on beats 1 and 3 of every bar and

 26 copies the synth tom sound found in Pounder. Further, the bass alternates between
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  1 the Fish Market bass pattern which anchors the root of the chords on beats 1 and 3

  2 appearing at 1:49-1:59 and more explorative basslines.

  3        374. Specifically, Me Acostumbre incorporates a sample of Pounder
  4 capturing a two-beat segment of the pattern in the first bar of its 2 bar loop. The

  5 sample is played at approximately 0:54-1:03, 1:15-1:25 and 1:36-2:117 in Me

  6 Acostumbre and is introduced at various intervals throughout the work alternating

  7 with other drum loops which copy elements of the Fish Market patterns. The use of

  8 the Pounder sample in Me Acostumbre serves to introduce a copying of the patterns

  9 contained in Fish Market. The drum tracks in Me Acostumbre feature the same kick

 10 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per

 11 bar beginning on the first beat of each bar. The snare drum pattern in Me Acostumbre

 12 copies the pattern played in Fish Market. The synth tom in Me Acostumbre copies the

 13 pattern of the synth tom in Pounder and Fish Market played on beats 1 and 3 of every

 14 bar and copies the synth tom sound found in Pounder. Me Acostumbre also copies a

 15 segment of the timbales pattern in Fish Market and Pounder. This is placed low in

 16 the mix, so it is difficult to determine if the timbales sound is a sample from Pounder

 17 or Fish Market or not. Further, the bass alternates between the Fish Market bass

 18 pattern which anchors the root of the chords on beats 1 and 3 and a more explorative

 19 bassline. The timbre of the bass in Me Acostumbre is the same sub frequency sound
 20 spectrum range as in Fish Market.

 21        375. Specifically, Mamiii incorporates a sample of Pounder capturing a two-
 22 beat segment of the pattern in the first bar of its 2 bar loop. The sample is played at

 23 approximately 1:08-1:17 in Mamiii and is introduced at various intervals throughout

 24 the work. The use of the Pounder sample in Mamiii serves to introduce a copying of

 25 the patterns contained in Fish Market. The drum tracks in Mamiii feature the same

 26 kick drum and hi-hat patterns to those in Fish Market with each playing four
 27 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

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  1 Mamiii copies the pattern played in Fish Market. The synth tom in Mamiii copies the

  2 pattern of the synth tom in Pounder and Fish Market played on beats 1 and 3 of every

  3 bar. Mamiii also copies a segment of the timbales pattern in Fish Market and

  4 Pounder. Further, the timbre of the bass in Mamiii is the same sub frequency sound

  5 spectrum range as in Fish Market.

  6        376. Specifically, La Respuesta incorporates a sample of Pounder capturing a
  7 two-beat segment of the pattern in the first bar of its 2 bar loop. A loop of the sample

  8 is introduced early in La Respuesta at approximately 0:13-0:32, and is re-introduced

  9 at intervals throughout the work alternating with other drum loops and breaks.

 10 Nevertheless, the fundamental pattern in Fish Market is maintained and remains

 11 dominant throughout the work. The use of the Pounder sample in La Respuesta

 12 serves to introduce a copying of the patterns contained in Fish Market. The drum

 13 tracks in La Respuesta feature the same kick drum and hi-hat patterns as those in Fish

 14 Market with each playing four crotchets per bar beginning on the first beat of each

 15 bar. The snare drum pattern in La Respuesta copies the pattern played in Fish Market.

 16 The synth tom in La Respuesta copies the pattern of the synth tom in Pounder and

 17 Fish Market played on beats 1 and 3 of every bar and copies the synth tom sound

 18 found in Pounder. Further, the bass alternates between the Fish Market bass pattern

 19 which anchors the root of the chords on beats 1 and 3 found at approximately 1:41-
 20 2:02 and a more explorative bassline. The timbre of the bass in Me Acostumbre is the

 21 same sub frequency sound spectrum range as in Fish Market.

 22        377. Specifically, Sin Pijama incorporates a sample of Pounder capturing a
 23 segment of the pattern in the recording. The sample begins at approximately 0:58 in

 24 Sin Pijama and is reintroduced at intervals throughout the work alternating with a

 25 drum loop. The use of the Pounder sample in Sin Pijama serves to introduce a

 26 copying of the patterns contained in Fish Market. The drum tracks in Me Acostumbre
 27 feature the same kick drum and hi-hat patterns to those in Fish Market with each

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  1 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

  2 pattern in Me Acostumbre copies the pattern played in Fish Market. The synth tom in

  3 Me Acostumbre copies the pattern of the synth tom in Pounder and Fish Market

  4 played on beats 1 and 3 of every bar. Sin Pijama also copies a segment of the

  5 timbales pattern and sounds synonymous with the timbales in Fish Market and

  6 Pounder. This is placed low in the mix, so it is difficult to determine if the timbales

  7 sound is a sample from Pounder or Fish Market or not. Further, the bass alternates

  8 between the Fish Market bass pattern which anchors the root of the chords on beats 1

  9 and 3 and a more explorative bassline. The timbre of the bass in Me Acostumbre is

 10 the same sub frequency sound spectrum range as in Fish Market.

 11        378. Specifically, No Drama incorporates a sample of Pounder capturing a
 12 two-beat segment of the pattern in the recording. The sample is played at

 13 approximately 0:41-1:05 in No Drama and is introduced at various intervals

 14 throughout the work alternating with other drum loops which copy elements of the

 15 Fish Market patterns. The use of the Pounder sample in No Drama serves to

 16 introduce a copying of the patterns contained in Fish Market. The drum tracks in No

 17 Drama feature the same kick drum and hi-hat patterns to those in Fish Market with

 18 each playing four crotchets per bar beginning on the first beat of each bar. The snare

 19 drum pattern in No Drama copies the pattern played in Fish Market. The synth tom in
 20 No Drama copies the pattern of the synth tom in Pounder and Fish Market played on

 21 beats 1 and 3 of every bar. Further, the timbre of the bass in Me Acostumbre is the

 22 same sub frequency sound spectrum range as in Fish Market.

 23        379. Each of the Becky G Works incorporates an unauthorized sample of the
 24 Fish Market recording and a verbatim copy of the Fish Market composition as the

 25 primary rhythm / drum section of each work.

 26        380. A comparison of Fish Market and each of the Becky G Works
 27 establishes that each of the Becky G Works incorporates both qualitatively and

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  1 quantitatively significant sections of the Fish Market recording and composition. The

  2 various defendants responsible for each of the identified works and the manner of

  3 copying are described in the accompanying Exhibit A.

  4                             Cali Y El Dandee Allegations
  5        381. As shown in the accompanying Exhibit A, Cali Y El Dandee and a
  6 plurality of the defendants, the corresponding defendants for each song named

  7 therein, have released the songs entitled Ay Corazón, Besos Tristes, Borracho De

  8 Amor, BYL (Borracha Y Loca), Chino, Coldplay, Colegio, Contigo, Despiértate, Gol,

  9 Juega, Locura, Lumbra, Malibu, Momentos Para Recordar, Nada, No hay 2 sin 3, No

 10 me mires Asi, Perdóname, Por Ella, Por Fin Te Encontré, Sirena, Te toco perder,

 11 Tequila Sunrise, Tu Nombre, Un Tiempo, Ven a mi, VIVO AHORA, Voy Por Ti, and

 12 Yo No Te Olvido.

 13        382. Each of Ay Corazón, Besos Tristes, Borracho De Amor, BYL (Borracha
 14 Y Loca), Chino, Coldplay, Colegio, Contigo, Despiértate, Gol, Juega, Locura,

 15 Lumbra, Malibu, Momentos Para Recordar, Nada, No hay 2 sin 3, No me mires Asi,

 16 Perdóname, Por Ella, Por Fin Te Encontré, Sirena, Te toco perder, Tequila Sunrise,

 17 Tu Nombre, Un Tiempo, Ven a mi, VIVO AHORA, Voy Por Ti, and Yo No Te Olvido

 18 (collectively, the “Cali Y El Dandee Works”) were separately released at different

 19 times subsequent to the 1989 release of Fish Market.
 20        383. Each of the Cali Y El Dandee Works incorporates an unauthorized
 21 sample of the Fish Market recording and a verbatim copy of the Fish Market

 22 composition as the primary rhythm / drum section of each work.

 23        384. A comparison of Fish Market and each of the Cali Y El Dandee Works
 24 establishes that each of the Cali Y El Dandee Works incorporates both qualitatively

 25 and quantitatively significant sections of the Fish Market recording and composition.

 26 The various defendants responsible for each of the identified works and the manner
 27 of copying are described in the accompanying Exhibit A.

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  1                                  Camilo Allegations
  2        385. As shown in the accompanying Exhibit A, Camilo and a plurality of the
  3 defendants, the corresponding defendants for each song named therein, have released

  4 the songs entitled El Mismo Aire, Favorito, Machu Picchu, Mareado, Millones, No

  5 Te Vayas, Por Primera Vez, Rolex, Ropa Cara, Si Estoy Contigo, and Tutu.

  6        386. Each of El Mismo Aire, Favorito, Machu Picchu, Mareado, Millones,
  7 No Te Vayas, Por Primera Vez, Rolex, Ropa Cara, Si Estoy Contigo, and Tutu

  8 (collectively, the “Camilo Works”) were separately released at different times

  9 subsequent to the 1989 release of Fish Market.

 10        387. Each of the Camilo Works incorporates an unauthorized sample of the
 11 Fish Market recording and a verbatim copy of the Fish Market composition as the

 12 primary rhythm / drum section of each work.

 13        388. A comparison of Fish Market and each of the Camilo Works establishes
 14 that each of the Camilo Works incorporates both qualitatively and quantitatively

 15 significant sections of the Fish Market recording and composition. The various

 16 defendants responsible for each of the identified works and the manner of copying are

 17 described in the accompanying Exhibit A.

 18                               Carlos Vives Allegations
 19        389. As shown in the accompanying Exhibit A, Carlos Vives and a plurality
 20 of the defendants, the corresponding defendants for each song named therein, have

 21 released the songs entitled Al Filo de Tu Amor, Canción Bonita, El Mar de Sus Ojos,

 22 For Sale, Hechicera, La Bicicleta, La Tierra Prometida, Los Consejos del Difunto,

 23 Monsieur Bigoté, No Te Vayas, Nuestro Secreto, Pescaíto, Robarte Un Beso, Si Me

 24 Das Tu Amor, Todo Me Gusta, and Vitamina En Rama.

 25        390. Each of Al Filo de Tu Amor, Canción Bonita, El Mar de Sus Ojos, For
 26 Sale, Hechicera, La Bicicleta, La Tierra Prometida, Los Consejos del Difunto,
 27 Monsieur Bigoté, No Te Vayas, Nuestro Secreto, Pescaíto, Robarte Un Beso, Si Me

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  1 Das Tu Amor, Todo Me Gusta, and Vitamina En Rama (collectively, the “Carlos

  2 Vives Works”) were separately released at different times subsequent to the 1989

  3 release of Fish Market.

  4        391. Each of the Carlos Vives Works incorporates an unauthorized sample of
  5 the Fish Market recording and a verbatim copy of the Fish Market composition as the

  6 primary rhythm / drum section of each work.

  7        392. A comparison of Fish Market and each of the Carlos Vives Works
  8 establishes that each of the Carlos Vives Works incorporates both qualitatively and

  9 quantitatively significant sections of the Fish Market recording and composition. The

 10 various defendants responsible for each of the identified works and the manner of

 11 copying are described in the accompanying Exhibit A.

 12                              Casper Magico Allegations
 13        393. As shown in the accompanying Exhibit A, Casper Magico and a
 14 plurality of the defendants, the corresponding defendants for each song named

 15 therein, have released the songs entitled Cuentale, Desilusion, En Otra Piel,

 16 Encendia, Fantasmita, Fantasmita Remix, Groupie Remix, Groupie, H.P.T.A, Karma,

 17 La Mas Linda, Loco, Me Pichea, No Me Hables De Amor, No Te Veo (Remix), No Te

 18 Veo, and Sola & Vacía.

 19        394. Each of Cuentale, Desilusion, En Otra Piel, Encendia, Fantasmita,
 20 Fantasmita Remix, Groupie Remix, Groupie, H.P.T.A, Karma, La Mas Linda, Loco,

 21 Me Pichea, No Me Hables De Amor, No Te Veo (Remix), No Te Veo, and Sola &

 22 Vacíai (collectively, the “Casper Magico Works”) were separately released at

 23 different times subsequent to the 1989 release of Fish Market.

 24        395. Each of the Casper Magico Works incorporates an unauthorized sample
 25 of the Fish Market recording and a verbatim copy of the Fish Market composition as

 26 the primary rhythm / drum section of each work.
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  1        396. A comparison of Fish Market and each of the Casper Magico Works
  2 establishes that each of the Casper Magico Works incorporates both qualitatively and

  3 quantitatively significant sections of the Fish Market recording and composition. The

  4 various defendants responsible for each of the identified works and the manner of

  5 copying are described in the accompanying Exhibit A.

  6                                   CNCO Allegations
  7         397. As shown in the accompanying Exhibit A, CNCO and a plurality of the
  8 defendants, the corresponding defendants for each song named therein, have released

  9 the songs entitled Amor Narcótico, Beso, Bonita, De Cero, De Mí, Dejaría Todo,

 10 Demuéstrame, Devuélveme Mi Corazón, El Amor de Mi Vida, Entra en Mi Vida,

 11 Estoy Enamorado de Ti, Fiesta en Mi Casa, Hey DJ, Honey Boo, Imagíname Sin Ti,

 12 La Ley, La Quiero a Morir, Llegaste Tú, Mala Actitud, Mamita, Mi Medicina, Mis

 13 Ojos Lloran por Ti, My Boo, No Entiendo, No Me Sueltes, Noche Inolvidable, Para

 14 Enamorarte, Pegao, Primera Cita, Qué Va a Ser de Mí, Quisiera, Reggaetón Lento,

 15 Reggaetón Lento (Remix), Se Vuelve Loca, Solo Importas Tú, Sólo Yo, Tan

 16 Enamorados, Tan Fácil, and Volverte a Ver.

 17        398. Each of Amor Narcótico, Beso, Bonita, De Cero, De Mí, Dejaría Todo,
 18 Demuéstrame, Devuélveme Mi Corazón, El Amor de Mi Vida, Entra en Mi Vida,

 19 Estoy Enamorado de Ti, Fiesta en Mi Casa, Hey DJ, Honey Boo, Imagíname Sin Ti,
 20 La Ley, La Quiero a Morir, Llegaste Tú, Mala Actitud, Mamita, Mi Medicina, Mis

 21 Ojos Lloran por Ti, My Boo, No Entiendo, No Me Sueltes, Noche Inolvidable, Para

 22 Enamorarte, Pegao, Primera Cita, Qué Va a Ser de Mí, Quisiera, Reggaetón Lento,

 23 Reggaetón Lento (Remix), Se Vuelve Loca, Solo Importas Tú, Sólo Yo, Tan

 24 Enamorados, Tan Fácil, and Volverte a Ver (collectively, the “CNCO Works”) were

 25 separately released at different times subsequent to the 1989 release of Fish Market.

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  1        399. Each of the CNCO Works incorporates an unauthorized sample of the
  2 Fish Market recording and a verbatim copy of the Fish Market composition as the

  3 primary rhythm / drum section of each work.

  4        400. A comparison of Fish Market and each of the CNCO Works establishes
  5 that each of the CNCO Works incorporates both qualitatively and quantitatively

  6 significant sections of the Fish Market recording and composition. The various

  7 defendants responsible for each of the identified works and the manner of copying are

  8 described in the accompanying Exhibit A.

  9                                   Dalex Allegations
 10         401. As shown in the accompanying Exhibit A, Dalex and a plurality of the
 11 defendants, the corresponding defendants for each song named therein, have released

 12 the songs entitled Bellaquita, Bellaquita (Remix), Fantasia, Feeling, Hola, Hola

 13 Remix, Indomable, Jockey, +Linda, Lo Que Te Gusta, Matemáticas, Mejor, Mi

 14 Cama, Perfume, Prendía, Qué Tal, Rompe, and Yo No Me Enamoro.

 15        402. Each of Bellaquita, Bellaquita (Remix), Fantasia, Feeling, Hola, Hola
 16 Remix, Indomable, Jockey, +Linda, Lo Que Te Gusta, Matemáticas, Mejor, Mi

 17 Cama, Perfume, Prendía, Qué Tal, Rompe, and Yo No Me Enamoro (collectively, the

 18 “Dalex Works”) were separately released at different times subsequent to the 1989

 19 release of Fish Market.
 20        403. Each of the Dalex Works incorporates an unauthorized sample of the
 21 Fish Market recording and a verbatim copy of the Fish Market composition as the

 22 primary rhythm / drum section of each work.

 23        404. A comparison of Fish Market and each of the Dalex Works establishes
 24 that each of the Dalex Works incorporates both qualitatively and quantitatively

 25 significant sections of the Fish Market recording and composition. The various

 26 defendants responsible for each of the identified works and the manner of copying are
 27 described in the accompanying Exhibit A.

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  1                               Danna Paola Allegations
  2         405. As shown in the accompanying Exhibit A, Danna Paola and a plurality
  3 of the defendants, the corresponding defendants for each song named therein, have

  4 released the songs entitled Cachito, Final Feliz, Friend De Semana, Kaprichosa,

  5 Mala Fama, Mala Fama (Remix), MIA, No Bailes Sola, Oye Pablo, Polo A Tierra,

  6 Sodio, and TQ Y YA.

  7        406. Each of Cachito, Final Feliz, Friend De Semana, Kaprichosa, Mala
  8 Fama, Mala Fama (Remix), MIA, No Bailes Sola, Oye Pablo, Polo A Tierra, Sodio,

  9 and TQ Y YA (collectively, the “Danna Paola Works”) were separately released at

 10 different times subsequent to the 1989 release of Fish Market.

 11        407. Each of the Danna Paola Works incorporates an unauthorized sample of
 12 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 13 primary rhythm / drum section of each work.

 14        408. A comparison of Fish Market and each of the Danna Paola Works
 15 establishes that each of the Danna Paola Works incorporates both qualitatively and

 16 quantitatively significant sections of the Fish Market recording and composition. The

 17 various defendants responsible for each of the identified works and the manner of

 18 copying are described in the accompanying Exhibit A.

 19                              Danny Ocean Allegations
 20         409. As shown in the accompanying Exhibit A, Danny Ocean and a plurality
 21 of the defendants, the corresponding defendants for each song named therein, have

 22 released the songs entitled ADO, Apartamento, Baby I Won't, Báilame, Cuando Me

 23 Acerco A Ti, Cuántas veces, Dembow, Dorito & Coca-Cola, Epa Wei, Fuera del

 24 mercado, Istanbul, Me Rehúso, and Tú no me conoces.

 25        410. Each of ADO, Apartamento, Baby I Won't, Báilame, Cuando Me Acerco
 26 A Ti, Cuántas veces, Dembow, Dorito & Coca-Cola, Epa Wei, Fuera del mercado,
 27 Istanbul, Me Rehúso, and Tú no me conoces (collectively, the “Danny Ocean

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  1 Works”) were separately released at different times subsequent to the 1989 release of

  2 Fish Market.

  3        411. Each of the Danny Ocean Works incorporates an unauthorized sample of
  4 the Fish Market recording and a verbatim copy of the Fish Market composition as the

  5 primary rhythm / drum section of each work.

  6        412. A comparison of Fish Market and each of the Danny Ocean Works
  7 establishes that each of the Danny Ocean Works incorporates both qualitatively and

  8 quantitatively significant sections of the Fish Market recording and composition. The

  9 various defendants responsible for each of the identified works and the manner of

 10 copying are described in the accompanying Exhibit A.

 11                               De La Ghetto Allegations
 12        413. As shown in the accompanying Exhibit A, De La Ghetto and a plurality
 13 of the defendants, the corresponding defendants for each song named therein, have

 14 released the songs entitled Acércate, Ahí Ahí Ahí, Amantes, Bienvenido Al Bellakeo,

 15 Caliente, Chica Mala, Cogelo Pa' Ti, Como Baila, Cuando Será, Dices, Dices

 16 (Remix), El Que Se Enamora Pierde, El Volante, Ella es Especial, Exitandonos, Frío

 17 Olímpico, Loco Por Perrearte, Loco Por Perrearte Remix, Mami, Me Acostumbre,

 18 Me Parece, Mi Fanatica, Mi Fanatica (Remix), Mírala, No Me Digas Que No,

 19 Perdida, Que Tengo Que Aser, Relájate Conmigo, Se Te Nota, Selfie, Sin Perse, Sube
 20 La Music, Subelo, Todas En Fila, Todas En Fila (Remix), Todo el Amor, and

 21 Vamonos Calle.

 22        414. Each of Acércate, Ahí Ahí Ahí, Amantes, Bienvenido Al Bellakeo,
 23 Caliente, Chica Mala, Cogelo Pa' Ti, Como Baila, Cuando Será, Dices, Dices

 24 (Remix), El Que Se Enamora Pierde, El Volante, Ella es Especial, Exitandonos, Frío

 25 Olímpico, Loco Por Perrearte, Loco Por Perrearte Remix, Mami, Me Acostumbre,

 26 Me Parece, Mi Fanatica, Mi Fanatica (Remix), Mírala, No Me Digas Que No,
 27 Perdida, Que Tengo Que Aser, Relájate Conmigo, Se Te Nota, Selfie, Sin Perse, Sube

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  1 La Music, Subelo, Todas En Fila, Todas En Fila (Remix), Todo el Amor, and

  2 Vamonos Calle (collectively, the “De La Ghetto Works”) were separately released at

  3 different times subsequent to the 1989 release of Fish Market.

  4        415. Each of the De La Ghetto Works incorporates an unauthorized sample of
  5 the Fish Market recording and a verbatim copy of the Fish Market composition as the

  6 primary rhythm / drum section of each work.

  7        416. A comparison of Fish Market and each of the De La Ghetto Works
  8 establishes that each of the De La Ghetto Works incorporates both qualitatively and

  9 quantitatively significant sections of the Fish Market recording and composition. The

 10 various defendants responsible for each of the identified works and the manner of

 11 copying are described in the accompanying Exhibit A.

 12                               Dímelo Flow Allegations
 13        417. As shown in the accompanying Exhibit A, Dímelo Flow and a plurality
 14 of the defendants, the corresponding defendants for each song named therein, have

 15 released the songs entitled Crazy, Dime Ave, Doble Cara, El Favor, FKU, Girl Like

 16 You, Hickey, La Isla, Masoquista, Mi Favorita, Mi Perfume, MMC, Nadie La Dejo,

 17 No Es Normal, Otra Copa, Pártela, Pirueta, Por Fin, Punto De Vista, Qué Me

 18 Contás, Reggaetón, Se Le Ve, Suelta, Un Plan, and Winnie Pooh.

 19        418. Each of Crazy, Dime Ave, Doble Cara, El Favor, FKU, Girl Like You,
 20 Hickey, La Isla, Masoquista, Mi Favorita, Mi Perfume, MMC, Nadie La Dejo, No Es

 21 Normal, Otra Copa, Pártela, Pirueta, Por Fin, Punto De Vista, Qué Me Contás,

 22 Reggaetón, Se Le Ve, Suelta, Un Plan, and Winnie Pooh (collectively, the “Dímelo

 23 Flow Works”) were separately released at different times subsequent to the 1989

 24 release of Fish Market.

 25        419. Each of the Dímelo Flow Works incorporates an unauthorized sample of
 26 the Fish Market recording and a verbatim copy of the Fish Market composition as the
 27 primary rhythm / drum section of each work.

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  1        420. A comparison of Fish Market and each of the Dímelo Flow Works
  2 establishes that each of the Dímelo Flow Works incorporates both qualitatively and

  3 quantitatively significant sections of the Fish Market recording and composition. The

  4 various defendants responsible for each of the identified works and the manner of

  5 copying are described in the accompanying Exhibit A.

  6                                 DJ Snake Allegations
  7        421. As shown in the accompanying Exhibit A, DJ Snake and a plurality of
  8 the defendants, the corresponding defendants for each song named therein, have

  9 released the songs entitled Fuego, Loco Contigo, Magenta Riddim, Selfish Love, and

 10 Taki Taki.

 11        422. Each of Fuego, Loco Contigo, Magenta Riddim, Selfish Love, and Taki
 12 Taki (collectively, the “DJ Snake Works”) were separately released at different times

 13 subsequent to the 1989 release of Fish Market.

 14        423. Each of the DJ Snake Works incorporates an unauthorized sample of the
 15 Fish Market recording and a verbatim copy of the Fish Market composition as the

 16 primary rhythm / drum section of each work.

 17        424. A comparison of Fish Market and each of the DJ Snake Works
 18 establishes that each of the DJ Snake Works incorporates both qualitatively and

 19 quantitatively significant sections of the Fish Market recording and composition. The
 20 various defendants responsible for each of the identified works and the manner of

 21 copying are described in the accompanying Exhibit A.

 22                                   Drake Allegations
 23        425. As shown in the accompanying Exhibit A, Drake and a plurality of the
 24 defendants, the corresponding defendants for each song named therein, have released

 25 the song entitled One Dance.

 26        426. One Dance (the “Drake Work”) was released subsequent to the 1989
 27 release of Fish Market.

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  1        427. The Drake Work incorporates an unauthorized sample of the Fish
  2 Market recording and a verbatim copy of the Fish Market composition as the primary

  3 rhythm / drum section of each work.

  4        428. A comparison of Fish Market and the Drake Work establishes that the
  5 Drake Work incorporates both qualitatively and quantitatively significant sections of

  6 the Fish Market recording and composition. The various defendants responsible for

  7 each of the identified works and the manner of copying are described in the

  8 accompanying Exhibit A.

  9                              Enrique Iglesias Allegations
 10         429. As shown in the accompanying Exhibit A, Enrique Iglesias and a
 11 plurality of the defendants, the corresponding defendants for each song named

 12 therein, have released the songs entitled Bailando, Duele El Corazon, El Baño, Me

 13 Pase, Miss You, Move To MIAMI, Nos Fuimos Lejos, Pendejo, Subeme La Radio, and

 14 Te Fuiste.

 15        430. Each of Bailando, Duele El Corazon, El Baño, Me Pase, Miss You,
 16 Move To MIAMI, Nos Fuimos Lejos, Pendejo, Subeme La Radio, and Te Fuiste

 17 (collectively, the “Enrique Iglesias Works”) were separately released at different

 18 times subsequent to the 1989 release of Fish Market.

 19        431. Each of the Enrique Iglesias Works incorporates an unauthorized sample
 20 of the Fish Market recording and a verbatim copy of the Fish Market composition as

 21 the primary rhythm / drum section of each work.

 22        432. A comparison of Fish Market and each of the Enrique Iglesias Works
 23 establishes that each of the Enrique Iglesias Works incorporates both qualitatively

 24 and quantitatively significant sections of the Fish Market recording and composition.

 25 The various defendants responsible for each of the identified works and the manner

 26 of copying are described in the accompanying Exhibit A.
 27                                  Farruko Allegations
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  1        433. As shown in the accompanying Exhibit A, Farruko and a plurality of the
  2 defendants, the corresponding defendants for each song named therein, have released

  3 the songs entitled Amaneció, Back To The Future, Bebe Conmigo, Besas Tan Bien,

  4 Boomboneo, Booty Booty, Borinquen Bella, Cartier, Chillax, Chulería en Pote,

  5 Coolant, Cositas Que Haciamos, Crazy in Love, Dale Dembow, Dale Que Voy, Dime

  6 que hago, El único, Es hora, Fantasy, Fichurear, Forever Alone, Fuego, GATAS,

  7 BOCINAS & BAJO, Ganas, GangaXtrip, Get Together, GUILLAO, Hacerte El Amor,

  8 Hola Beba, Hoy, Illusion, Inolvidable, Interesada, Intimidad, La Cartera, La Noche,

  9 La Nueva Gerencia, La Tóxica, lejos de aquí, Me trancaro, Menor, Mi Vida No Va A

 10 Cambiar, Miro El Reloj, MÚSICA, Nadie, Nena Fichu, No Es Una Gial, No Quiere

 11 Saber, No Soy, Obsesionado, Pa' Darle, Pa' Romper La Discoteca, Papi Champú,

 12 Paredes De Hielo, Passion Whine, Pasto y pelea, Piquete, Pórtate Mal, Power, Pura

 13 Falsedad, Qué Hay de Malo, Quédate, RaPaPam, Recordarte, Resort, Roatán,

 14 Rompe el Suelo, Salgo, Sin Ti, Sorpresa, Suéltate Tú, Te Iré a Buscar, Te suelto el

 15 pelo, Te Va A Doler, Tensión, Tiempos, Titerito, Todo Cambio, Traime a tu Amiga,

 16 TrapXFicante (RIP Almighty), Una lágrima, Va a toa, Visionary, Voy A 100, Web

 17 Cam, XOXA, and Zaranana.

 18        434. Each of Amaneció, Back To The Future, Bebe Conmigo, Besas Tan Bien,
 19 Boomboneo, Booty Booty, Borinquen Bella, Cartier, Chillax, Chulería en Pote,
 20 Coolant, Cositas Que Haciamos, Crazy in Love, Dale Dembow, Dale Que Voy, Dime

 21 que hago, El único, Es hora, Fantasy, Fichurear, Forever Alone, Fuego, GATAS,

 22 BOCINAS & BAJO, Ganas, GangaXtrip, Get Together, GUILLAO, Hacerte El Amor,

 23 Hola Beba, Hoy, Illusion, Inolvidable, Interesada, Intimidad, La Cartera, La Noche,

 24 La Nueva Gerencia, La Tóxica, lejos de aquí, Me trancaro, Menor, Mi Vida No Va A

 25 Cambiar, Miro El Reloj, MÚSICA, Nadie, Nena Fichu, No Es Una Gial, No Quiere

 26 Saber, No Soy, Obsesionado, Pa' Darle, Pa' Romper La Discoteca, Papi Champú,
 27 Paredes De Hielo, Passion Whine, Pasto y pelea, Piquete, Pórtate Mal, Power, Pura

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  1 Falsedad, Qué Hay de Malo, Quédate, RaPaPam, Recordarte, Resort, Roatán,

  2 Rompe el Suelo, Salgo, Sin Ti, Sorpresa, Suéltate Tú, Te Iré a Buscar, Te suelto el

  3 pelo, Te Va A Doler, Tensión, Tiempos, Titerito, Todo Cambio, Traime a tu Amiga,

  4 TrapXFicante (RIP Almighty), Una lágrima, Va a toa, Visionary, Voy A 100, Web

  5 Cam, XOXA, and Zaranana (collectively, the “Farruko Works”) were separately

  6 released at different times subsequent to the 1989 release of Fish Market.

  7        435. Specifically, Aullando incorporates a truncated sample taken directly
  8 from Pounder and Fish Market and is introduced at approximately 1:01 and is looped

  9 at various intervals throughout Aullando. Aullando copies the fundamental drum and

 10 bass patterns in Fish Market and is looped throughout most of the work. The 2 bars

 11 sample originated from Pounder. However, the fundamental pattern in Fish Market is

 12 maintained and remains dominant throughout Aullando. Additionally, the drum

 13 tracks in Aullando feature the same kick drum and hi-hat patterns to those in Fish

 14 Market with each playing four crotchets per bar beginning on the first beat of each

 15 bar. The snare drum pattern in Aullando is the same snare drum in Fish Market. The

 16 timbale in Aullando copies elements of the timbale pattern in Fish Market and

 17 Pounder. The synth tom in Aullando copies the pattern of the synth tom in Fish

 18 Market and Pounder played on beats 1 and 3 of every bar. Further, Aullando copies

 19 Fish Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The
 20 timbre of the bass in Aullando is the same sub frequency sound spectrum range as in

 21 Fish Market and Pounder.

 22        436. Specifically, Callao incorporates a truncated sample taken directly from
 23 Pounder and Fish Market and is introduced at approximately 1:18 and is looped at

 24 various intervals throughout Callao. Callao copies the second bar of the timbale

 25 pattern from Pounder. Callao copies the fundamental drum pattern in Fish Market

 26 and is looped throughout most of the work. The 2 bars sample originated from
 27 Pounder. However, the fundamental pattern in Fish Market is maintained and

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  1 remains dominant throughout Callao. Additionally, the drum tracks in Callao feature

  2 the same kick drum and hi-hat patterns to those in Fish Market with each playing

  3 four crotchets per bar beginning on the first beat of each bar. The snare drum pattern

  4 in Callao is the same snare drum in Fish Market. The timbale in Callao copies

  5 elements of the timbale pattern in Fish Market and Pounder. The synth tom in Callao

  6 copies the pattern of the synth tom in Fish Market and Pounder played on beats 1 and

  7 3 of every bar. Further, Callao copies Fish Market’s bass pattern which anchors the

  8 root of the chords on beats 1 and 3. The timbre of the bass in Callao is the same sub

  9 frequency sound spectrum range as in Fish Market and Pounder.

 10        437. Specifically, Chica Bombastic incorporates a truncated sample taken
 11 directly from Pounder and Fish Market, and is introduced at approximately 0:32-

 12 0:53, 1:04-1:28, 1:39-1:49, 2:04-2:11, 2:23-2:44 and 2:57-3:16 and is looped at

 13 various intervals throughout Chica Bombastic. Chica Bombastic copies the

 14 fundamental drum pattern in Fish Market and is looped throughout most of the work.

 15 The 2 bars sample originated from Pounder. However, the fundamental pattern in

 16 Fish Market is maintained and remains dominant throughout Chica Bombastic.

 17 Additionally, the drum tracks in Chica Bombastic feature the same kick drum and hi-

 18 hat patterns to those in Fish Market with each playing four crotchets per bar

 19 beginning on the first beat of each bar. The snare drum pattern in Chica Bombastic is
 20 the same snare drum in Fish Market. The timbale in Chica Bombastic copies

 21 elements of the timbale pattern in Fish Market and Pounder. The synth tom in Chica

 22 Bombastic copies the pattern of the synth tom in Fish Market and Pounder played on

 23 beats 1 and 3 of every bar. Further, Chica Bombastic copies Fish Market’s bass

 24 pattern which anchors the root of the chords on beats 1 and 3. The timbre of the bass

 25 in Chica Bombastic is the same sub frequency sound spectrum range as in Fish

 26 Market and Pounder.
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  1        438. Specifically, Dame Algo incorporates a sample taken directly from
  2 Pounder and Fish Market, and is introduced at approximately 0:58-1:07, 1:08-1:17,

  3 1:39-1:48, 2:10-2:19, 2:41-2:50, 2:52-2:59, 3:02-3:07, 4:04-4:12, and 4:24-4:37 and

  4 is looped at various intervals throughout Dame Algo. Dame Algo copies the

  5 fundamental drum pattern in Fish Market and is looped throughout most of the work.

  6 The 2 bars sample originated from Pounder. However, the fundamental pattern in

  7 Fish Market is maintained and remains dominant throughout Dame Algo.

  8 Additionally, the drum tracks in Dame Algo feature the same kick drum and hi-hat

  9 patterns to those in Fish Market with each playing four crotchets per bar beginning

 10 on the first beat of each bar. The snare drum pattern in Dame Algo is the same snare

 11 drum in Fish Market. The timbale in Dame Algo copies the timbale pattern in

 12 Pounder. The synth tom in Dame Algo copies the pattern of the synth tom in Fish

 13 Market and Pounder played on beats 1 and 3 of every bar. Further, Dame Algo copies

 14 Fish Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

 15 timbre of the bass in Dame Algo is the same sub frequency sound spectrum range as

 16 in Fish Market and Pounder.

 17        439. Specifically, Deseo incorporates a sample taken directly from Pounder
 18 and Fish Market, and is introduced at approximately 0:32-0:42, 0:55-1:04, 1:16-

 19 1:26,1:38-1:48, 2:22-2:31, 2:43-2:53, 3:15-3:24, and 3:36-3:24, and 3:36-3:48 and is
 20 looped at various intervals throughout Deseo. Deseo copies the fundamental drum

 21 pattern in Fish Market and is looped throughout most of the work. The 2 bars sample

 22 originated from Pounder. However, the fundamental pattern in Fish Market is

 23 maintained and remains dominant throughout Deseo. Additionally, the drum tracks in

 24 Deseo feature the same kick drum and hi-hat patterns to those in Fish Market with

 25 each playing four crotchets per bar beginning on the first beat of each bar. The snare

 26 drum pattern in Deseo is the same snare drum in Fish Market. The timbale in Deseo
 27 copies elements of the timbale pattern in Fish Market and Pounder. The synth tom in

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  1 Deseo copies the pattern of the synth tom in Fish Market and Pounder played on

  2 beats 1 and 3 of every bar. Further, Deseo copies Fish Market’s bass pattern which

  3 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Deseo is the

  4 same sub frequency sound spectrum range as in Fish Market and Pounder.

  5        440. Specifically, Guaya incorporates a sample taken directly from Pounder
  6 and Fish Market and is introduced at approximately 1:03-1:21 and 1:44-2:02. Guaya

  7 copies the fundamental drum pattern in Fish Market and is looped throughout most of

  8 the work. The 2 bars sample originated from Pounder. However, the fundamental

  9 pattern in Fish Market is maintained and remains dominant throughout Guaya.

 10 Additionally, the drum tracks in Guaya feature the same kick drum and hi-hat

 11 patterns to those in Fish Market with each playing four crotchets per bar beginning

 12 on the first beat of each bar. The snare drum pattern in Guaya is the same snare drum

 13 in Fish Market. The timbale in Guaya copies the timbale pattern in Pounder. The

 14 synth tom in Guaya copies the pattern of the synth tom in Fish Market and Pounder

 15 played on beats 1 and 3 of every bar. Further, Guaya copies Fish Market’s bass

 16 pattern which anchors the root of the chords on beats 1 and 3. The timbre of the bass

 17 in Guaya is the same sub frequency sound spectrum range as in Fish Market and

 18 Pounder.

 19        441. Specifically, La Luz incorporates a sample taken directly from Pounder
 20 and Fish Market, and is introduced at approximately 1:15-1:33, 1:45-1:53, 2:04-2:12,

 21 2:24-2:33, 2:44-2:52, 3:04-3:12, 3:16-3:23, 3:33-3:43, and 4:03-4:11 and is looped at

 22 various intervals throughout La Luz. La Luz copies the fundamental drum pattern in

 23 Fish Market and is looped throughout most of the work. The 2 bars sample originated

 24 from Pounder. However, the fundamental pattern in Fish Market is maintained and

 25 remains dominant throughout La Luz. Additionally, the drum tracks in La Luz feature

 26 the same kick drum and hi-hat patterns to those in Fish Market with each playing
 27 four crotchets per bar beginning on the first beat of each bar. The snare drum pattern

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  1 in La Luz is the same snare drum in Fish Market. The timbale in La Luz copies

  2 elements of the timbale pattern in Pounder. The synth tom in La Luz copies the

  3 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every

  4 bar. Further, La Luz copies Fish Market’s bass pattern which anchors the root of the

  5 chords on beats 1 and 3. The timbre of the bass in La Luz is the same sub frequency

  6 sound spectrum range as in Fish Market and Pounder.

  7        442. Specifically, Reggaetón en lo Oscuro incorporates a sample taken
  8 directly from Pounder and Fish Market, and is introduced at approximately 0:46-

  9 1:05,1:18-1:48, 2:10-2:30, 2:53-3:12, and 3:27-3:43 and is looped at various intervals

 10 throughout Reggaetón en lo Oscuro. Reggaetón en lo Oscuro copies the fundamental

 11 drum pattern in Fish Market and is looped throughout most of the work. The 2 bars

 12 sample originated from Pounder. However, the fundamental pattern in Fish Market is

 13 maintained and remains dominant throughout Reggaetón en lo Oscuro. Additionally,

 14 the drum tracks in Reggaetón en lo Oscuro feature the same kick drum and hi-hat

 15 patterns to those in Fish Market with each playing four crotchets per bar beginning

 16 on the first beat of each bar. The snare drum pattern in Reggaetón en lo Oscuro is the

 17 same snare drum in Fish Market. The timbale in Reggaetón en lo Oscuro copies the

 18 timbale pattern in Pounder. The synth tom in Reggaetón en lo Oscuro copies the

 19 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every
 20 bar. Further, Reggaetón en lo Oscuro copies Fish Market’s bass pattern which

 21 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Reggaetón

 22 en lo Oscuro is the same sub frequency sound spectrum range as in Fish Market and

 23 Pounder.

 24        443. Specifically, Todo Comienza en la Disco incorporates a sample taken
 25 directly from Pounder and Fish Market, and is introduced at approximately 1:14-

 26 1:34, 1:45-1:50, 2:06-2:36, 3:11-3:19, 3:32-3:52, 4:14-4:44, 4:55-5:03 and is looped
 27 at various intervals throughout Todo Comienza en la Disco. Todo Comienza en la

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  1 Disco copies the fundamental drum pattern in Fish Market and is looped throughout

  2 most of the work. The 2 bars sample originated from Pounder. However, the

  3 fundamental pattern in Fish Market is maintained and remains dominant throughout

  4 Todo Comienza en la Disco. Additionally, the drum tracks in Todo Comienza en la

  5 Disco feature the same kick drum and hi-hat patterns to those in Fish Market with

  6 each playing four crotchets per bar beginning on the first beat of each bar. The snare

  7 drum pattern in Todo Comienza en la Disco is the same snare drum in Fish Market.

  8 The timbale in Todo Comienza en la Disco copies the timbale pattern in Pounder.

  9 The synth tom in Todo Comienza en la Disco copies the pattern of the synth tom in

 10 Fish Market and Pounder played on beats 1 and 3 of every bar. Further, Todo

 11 Comienza en la Disco copies Fish Market’s bass pattern which anchors the root of

 12 the chords on beats 1 and 3. The timbre of the bass in Todo Comienza en la Disco is

 13 the same sub frequency sound spectrum range as in Fish Market and Pounder.

 14        444.   Each of the Farruko Works incorporates an unauthorized sample of the
 15 Fish Market recording and a verbatim copy of the Fish Market composition as the

 16 primary rhythm / drum section of each work.

 17        445. A comparison of Fish Market and each of the Farruko Works establishes
 18 that each of the Farruko Works incorporates both qualitatively and quantitatively

 19 significant sections of the Fish Market recording and composition. The various
 20 defendants responsible for each of the identified works and the manner of copying are

 21 described in the accompanying Exhibit A.

 22                                    Feid Allegations
 23        446. As shown in the accompanying Exhibit A, Feid and a plurality of the
 24 defendants, the corresponding defendants for each song named therein, have released

 25 the songs entitled 911, BORRAXXA, CHIMBITA, Feliz Cumpleaños Ferxxo,

 26 FERXXO X ÑEJO , Ferxxo 100, FRESH KERIAS, FRIKI, FUMETEO, Normal,
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  1 Nuestra Canción, Perfecta, Porfa, PORFA (Remix), PURRITO APA, Que Raro,

  2 RELXJXTE, Ron (Remix), SI TÚ SUPIERAS, VACAXIONES, and XNTXS.

  3        447. Each of 911, BORRAXXA, CHIMBITA, Feliz Cumpleaños Ferxxo,
  4 FERXXO X ÑEJO, Ferxxo 100, FRESH KERIAS, FRIKI, FUMETEO, Normal,

  5 Nuestra Canción, Perfecta, Porfa, PORFA (Remix), PURRITO APA, Que Raro,

  6 RELXJXTE, Ron (Remix), SI TÚ SUPIERAS, VACAXIONES, and XNTXS

  7 (collectively, the “Feid Works”) were separately released at different times

  8 subsequent to the 1989 release of Fish Market.

  9        448. Each of the Feid Works incorporates an unauthorized sample of the Fish
 10 Market recording and a verbatim copy of the Fish Market composition as the primary

 11 rhythm / drum section of each work.

 12        449. A comparison of Fish Market and each of the Feid Works establishes
 13 that each of the Feid Works incorporates both qualitatively and quantitatively

 14 significant sections of the Fish Market recording and composition. The various

 15 defendants responsible for each of the identified works and the manner of copying are

 16 described in the accompanying Exhibit A.

 17                              Gente de Zona Allegations
 18         450. As shown in the accompanying Exhibit A, Gente de Zona and a plurality
 19 of the defendants, the corresponding defendants for each song named therein, have
 20 released the songs entitled Algo Contigo, El Mentiroso, Hazle Completo El Cuento,

 21 La Gozadera, La Tentación, Lo Que Tú y Yo Vivimos, Loco Loco, Mas Macarena,

 22 Me Da Lo Mismo, Momento, No te dejo sola, Otra Botella, Poquito a Poco, Que Tú

 23 Quieres, Quiero Conocerte, Seré, Si No Vuelves, Tan Buena, Te Duele, Traidora, and

 24 Tu y Yo.

 25        451. Each of Algo Contigo, El Mentiroso, Hazle Completo El Cuento, La
 26 Gozadera, La Tentación, Lo Que Tú y Yo Vivimos, Loco Loco, Mas Macarena, Me
 27 Da Lo Mismo, Momento, No te dejo sola, Otra Botella, Poquito a Poco, Que Tú

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  1 Quieres, Quiero Conocerte, Seré, Si No Vuelves, Tan Buena, Te Duele, Traidora, and

  2 Tu y Yo (collectively, the “Gente de Zona Works”) were separately released at

  3 different times subsequent to the 1989 release of Fish Market.

  4        452. Each of the Gente de Zona Works incorporates an unauthorized sample
  5 of the Fish Market recording and a verbatim copy of the Fish Market composition as

  6 the primary rhythm / drum section of each work.

  7        453. A comparison of Fish Market and each of the Gente de Zona Works
  8 establishes that each of the Gente de Zona Works incorporates both qualitatively and

  9 quantitatively significant sections of the Fish Market recording and composition. The

 10 various defendants responsible for each of the identified works and the manner of

 11 copying are described in the accompanying Exhibit A.

 12                                  Greeicy Allegations
 13         454. As shown in the accompanying Exhibit A, Greeicy and a plurality of the
 14 defendants, the corresponding defendants for each song named therein, have released

 15 the songs entitled A Mí No, Aguardiente, Amantes, Contigo, Cuando te vi, Destino,

 16 Error, Ganas, Jacuzzi, Los Besos, Los Consejos, Más Fuerte, Menos De Ti, Mentira,

 17 Minifalda, and Tóxico.

 18         455. Each of A Mí No, Aguardiente, Amantes, Contigo, Cuando te vi,
 19 Destino, Error, Ganas, Jacuzzi, Los Besos, Los Consejos, Más Fuerte, Menos De Ti,
 20 Mentira, Minifalda, and Tóxico (collectively, the “Greeicy Works”) were separately

 21 released at different times subsequent to the 1989 release of Fish Market.

 22        456. Specifically, A Mí No incorporates a truncated sample taken directly
 23 from Pounder and Fish Market, and is introduced at approximately 0:28-0:50, 1:01-

 24 1:22, 1:34-1:55, 1:56-2:06, 2:07-2:40 and 2:51-3:07. The 2 bars sample originated

 25 from Pounder.

 26        457. Specifically, Cuando te vi incorporates a truncated sample taken directly
 27 from Pounder and Fish Market, and is introduced at approximately 1:25-1:37 and

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  1 2:22-2:35. The 2 bars sample originated from Pounder. Additionally, Cuando te vi

  2 uses elements of the fundamental drum pattern in Fish Market and is looped

  3 throughout most of the work.

  4        458. Specifically, Destino incorporates a truncated sample taken directly from
  5 Pounder and Fish Market, and is introduced at approximately 0:44-0:53, 1:05-1:14,

  6 1:35-1:50, 2:16-2:25, and 2:39-2:46. The 2 bars sample originated from Pounder.

  7 Destino uses elements of the fundamental drum pattern in Fish Market and is looped

  8 throughout most of the work. Additionally, Destino copies Fish Market’s bass pattern

  9 which anchors the root of the chords on beats 1 and 3 at 0:44-1:24.

 10        459. Specifically, Jacuzzi incorporates a truncated sample taken directly from
 11 Pounder and Fish Market, and is introduced at approximately 0:36-0:54, 1:38-1:46,

 12 1:54-2:03, 2:25-2:34, and 2:43-2:52. The 2 bars sample originated from Pounder.

 13 Jacuzzi uses elements of the fundamental drum pattern in Fish Market and is looped

 14 throughout most of the work. Additionally, Jacuzzi copies Fish Market’s bass pattern

 15 which anchors the root of the chords on beats 1 and 3. The timbre of the bass in

 16 Jacuzzi is the same sub frequency sound spectrum range as in Fish Market.

 17        460. Each of the Greeicy Works incorporates an unauthorized sample of the
 18 Fish Market recording and a verbatim copy of the Fish Market composition as the

 19 primary rhythm / drum section of each work.
 20        461. A comparison of Fish Market and each of the Greeicy Works establishes
 21 that each of the Greeicy Works incorporates both qualitatively and quantitatively

 22 significant sections of the Fish Market recording and composition. The various

 23 defendants responsible for each of the identified works and the manner of copying are

 24 described in the accompanying Exhibit A.

 25                                 Ivy Queen Allegations
 26        462. As shown in the accompanying Exhibit A, Ivy Queen and a plurality of
 27 the defendants, the corresponding defendants for each song named therein, have

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  1 released the songs entitled Amor Puro, La Vida Es Así, Te He Querido, Te He

  2 Llorado, and Yo Quiero Bailar.

  3        463. Each of Amor Puro, La Vida Es Así, Te He Querido, Te He Llorado, and
  4 Yo Quiero Bailar (collectively, the “Ivy Queen Works”) were separately released at

  5 different times subsequent to the 1989 release of Fish Market.

  6        464. Each of the Ivy Queen Works incorporates an unauthorized sample of
  7 the Fish Market recording and a verbatim copy of the Fish Market composition as the

  8 primary rhythm / drum section of each work.

  9        465. A comparison of Fish Market and each of the Ivy Queen Works
 10 establishes that each of the Ivy Queen Works incorporates both qualitatively and

 11 quantitatively significant sections of the Fish Market recording and composition. The

 12 various defendants responsible for each of the identified works and the manner of

 13 copying are described in the accompanying Exhibit A.

 14                                  J Balvin Allegations
 15        466. As shown in the accompanying Exhibit A, J Balvin and a plurality of the
 16 defendants, the corresponding defendants for each song named therein, have released

 17 the songs entitled 6AM, Abrázame, Abusadora, Acércate, Agua, Ahora, Amarillo,

 18 Ambiente, Arcoíris, Ay Vamos, Azul, Bajo La Luna, Blanco, Bobo, Bonita Remix,

 19 Bonita, Como Un Animal, Como Yo, Con Flow Mátalo, Cuando Tú Quieras, Cuidao
 20 Por Ahí, Dame mas, Déjate Llevar, Desnúdate, Dónde Estarás, Ella me cautivo, En

 21 Lo Oscuro, Éxtasis, Ginza, Gris, Hola, Hola que tal, Imaginándote, La Canción, La

 22 Venganza, Machika, Malvada, Mami, Me Gustas Tú, Mi Corazón, Mi Gente,

 23 Mojaita, Morado, Negro, Nivel De Perreo, No Es Justo, Noche de pasión, Noches

 24 Pasadas, Peligrosa, Pierde Los Modales, Poblado, Por un día, Porque Tu, Primera

 25 cita, Qué Más Pues?, Que Pretendes, Reggaeton, Rojo, Rosa, Safari, Se Aloca,

 26 Seguiré Subiendo, Sencillo, Sigo Extrañándote, Sin Compromiso, Solitario, Ten
 27 Cuidado (Pokémon 25 Version), Tranquila, Tú Tienes Algo, Tu Veneno, Un Dia (One

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  1 Day), Un día sin ti, Un Peso, Un Sueño, Una Nota, Verde, Vestido, and Yo Te Lo

  2 Dije.

  3         467. Each of 6AM, Abrázame, Abusadora, Acércate, Agua, Ahora, Amarillo,
  4 Ambiente, Arcoíris, Ay Vamos, Azul, Bajo La Luna, Blanco, Bobo, Bonita Remix,

  5 Bonita, Como Un Animal, Como Yo, Con Flow Mátalo, Cuando Tú Quieras, Cuidao

  6 Por Ahí, Dame mas, Déjate Llevar, Desnúdate, Dónde Estarás, Ella me cautivo, En

  7 Lo Oscuro, Éxtasis, Ginza, Gris, Hola, Hola que tal, Imaginándote, La Canción, La

  8 Venganza, Machika, Malvada, Mami, Me Gustas Tú, Mi Corazón, Mi Gente,

  9 Mojaita, Morado, Negro, Nivel De Perreo, No Es Justo, Noche de pasión, Noches

 10 Pasadas, Peligrosa, Pierde Los Modales, Poblado, Por un día, Porque Tu, Primera

 11 cita, Qué Más Pues?, Que Pretendes, Reggaeton, Rojo, Rosa, Safari, Se Aloca,

 12 Seguiré Subiendo, Sencillo, Sigo Extrañándote, Sin Compromiso, Solitario, Ten

 13 Cuidado (Pokémon 25 Version), Tranquila, Tú Tienes Algo, Tu Veneno, Un Dia (One

 14 Day), Un día sin ti, Un Peso, Un Sueño, Una Nota, Verde, Vestido, and Yo Te Lo Dije

 15 (collectively, the “J Balvin Works”) were separately released at different times

 16 subsequent to the 1989 release of Fish Market.

 17         468. Each of the J Balvin Works incorporates an unauthorized sample of the
 18 Fish Market recording and a verbatim copy of the Fish Market composition as the

 19 primary rhythm / drum section of each work.
 20         469. A comparison of Fish Market and each of the J Balvin Works
 21 establishes that each of the J Balvin Works incorporates both qualitatively and

 22 quantitatively significant sections of the Fish Market recording and composition. The

 23 various defendants responsible for each of the identified works and the manner of

 24 copying are described in the accompanying Exhibit A.

 25                               Jason Derulo Allegations
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  1         470. As shown in the accompanying Exhibit A, Jason Derulo and a plurality
  2 of the defendants, the corresponding defendants for each song named therein, have

  3 released the songs entitled Colors, Goodbye, Love Not War, and Mamacita.

  4        471. Each of Colors, Goodbye, Love Not War, and Mamacita (collectively,
  5 the “Jason Derulo Works”) were separately released at different times subsequent to

  6 the 1989 release of Fish Market.

  7        472. Each of the Jason Derulo Works incorporates an unauthorized sample of
  8 the Fish Market recording and a verbatim copy of the Fish Market composition as the

  9 primary rhythm / drum section of each work.

 10        473. A comparison of Fish Market and each of the Jason Derulo Works
 11 establishes that each of the Jason Derulo Works incorporates both qualitatively and

 12 quantitatively significant sections of the Fish Market recording and composition. The

 13 various defendants responsible for each of the identified works and the manner of

 14 copying are described in the accompanying Exhibit A.

 15                                 Jawsh 685 Allegations
 16         474. As shown in the accompanying Exhibit A, Jawsh 685 and a plurality of
 17 the defendants, the corresponding defendants for each song named therein, have

 18 released the songs entitled Laxed (SIREN BEAT), Savage Love (Laxed - Siren Beat),

 19 and Sweet & Sour (feat. Lauv & Tyga).
 20        475. Each of Laxed (SIREN BEAT), Savage Love (Laxed - Siren Beat), and
 21 Sweet & Sour (feat. Lauv & Tyga) (collectively, the “Jawsh 685 Works”) were

 22 separately released at different times subsequent to the 1989 release of Fish Market.

 23        476. Each of the Jawsh 685 Works incorporates an unauthorized sample of
 24 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 25 primary rhythm / drum section of each work.

 26        477. A comparison of Fish Market and each of the Jawsh 685 Works
 27 establishes that each of the Jawsh 685 Works incorporates both qualitatively and

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  1 quantitatively significant sections of the Fish Market recording and composition. The

  2 various defendants responsible for each of the identified works and the manner of

  3 copying are described in the accompanying Exhibit A.

  4                               Jay Wheeler Allegations
  5         478. As shown in the accompanying Exhibit A, Jay Wheeler and a plurality
  6 of the defendants, the corresponding defendants for each song named therein, have

  7 released the songs entitled Cuando Fue, Cuéntale, Esa Nota, Fuiste Tu , La

  8 Curiosidad, Nada Serio, Otra Noche Más, Otra Noche Más, Se Rebeló, Sin Ti,

  9 Viendo El Techo, and Vivir.

 10        479. Each of Cuando Fue, Cuéntale, Esa Nota, Fuiste Tu , La Curiosidad,
 11 Nada Serio, Otra Noche Más, Otra Noche Más, Se Rebeló, Sin Ti, Viendo El

 12 Techo,and Vivir. (collectively, the “Jay Wheeler Works”) were separately released at

 13 different times subsequent to the 1989 release of Fish Market.

 14        480. Each of the Jay Wheeler Works incorporates an unauthorized sample of
 15 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 16 primary rhythm / drum section of each work.

 17        481. A comparison of Fish Market and each of the Jay Wheeler Works
 18 establishes that each of the Jay Wheeler Works incorporates both qualitatively and

 19 quantitatively significant sections of the Fish Market recording and composition. The
 20 various defendants responsible for each of the identified works and the manner of

 21 copying are described in the accompanying Exhibit A.

 22                               Jhay Cortez Allegations
 23         482. As shown in the accompanying Exhibit A, Jhay Cortez and a plurality of
 24 the defendants, the corresponding defendants for each song named therein, have

 25 released the songs entitled Apaga Las Luces, Christian Dior, Como Se Siente,

 26 Cuando Bebe, Dale Como Es, Deséame Suerte, Deseos, Deseos (Remix), Dile
 27 (Homenaje), Dime A Ve, Donde No Se Vea, Easy (Remix), Easy, Esta Dejá,

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  1 Imaginaste (Remix), Ley Seca, Los Rompediskoteca, Más De Una, Mi Vicio, No Me

  2 Conoce (Remix), Popular, Ropa Interior, Somos Iguales, Tocarte, and Y No Le

  3 Conviene.

  4        483. Each of Apaga Las Luces, Christian Dior, Como Se Siente, Cuando
  5 Bebe, Dale Como Es, Deséame Suerte, Deseos, Deseos (Remix), Dile (Homenaje),

  6 Dime A Ve, Donde No Se Vea, Easy (Remix), Easy, Esta Dejá, Imaginaste (Remix),

  7 Ley Seca, Los Rompediskoteca, Más De Una, Mi Vicio, No Me Conoce (Remix),

  8 Popular, Ropa Interior, Somos Iguales, Tocarte, and Y No Le Conviene (collectively,

  9 the “Jhay Cortez Works”) were separately released at different times subsequent to

 10 the 1989 release of Fish Market.

 11        484. Each of the Jhay Cortez Works incorporates an unauthorized sample of
 12 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 13 primary rhythm / drum section of each work.

 14        485. A comparison of Fish Market and each of the Jhay Cortez Works
 15 establishes that each of the Jhay Cortez Works incorporates both qualitatively and

 16 quantitatively significant sections of the Fish Market recording and composition. The

 17 various defendants responsible for each of the identified works and the manner of

 18 copying are described in the accompanying Exhibit A.

 19                               Justin Quiles Allegations
 20        486. As shown in the accompanying Exhibit A, Justin Quiles and a plurality
 21 of the defendants, the corresponding defendants for each song named therein, have

 22 released the songs entitled Apretón, Colorín Colorado, Comerte A Besos, Como Si

 23 Nah, Confusión, Contradicción, Cuando Salgo, Desaparecida, DJ No Pare, DJ No

 24 Pare REMIX, Dos Locos, Egoista, El Party Se Formó, Esta Noche ft. Farruko

 25 (Remake), Esta Noche, Fin De Semana, Gladiadora, Hombre Cómo Yo,

 26 Honestamente, Impulsivo, Instagram, Jeans, Juraste, La Amiga, La Botella, Leyenda,
 27 Loco, Loco Por Verte, Me Curare, Me Frontió, Mi Maldicion, Monstruo, No

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  1 Descanses, No es de Hombre, No La Toques, No Quiero Amarte, No Respondo, Nos

  2 Envidian, Ocean Park, Orgullo, Orgullo (Remix), Otra Copa, Otra Vez, PAM,

  3 Pendiente De Usted, Ponte Pa' Mi, Quítate Eso, Rabia, Ropa interior, Shorty, Se Te

  4 Olvidó, Si El Mundo Se Acabara, Si Ella Quisiera, Si Tu, Sustancia, Textos Sucios,

  5 Tienes Razón, Un Rato, and Vacaciones Por Tu Cuerpo.

  6        487. Each of Apretón, Colorín Colorado, Comerte A Besos, Como Si Nah,
  7 Confusión, Contradicción, Cuando Salgo, Desaparecida, DJ No Pare, DJ No Pare

  8 REMIX, Dos Locos, Egoista, El Party Se Formó, Esta Noche ft. Farruko (Remake),

  9 Esta Noche, Fin De Semana, Gladiadora, Hombre Cómo Yo, Honestamente,

 10 Impulsivo, Instagram, Jeans, Juraste, La Amiga, La Botella, Leyenda, Loco, Loco

 11 Por Verte, Me Curare, Me Frontió, Mi Maldicion, Monstruo, No Descanses, No es de

 12 Hombre, No La Toques, No Quiero Amarte, No Respondo, Nos Envidian, Ocean

 13 Park, Orgullo, Orgullo (Remix), Otra Copa, Otra Vez, PAM, Pendiente De Usted,

 14 Ponte Pa' Mi, Quítate Eso, Rabia, Ropa interior, Shorty, Se Te Olvidó, Si El Mundo

 15 Se Acabara, Si Ella Quisiera, Si Tu, Sustancia, Textos Sucios, Tienes Razón, Un

 16 Rato, and Vacaciones Por Tu Cuerpo (collectively, the “Justin Quiles Works”) were

 17 separately released at different times subsequent to the 1989 release of Fish Market.

 18        488. Each of the Justin Quiles Works incorporates an unauthorized sample of
 19 the Fish Market recording and a verbatim copy of the Fish Market composition as the
 20 primary rhythm / drum section of each work.

 21        489. A comparison of Fish Market and each of the Justin Quiles Works
 22 establishes that each of the Justin Quiles incorporates both qualitatively and

 23 quantitatively significant sections of the Fish Market recording and composition. The

 24 various defendants responsible for each of the identified works and the manner of

 25 copying are described in the accompanying Exhibit A.

 26                                  Karol G Allegations
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  1        490. As shown in the accompanying Exhibit A, Karol G and a plurality of the
  2 defendants, the corresponding defendants for each song named therein, have released

  3 the songs entitled A Ella, A Solas, ARRANCA PAL CARAJO, Ay, DiOs Mío!,

  4 Bebesita, BICHOTA, Casi Nada, CONTIGO VOY A MUERTE, Créeme, DÉJALOS

  5 QUE MIREN, Dime, Dime Que Si, DVD, EL BARCO, EL MAKINON, En la Playa,

  6 Eres Mi Todo, GATÚBELA, Go Karo, Hello, La Dama, La Vida Continuó,

  7 LEYENDAS, LOCATION, Love With A Quality, Mi Cama (Remix), Mi Cama,

  8 ODISEA, Pineapple, Punto G, SEJODIOTO, SOLA ES MEJOR, Tusa, Tusa (Remix),

  9 and Ya No Te Creo.

 10        491. Each of A Ella, A Solas, ARRANCA PAL CARAJO, Ay, DiOs Mío!,
 11 Bebesita, BICHOTA, Casi Nada, CONTIGO VOY A MUERTE, Créeme, DÉJALOS

 12 QUE MIREN, Dime, Dime Que Si, DVD, EL BARCO, EL MAKINON, En la Playa,

 13 Eres Mi Todo, GATÚBELA, Go Karo, Hello, La Dama, La Vida Continuó,

 14 LEYENDAS, LOCATION, Love With A Quality, Mi Cama (Remix), Mi Cama,

 15 ODISEA, Pineapple, Punto G, SEJODIOTO, SOLA ES MEJOR, Tusa, Tusa (Remix),

 16 and Ya No Te Creo (collectively, the “Karol G Works”) were separately released at

 17 different times subsequent to the 1989 release of Fish Market.

 18        492. Specifically, ARRANCA PAL CARAJO incorporates a truncated sample
 19 taken directly from Pounder and, by extension, Fish Market, and begins at
 20 approximately 0:06-0:23, 0:24-0:35, 1:36-1:59, 2:03-2:23, 2:48-3:00, 3:32-3:38 and

 21 3:42-3:54. The 2 bars sample originated from Pounder. However, the fundamental

 22 pattern in Fish Market is maintained and remains dominant throughout ARRANCA

 23 PAL CARAJO; with the additional pattern made up of recreated elements of the

 24 sampled pattern, which is then repeated throughout ARRANCA PAL CARAJO

 25 alternating with the sample. Additionally, the drum tracks in ARRANCA PAL

 26 CARAJO feature the same kick drum and hi-hat patterns to those in Fish Market with
 27 each playing four crotchets per bar beginning on the first beat of each bar. The snare

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  1 drum pattern in ARRANCA PAL CARAJO is the same as Fish Market with its

  2 inclusion of the 3rd and 11th sixteenth beat in each bar. The synth tom in ARRANCA

  3 PAL CARAJO copies the pattern of the synth tom in Pounder and Fish Market played

  4 on beats 1 and 3 of every bar. Further, ARRANCA PAL CARAJO copies Fish

  5 Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

  6 timbre of the bass in ARRANCA PAL CARAJO has the same sub frequency sound

  7 spectrum range as in Fish Market and Pounder.

  8        493. Specifically, CONTIGO VOY A MUERTE incorporates a truncated
  9 sample taken directly from Pounder and, by extension, Fish Market, and begins at

 10 approximately 0:23-0:33, 0:34-0:45, 1:01-1:23, 1:47-1:57, 2:13-2:24, 2:36-2:47 and

 11 3:02-3:13. The 2 bars sample originated from Pounder. However, the fundamental

 12 pattern in Fish Market is maintained and remains dominant throughout CONTIGO

 13 VOY A MUERTE; with the additional pattern made up of recreated elements of the

 14 sampled pattern, which is then repeated throughout CONTIGO VOY A MUERTE

 15 alternating with the sample. Additionally, the drum tracks in CONTIGO VOY A

 16 MUERTE feature the same kick drum and hi-hat patterns to those in Fish Market with

 17 each playing four crotchets per bar beginning on the first beat of each bar. The snare

 18 drum pattern in CONTIGO VOY A MUERTE is the same as Fish Market with its

 19 inclusion of the 3rd and 11th sixteenth beat in each bar. The synth tom in CONTIGO
 20 VOY A MUERTE copies the pattern of the synth tom in Pounder and Fish Market

 21 played on beats 1 and 3 of every bar. Further, CONTIGO VOY A MUERTE copies

 22 Fish Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

 23 timbre of the bass in CONTIGO VOY A MUERTE has the same sub frequency sound

 24 spectrum range as in Fish Market and Pounder.

 25        494. Specifically, EL MAKINON incorporates a truncated sample taken
 26 directly from Pounder and, by extension, Fish Market, and begins at approximately
 27 0:36-0:46 and 1:43-1:53. The 2 bars sample originated from Pounder. However, the

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  1 fundamental pattern in Fish Market is maintained and remains dominant throughout

  2 EL MAKINON; with the additional pattern made up of recreated elements of the

  3 sampled pattern, which is then repeated throughout EL MAKINON alternating with

  4 the sample. Additionally, the drum tracks in EL MAKINON feature the same kick

  5 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per

  6 bar beginning on the first beat of each bar. The snare drum pattern in EL MAKINON

  7 is the same as Fish Market with its inclusion of the 3rd and 11th sixteenth beat in

  8 each bar. The synth tom in EL MAKINON copies the pattern of the synth tom in

  9 Pounder and Fish Market played on beats 1 and 3 of every bar. Further, EL

 10 MAKINON copies Fish Market’s bass pattern which anchors the root of the chords on

 11 beats 1 and 3. The timbre of the bass in EL MAKINON has the same sub frequency

 12 sound spectrum range as in Fish Market and Pounder.

 13        495. Specifically, GATÚBELA incorporates a sample taken directly from
 14 Pounder and, by extension, Fish Market. The sample is played at approximately

 15 0:40-0:58 and is introduced at various other intervals throughout GATÚBELA. The 2

 16 bars sample originated from Pounder. However, the fundamental pattern in Fish

 17 Market is maintained and remains dominant throughout GATÚBELA; with the

 18 additional pattern made up of recreated elements of the sampled pattern, which is

 19 then repeated throughout GATÚBELA alternating with the sample. GATÚBELA
 20 features a timbale roll from Fish Market at 1:20. Additionally, the drum tracks in

 21 GATÚBELA feature the same kick drum and hi-hat patterns to those in Fish Market

 22 with each playing four crotchets per bar beginning on the first beat of each bar. The

 23 snare drum pattern in GATÚBELA is the same as Fish Market with its inclusion of

 24 the 3rd and 11th sixteenth beat in each bar. GATÚBELA features a copy of the

 25 timbale 32nd beat roll at the end of each bar, and at 1:56, as in Fish Market and

 26 Pounder. The synth tom in GATÚBELA copies the pattern of the synth tom in
 27 Pounder and Fish Market played on beats 1 and 3 of every bar. Further, GATÚBELA

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  1 copies Fish Market’s bass pattern which anchors the root of the chords on beats 1 and

  2 3. The timbre of the bass in GATÚBELA has the same sub frequency sound spectrum

  3 range as in Fish Market and Pounder.

  4        496. Specifically, LEYENDAS incorporates a sample taken directly from
  5 Pounder and Fish Market. The sample is played at approximately 0:30, 1:40-2:00,

  6 4:36-4:52, and is introduced at various other intervals throughout LEYENDAS. The 2

  7 bars sample originated from Pounder. However, the fundamental pattern in Fish

  8 Market is maintained and remains dominant throughout LEYENDAS; with the

  9 additional pattern made up of recreated elements of the sampled pattern, which is

 10 then repeated throughout LEYENDAS alternating with the sample. Additionally, the

 11 drum tracks in LEYENDAS feature the same kick drum and hi-hat patterns to those in

 12 Fish Market with each playing four crotchets per bar beginning on the first beat of

 13 each bar. The snare drum pattern in LEYENDAS is the same as Fish Market with its

 14 inclusion of the 3rd and 11th sixteenth beat in each bar. LEYENDAS includes a

 15 timbale 32nd beat roll at the end of each bar that is unique to Fish Market and

 16 Pounder starting at 3:22-4:20 and 4:57-4:52. The synth tom in LEYENDAS copies the

 17 pattern of the synth tom in Pounder and Fish Market. Further, LEYENDAS copies

 18 Fish Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

 19 timbre of the bass in LEYENDAS has the same sub frequency sound spectrum range
 20 as in Fish Market and Pounder.

 21        497. Specifically, ODISEA incorporates a sample taken directly from
 22 Pounder, and by extension Fish Market. The sample is played at approximately 0:55-

 23 1:26, 1:38-1:46, 2:00-2:10, 2:22-2:32, 2:44-2:51 and 3:05-3:38. The 2 bars sample

 24 originated from Pounder. However, the fundamental pattern in Fish Market is

 25 maintained and remains dominant throughout ODISEA; with the additional pattern

 26 made up of recreated elements of the sampled pattern, which is then repeated
 27 throughout ODISEA alternating with the sample. Additionally, the drum tracks in

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  1 ODISEA feature the same kick drum and hi-hat patterns to those in Fish Market with

  2 each playing four crotchets per bar beginning on the first beat of each bar. The snare

  3 drum pattern in ODISEA is the same as Fish Market with its inclusion of the 3rd and

  4 11th sixteenth beat in each bar. The timbale pattern in ODISEA is the same as Fish

  5 Market and Pounder. The synth tom in ODISEA copies the pattern of the synth tom

  6 in Pounder and Fish Market played on beats 1 and 3 of every bar. Further, ODISEA

  7 copies Fish Market’s bass pattern which anchors the root of the chords on beats 1 and

  8 3. The timbre of the bass in ODISEA has the same sub frequency sound spectrum

  9 range as in Fish Market and Pounder.

 10        498. Each of the Karol G Works incorporates an unauthorized sample of the
 11 Fish Market recording and a verbatim copy of the Fish Market composition as the

 12 primary rhythm / drum section of each work.

 13        499. A comparison of Fish Market and each of the Karol G Works establishes
 14 that each of the Karol G Works incorporates both qualitatively and quantitatively

 15 significant sections of the Fish Market recording and composition. The various

 16 defendants responsible for each of the identified works and the manner of copying are

 17 described in the accompanying Exhibit A.

 18                              Lenny Tavarez Allegations
 19        500. As shown in the accompanying Exhibit A, Lenny Tavarez and a
 20 plurality of the defendants, the corresponding defendants for each song named

 21 therein, have released the songs entitled Fantasías, Fantasías Remix, Ímaginate, La

 22 Neta, La Pared 360, Lo Tengo Todo, and Me Enamora.

 23        501. Each of Fantasías, Fantasías Remix, Ímaginate, La Neta, La Pared 360,
 24 Lo Tengo Todo, and Me Enamora (collectively, the “Lenny Tavarez Works”) were

 25 separately released at different times subsequent to the 1989 release of Fish Market.

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  1        502. Each of the Lenny Tavarez Works incorporates an unauthorized sample
  2 of the Fish Market recording and a verbatim copy of the Fish Market composition as

  3 the primary rhythm / drum section of each work.

  4        503. A comparison of Fish Market and each of the Lenny Tavarez Works
  5 establishes that each of the Lenny Tavarez Works incorporates both qualitatively and

  6 quantitatively significant sections of the Fish Market recording and composition. The

  7 various defendants responsible for each of the identified works and the manner of

  8 copying are described in the accompanying Exhibit A.

  9                             Los Legendarios Allegations
 10        504. As shown in the accompanying Exhibit A, Los Legendarios and a
 11 plurality of the defendants, the corresponding defendants for each song named

 12 therein, have released the songs entitled Amanecer Contigo, Auto, Baila Conmigo,

 13 Dando Vueltas, En Mi Habitacion, Fiel, Fiel (Remix), Fugitivo, Ganas, Hagámoslo

 14 Otra Vez, Hey Shorty Remix, Huele A Sexo, Loco, Mami, Mari Mari, Me Dañas La

 15 Mente, Mi Niña, No Me Acostumbro, Prendelo, and Vamo Alla.

 16        505. Each of Amanecer Contigo, Auto, Baila Conmigo, Dando Vueltas, En
 17 Mi Habitacion, Fiel, Fiel (Remix), Fugitivo, Ganas, Hagámoslo Otra Vez, Hey

 18 Shorty Remix, Huele A Sexo, Loco, Mami, Mari Mari, Me Dañas La Mente, Mi Niña,

 19 No Me Acostumbro, Prendelo, and Vamo Alla (collectively, the “Los Legendarios
 20 Works”) were separately released at different times subsequent to the 1989 release of

 21 Fish Market.

 22        506. Each of the Los Legendarios Works incorporates an unauthorized
 23 sample of the Fish Market recording and a verbatim copy of the Fish Market

 24 composition as the primary rhythm / drum section of each work.

 25        507. A comparison of Fish Market and each of the Los Legendarios Works
 26 establishes that each of the Los Legendarios Works incorporates both qualitatively
 27 and quantitatively significant sections of the Fish Market recording and composition.

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  1 The various defendants responsible for each of the identified works and the manner

  2 of copying are described in the accompanying Exhibit A.

  3                               Major Lazer Allegations
  4         508. As shown in the accompanying Exhibit A, Major Lazer and a plurality
  5 of the defendants, the corresponding defendants for each song named therein, have

  6 released the songs entitled Bam Bam, Buscando Huellas, Come On To Me,

  7 Diplomatico, Lean On, Light it Up, Make It Hot, Que Calor, QueLoQue, Sua Cara,

  8 Titans, and Watch Out for This (Bumaye).

  9        509. Each of Bam Bam, Buscando Huellas, Come On To Me, Diplomatico,
 10 Lean On, Light it Up, Make It Hot, Que Calor, QueLoQue, Sua Cara, Titans, and

 11 Watch Out for This (Bumaye) (collectively, the “Major Lazer Works”) were

 12 separately released at different times subsequent to the 1989 release of Fish Market.

 13        510. Each of the Major Lazer Works incorporates an unauthorized sample of
 14 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 15 primary rhythm / drum section of each work.

 16        511. A comparison of Fish Market and each of the Major Lazer Works
 17 establishes that each of the Major Lazer Works incorporates both qualitatively and

 18 quantitatively significant sections of the Fish Market recording and composition. The

 19 various defendants responsible for each of the identified works and the manner of
 20 copying are described in the accompanying Exhibit A.

 21                                  Maluma Allegations
 22        512. As shown in the accompanying Exhibit A, Maluma and a plurality of the
 23 defendants, the corresponding defendants for each song named therein, have released

 24 the songs entitled 11PM, ADMV (Versión Urbana), Agua de Jamaica, Ansiedad,

 25 Bella-K, Booty, Borro Cassette, Chocolate, Cielo a un Diablo, Climax, Condena,

 26 Copas de Vino, Corazón, Correr el Riesgo, Cositas de la USA, Cuenta a Saldo,
 27 Cuidau, Déjale Saber, Delincuente, Dime Que Te Parece, Dispuesto, ¿Dónde Estás?,

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  1 Dos Amores, El Perdedor, El Préstamo, El Punto, El Tiki, Extrañándote,

  2 Farandulera, Felices los 4, Hangover, Happy Birthday, Hawái, HP, Instinto Natural,

  3 Intentalo, Intro, Magia, La Burbuja, La Cura, La Curiosidad, La Ex, La Flaca, La

  4 Intención, La Misma Moneda, La Vida es Bella, Loco, Luz Verde, Madrid, Mai Mai,

  5 Mal de Amores, Mala, Mala Mía, Malo, Me Acuerdo de Ti, Me Enamore de Ti, Me

  6 Gustas, Me Gustas Tanto, Miss Independent, Mojando Asientos, No Puedo Olvidarte,

  7 No Se Me Quita, Nos Comemos Vivos, Ojos Que No Ven, Obsesión, Parce, Pasarla

  8 Bien, Peligrosa, Perdón, Presiento, Pretextos, Quality, Recuérdame, Salida de

  9 Escape, Sexo Sin Titulo, Shhh "Calla", Sin Contrato, Sobrio, Solos, Soltera, Te

 10 Quiero Cerquita, Tsunami, Tu Cariño, Una Aventura, Vámonos de Fuga, Vete Vete,

 11 and Ya No Es Niña.

 12        513. Each of 11PM, ADMV (Versión Urbana), Agua de Jamaica, Ansiedad,
 13 Bella-K, Booty, Borro Cassette, Chocolate, Cielo a un Diablo, Climax, Condena,

 14 Copas de Vino, Corazón, Correr el Riesgo, Cositas de la USA, Cuenta a Saldo,

 15 Cuidau, Déjale Saber, Delincuente, Dime Que Te Parece, Dispuesto, ¿Dónde Estás?,

 16 Dos Amores, El Perdedor, El Préstamo, El Punto, El Tiki, Extrañándote,

 17 Farandulera, Felices los 4, Hangover, Happy Birthday, Hawái, HP, Instinto Natural,

 18 Intentalo, Intro, Magia, La Burbuja, La Cura, La Curiosidad, La Ex, La Flaca, La

 19 Intención, La Misma Moneda, La Vida es Bella, Loco, Luz Verde, Madrid, Mai Mai,
 20 Mal de Amores, Mala, Mala Mía, Malo, Me Acuerdo de Ti, Me Enamore de Ti, Me

 21 Gustas, Me Gustas Tanto, Miss Independent, Mojando Asientos, No Puedo Olvidarte,

 22 No Se Me Quita, Nos Comemos Vivos, Ojos Que No Ven, Obsesión, Parce, Pasarla

 23 Bien, Peligrosa, Perdón, Presiento, Pretextos, Quality, Recuérdame, Salida de

 24 Escape, Sexo Sin Titulo, Shhh "Calla", Sin Contrato, Sobrio, Solos, Soltera, Te

 25 Quiero Cerquita, Tsunami, Tu Cariño, Una Aventura, Vámonos de Fuga, Vete Vete,

 26 and Ya No Es Niña (collectively, the “Maluma Works”) were separately released at
 27 different times subsequent to the 1989 release of Fish Market.

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  1        514. Specifically, ADMV copies elements of the Fish Market drum and bass
  2 patterns beginning at approximately 1:19. The Fish Market drum pattern is the

  3 primary pattern used throughout the duration of ADMV following the intro consisting

  4 of bed chords, vocals and an audio filtered loop containing elements of the Fish

  5 Market pattern at approximately 1:08-1:17. The drum tracks in ADMV feature the

  6 same kick drum and hi-hat patterns to those in Fish Market with each playing four

  7 crotchets per bar beginning on the first beat of each bar, and an additional hi-hat

  8 pattern copying the tambourine pattern in Fish Market. The snare drum pattern in

  9 Fish Market is replaced in ADMV with rim shots that replicate the dominant snare

 10 pattern in Fish Market. However, the full snare pattern is captured with the hi-hat

 11 filling in the missing 3rd and 11th sixteenth beats matching the Fish Market snare

 12 pattern. Further, the bass line played in ADMV maintains a similar pattern with

 13 emphasis placed on beats 1 and 3 of each bar as the bass line in Fish Market. A

 14 similar sub frequency timbre is used for the bass in the same manner as in Fish

 15 Market.

 16        515. Specifically, Bella-K copies elements of the Fish Market drum and bass
 17 patterns beginning at approximately 0:12. The Bella-K drum pattern is taken from the

 18 first two beats of a bar from the Fish Market pattern and may also contain an audio

 19 sample taken from Pounder at a similar location of two beats of a bar in the work.
 20 This pattern is the primary pattern used throughout the duration of Bella-K. The drum

 21 tracks in Bella-K feature the same kick drum and hi-hat patterns to those in Fish

 22 Market with each playing four crotchets per bar beginning on the first beat of each

 23 bar. The snare drum pattern in Bella-K is the same as Fish Market with its signature

 24 inclusion of a 3rd and 11th sixteenth ghost note preceding the 4th and 12th sixteenth

 25 snare note in each bar. The synth tom plays on beats 1 and 3 copying the synth tom

 26 in Fish Market and Pounder. Bella-K features a copy of the timbale 32nd beat roll at
 27 the end of each bar as in Pounder. Further, the bass line played in Bella-K is

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  1 minimalistic and anchors on the root of the chords on beats one and three as in Fish

  2 Market. A similar sub frequency timbre is used for the bass in the same manner as in

  3 Fish Market.

  4        516. Specifically, Ansiedad copies elements of the Fish Market drum pattern
  5 beginning at approximately 0:38. The drum pattern in Ansiedad is taken from the first

  6 two beats of a bar from the Fish Market pattern and may also contain an audio

  7 sample taken from Pounder at a similar location of two beats of a bar in the work.

  8 The drum tracks in Ansiedad feature the same kick drum and hi-hat patterns to those

  9 in Fish Market with each playing four crotchets per bar beginning on the first beat of

 10 each bar, and an additional hi-hat pattern copying the tambourine pattern in Fish

 11 Market. The snare drum pattern in Ansiedad is the same as Fish Market with its

 12 signature inclusion of a 3rd and 11th sixteenth ghost note preceding the 4th and 12th

 13 sixteenth snare note in each bar. The synth tom plays on beats 1 and 3 copying the

 14 synth tom in Fish Market and Pounder. Ansiedad features a copy of the timbale 32nd

 15 beat roll at the end of each bar as in Pounder. Further, the bass line played in

 16 Ansiedad is minimalistic and anchors on the root of the chords on beats one and three

 17 as in Fish Market. A similar sub frequency timbre is used for the bass in the same

 18 manner as in Fish Market.

 19        517. Specifically, Booty incorporates a sample from Pounder. The sample is
 20 introduced at approximately 0:12 and is mixed in throughout the work. The full 2 bar

 21 timbale pattern features a loop of a half of a bar segment taken from the Pounder.

 22 This constitutes the dominant loop repeated throughout the work. The use of the

 23 Pounder sample in Booty serves to introduce a copying of the patterns contained in

 24 Fish Market. The drum tracks in Booty feature the same kick drum and hi-hat patterns

 25 to those in Fish Market with each playing four crotchets per bar beginning on the first

 26 beat of each bar. The snare drum pattern in Booty is the same as Fish Market. The
 27 synth tom plays on beats 1 and 3 copying the synth tom in Fish Market and Pounder

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  1 and copies the same synth tom sound found in Pounder. Further, the bass line played

  2 in Booty is minimalistic and anchors on the root of the chords on beats one and three

  3 as in Fish Market. A similar sub frequency timbre is used for the bass in the same

  4 manner as in Fish Market.

  5        518. Specifically, Cielo a un Diablo incorporates a sample from Pounder.
  6 The sample is introduced at approximately 0:29 and is mixed in throughout the work.

  7 The full 2 bar timbale pattern features a loop of a half of a bar segment taken from

  8 the Pounder. This constitutes the dominant loop repeated throughout the work. The

  9 use of the Pounder sample in Cielo a un Diable serves to introduce a copying of the

 10 patterns contained in Fish Market. The drum tracks in Cielo a un Diablo feature the

 11 same kick drum and hi-hat patterns to those in Fish Market with each playing four

 12 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

 13 Cielo a un Diable is the same as Fish Market. The synth tom plays on beats 1 and 3

 14 copying the synth tom in Fish Market and Pounder and copies the same synth tom

 15 sound found in Pounder. The Fish Market signature timbale 32nd beats roll at the end

 16 of each bar, is also sampled in Cielo a un Diable. Further, the bass line played in

 17 Cielo a un Diable is minimalistic and anchors on the root of the chords on beats one

 18 and three as in Fish Market. A similar sub frequency timbre is used for the bass in

 19 the same manner as in Fish Market.
 20        519. Specifically, Copas de Vino incorporates a sample from Pounder. The
 21 sample is introduced at approximately 0:31 and is mixed in throughout the work. The

 22 full 2 bar timbale pattern features a loop of a half of a bar segment taken from the

 23 Pounder. This constitutes the dominant loop repeated throughout the work. The use

 24 of the Pounder sample in Copas de Vino serves to introduce a copying of the patterns

 25 contained in Fish Market. The drum tracks in Copas de Vino feature the same kick

 26 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per
 27 bar beginning on the first beat of each bar. The snare drum pattern in Copas de Vino

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  1 is the same as Fish Market. The synth tom plays on beats 1 and 3 copying the synth

  2 tom in Fish Market and Pounder and copies the same synth tom sound found in

  3 Pounder. The Fish Market signature timbale 32nd beats roll at the end of each bar, is

  4 also copied in Copas de Vino. This can be heard at the end of every second bar of the

  5 loop; with the loop beginning at 0:31 through to 0:54 and at the end of every second

  6 bar throughout the work in which the same roll is played. Further, the bass line

  7 played in Copas de Vino is minimalistic and anchors on the root of the chords on

  8 beats one and three as in Fish Market.

  9        520. Specifically, El Perdedor incorporates a sample from Pounder. The
 10 sample appears at approximately 0:06-0:17 and is re-introduced at approximately

 11 1:18 and is mixed in and out throughout the duration of the work. The full 2 bar

 12 timbale pattern features a loop of a half of a bar segment taken from the Pounder.

 13 This constitutes the dominant loop repeated throughout the work. The use of the

 14 Pounder sample in El Perdedor serves to introduce a copying of the patterns

 15 contained in Fish Market. The drum tracks in El Perdedor feature the same kick

 16 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per

 17 bar beginning on the first beat of each bar. The snare drum pattern in El Perdedor is

 18 the same as Fish Market. Further, the bass line played in El Perdedor is minimalistic

 19 and anchors on the root of the chords on beats one and three as in Fish Market. A
 20 similar sub frequency timbre is used for the bass in the same manner as in Fish

 21 Market.

 22        521. Specifically, Cositas de la USA incorporates elements of the Fish
 23 Market drum pattern beginning at approximately 0:40 and may also contain an audio

 24 sample taken from Pounder featuring the full 2 bars pattern. The drum tracks in

 25 Cositas de la USA feature the same kick drum and hi-hat patterns to those in Fish

 26 Market with each playing four crotchets per bar beginning on the first beat of each
 27 bar. The snare drum pattern in Cositas de la USA is the same as Fish Market with its

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  1 inclusion of a 3rd and 11th sixteenth ghost note preceding the 4th and 12th sixteenth

  2 snare note in each bar. The synth tom plays on beats 1 and 3 copying the pattern of

  3 the synth tom in Fish Market and Pounder. Cositas de la USA also features a copy of

  4 the timbale 32nd beat roll at the end of each bar as in Pounder. Further, the bass line

  5 played in Cositas de la USA is minimalistic and anchors on the root of the chords. A

  6 similar sub frequency timbre is used for the bass in the same manner as in Fish

  7 Market.

  8        522. Specifically, Extranandote incorporates a sample from Pounder. The
  9 sample appears filtered at approximately 0:21-0:26 and is re-introduced unfiltered

 10 beginning at 0:32-0:40. The full 2 bar timbale pattern features a loop of a half of a bar

 11 segment taken from the Pounder. This constitutes the dominant loop repeated

 12 throughout the work. The use of the Pounder sample in Extranandote serves to

 13 introduce a copying of the patterns contained in Fish Market. The drum tracks in

 14 Extranandote feature the same kick drum and hi-hat patterns to those in Fish Market

 15 with each playing four crotchets per bar beginning on the first beat of each bar. The

 16 snare drum pattern in Extranandote is the same as Fish Market. The synth tom in

 17 Extranandote plays on beats 1 and 3 copying the pattern from Fish Market and

 18 Pounder, and the sound of the synth tom in Pounder. Further, the bass line played in

 19 Extranandote is minimalistic and anchors on the root of the chords on beats one and
 20 three as in Fish Market. A similar sub frequency timbre is used for the bass in

 21 Extranandote as in Fish Market, but is also coupled with a lighter pop infused, mid

 22 frequency range boosted bass.

 23        523. Specifically, Felices los 4 incorporates elements of the Fish Market
 24 drum pattern beginning at approximately 1:17 and is the primary pattern used

 25 throuout the duration of the work. The drum tracks in Felices los 4 feature the same

 26 kick drum and hi-hat patterns to those in Fish Market with each playing four
 27 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

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  1 Felices los 4 is the same as Fish Market with its inclusion of a 3rd and 11th sixteenth

  2 ghost note preceding the 4th and 12th sixteenth snare note in each bar. The hi-hat also

  3 copies the tambourine pattern in Fish Market. The synth tom plays on beats 1 and 3

  4 copying the pattern of the synth tom in Fish Market and Pounder and copies the

  5 synth tom sound from Pounder. Further, a similar sub frequency timbre is used for

  6 the bass in the same manner as in Fish Market

  7        524. Specifically, La Flaca incorporates a sample from Pounder at 0:21-0:50,
  8 1:02-1:32, 1:45-1:52 and 2:05-2:14. The sample appears intermittently throughout the

  9 duration of the work. The full 2 bar pattern is edited to a half of a bar segment taken

 10 from Pounder. of a half of a bar segment taken from the Pounder. This constitutes

 11 the dominant loop repeated throughout the work. The use of the Pounder sample in

 12 La Flaca serves to introduce a copying of the patterns contained in Fish Market. The

 13 drum tracks in La Flaca feature the same kick drum and hi-hat patterns to those in

 14 Fish Market with each playing four crotchets per bar beginning on the first beat of

 15 each bar. The snare drum pattern in La Flaca is the same as Fish Market. The synth

 16 tom in La Flaca plays on beats 1 and 3 copying the pattern from Fish Market and

 17 Pounder, and the sound of the synth tom in Pounder. Further, the bass line played in

 18 La Flaca is minimalistic and anchors on the root of the chords on beats one and three

 19 as in Fish Market. A similar sub frequency timbre is used for the bass in La Flaca as
 20 in Fish Market, but is also coupled with a lighter pop infused, mid frequency range

 21 boosted bass.

 22        525. Specifically, Madrid incorporates a sample from Pounder at 0:23-0:56,
 23 1:09-1:19, 1:23-1:40, 1:54-2:15, 2:27-2:49, and 3:01-3:12. The sample appears

 24 intermittently throughout the duration of the work. The full 2 bar pattern is edited to a

 25 half of a bar segment taken from Pounder. of a half of a bar segment taken from the

 26 Pounder. This constitutes the dominant loop repeated throughout the work. The use
 27 of the Pounder sample in Madrid serves to introduce a copying of the patterns

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  1 contained in Fish Market. The drum tracks in Madrid feature the same kick drum and

  2 hi-hat patterns to those in Fish Market with each playing four crotchets per bar

  3 beginning on the first beat of each bar. The snare drum pattern in Madrid is the same

  4 as Fish Market. The synth tom in Madrid plays on beats 1 and 3 copying the pattern

  5 from Fish Market and Pounder, and the sound of the synth tom in Pounder. Further,

  6 the bass line played in Madrid is minimalistic and anchors on the root of the chords

  7 on beats one and three as in Fish Market. A similar sub frequency timbre is used for

  8 the bass in Madrid as in Fish Market, but is also coupled with a lighter pop infused,

  9 mid frequency range boosted bass.

 10        526. Specifically, Me Enamore de Ti incorporates a full 2 bar sample from
 11 Pounder that is repeated throughout the work at the following intervals beginning at

 12 0:11-0:20, and again at 1:02-1:12 and 2:24-2:34. There is also a section of Me

 13 Enamore de Ti interspersed between these timestamps that features a truncated

 14 sample edited to a half of a bar and looped. The use of the Pounder sample in Me

 15 Enamore de Ti serves to introduce a copying of the patterns contained in Fish

 16 Market. The drum tracks in Me Enamore de Ti feature the same kick drum and hi-hat

 17 patterns to those in Fish Market with each playing four crotchets per bar beginning

 18 on the first beat of each bar. The snare drum pattern in Me Enamore de Ti is the same

 19 as Fish Market. The synth tom in Me Enamore de Ti plays on beats 1 and 3 copying
 20 the pattern from Fish Market and Pounder, and the sound of the synth tom in

 21 Pounder. The timbale pattern is also copied and contained in the sampled sections.

 22 Further, the bass line played in Me Enamore de Ti is minimalistic and anchors on the

 23 root of the chords on beats one and three as in Fish Market. A similar sub frequency

 24 timbre is used for the bass in Me Enamore de Ti as in Fish Market, but is also

 25 coupled with a lighter pop infused, mid frequency range boosted bass.

 26        527. Specifically, Parce incorporates elements of the Fish Market drum
 27 pattern beginning at approximately 0:47. The pattern is introduced throughout the

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  1 duration of the work, infused with a truncated version of the Fish Market intro drum

  2 roll and elements of the pattern with sounds replaced. A conga drum fills in for the

  3 timbales in Fish Market with the signature 32nd beats roll maintained in the pattern.

  4 The Fish Market pattern constitutes the dominant loop repeated throughout the work.

  5 The drum tracks in Parce feature the same kick drum and hi-hat patterns to those in

  6 Fish Market with each playing four crotchets per bar beginning on the first beat of

  7 each bar. The snare drum pattern in Parce is the same as Fish Market with its

  8 inclusion of the pattern’s second and sixth 8th note snare beat in each bar. The synth

  9 tom plays on beats 1 and 3 copying the pattern of the synth tom in Fish Market and

 10 Pounder, and copies the synth tom sound from Pounder. Further, a similar sub

 11 frequency timbre is used for the bass in the same manner as in Fish Market

 12        528. Specifically, Shhh “Calla” incorporates an audio sample taken from
 13 Pounder at 1:59-2:15. The track also consists of replayed elements of Fish Market’s

 14 drum pattern which constitutes the dominant loop repeated throughout the work. The

 15 use of the Pounder sample in Shhh “Calla” serves to introduce a copying of the

 16 patterns contained in Fish Market. Further, the bass line played in Shhh “Calla” is

 17 minimalistic and anchors on the root of the chords on beats one and three as in Fish

 18 Market. A similar sub frequency timbre is used for the bass in Shhh “Calla” as in

 19 Fish Market.
 20        529. Specifically, Sin Contrato incorporates a sample from Pounder at 1:18-
 21 1:52, 2:05-2:15, 2:18-2:55, 3:18-3:35, and 3:38-3:55. The full 2 bar pattern is

 22 truncated to a half a bar segment. The truncated element constitutes the dominant

 23 loop repeated throughout the work with its signature second bar timbale pattern. The

 24 use of the Pounder sample in Sin Contrato serves to introduce a copying of the

 25 patterns contained in Fish Market. The drum tracks in Sin Contrato feature the same

 26 kick drum and hi-hat patterns to those in Fish Market with each playing four
 27 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

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  1 Sin Contrato is the same as Fish Market. The synth tom in Sin Contrato plays on

  2 beats 1 and 3 copying the pattern from Fish Market and Pounder, and the sound of

  3 the synth tom in Pounder. Further, a similar sub frequency timbre is used for the bass

  4 in Sin Contrato as in Fish Market

  5        530. Each of the Maluma Works incorporates an unauthorized sample of the
  6 Fish Market recording and a verbatim copy of the Fish Market composition as the

  7 primary rhythm / drum section of each work.

  8        531. A comparison of Fish Market and each of the Maluma Works
  9 establishes that each of the Maluma Works incorporates both qualitatively and

 10 quantitatively significant sections of the Fish Market recording and composition. The

 11 various defendants responsible for each of the identified works and the manner of

 12 copying are described in the accompanying Exhibit A.

 13                              Manuel Turizo Allegations
 14        532. As shown in the accompanying Exhibit A, Manuel Turizo and a plurality
 15 of the defendants, the corresponding defendants for each song named therein, have

 16 released the songs entitled Ahora Eh, Amor En Coma, Antes Que Te Vayas, Baila

 17 Conmigo, Bailemos, Caso Perdido, Cosas Malas, Esclavo De Tus Besos,

 18 Esperandote, Kayak, La Nota, Mala Costumbre, Nada Ha Cambiado, No Digas Que

 19 Te Vas, No Le Perteneces, No Me Conoce, Quiéreme Mientras Se Pueda, Sola, Ser
 20 un cantante, Sábanas Desordenadas, Te Falló, Te Olvido, Te Pido Perdón, Te

 21 Quemaste, Tiempo, Una Lady Como Tú, and Vámonos.

 22        533. Each of Ahora Eh, Amor En Coma, Antes Que Te Vayas, Baila
 23 Conmigo, Bailemos, Caso Perdido, Cosas Malas, Esclavo De Tus Besos,

 24 Esperandote, Kayak, La Nota, Mala Costumbre, Nada Ha Cambiado, No Digas Que

 25 Te Vas, No Le Perteneces, No Me Conoce, Quiéreme Mientras Se Pueda, Sola, Ser

 26 un cantante, Sábanas Desordenadas, Te Falló, Te Olvido, Te Pido Perdón, Te
 27 Quemaste, Tiempo, Una Lady Como Tú, and Vámonos (collectively, the “Manuel

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  1 Turizo Works”) were separately released at different times subsequent to the 1989

  2 release of Fish Market.

  3        534. Each of the Manuel Turizo Works incorporates an unauthorized sample
  4 of the Fish Market recording and a verbatim copy of the Fish Market composition as

  5 the primary rhythm / drum section of each work.

  6        535. A comparison of Fish Market and each of the Manuel Turizo Works
  7 establishes that each of the Manuel Turizo Works incorporates both qualitatively and

  8 quantitatively significant sections of the Fish Market recording and composition. The

  9 various defendants responsible for each of the identified works and the manner of

 10 copying are described in the accompanying Exhibit A.

 11                                Myke Towers Allegations
 12        536. As shown in the accompanying Exhibit A, Myke Towers and a plurality
 13 of the defendants, the corresponding defendants for each song named therein, have

 14 released the songs entitled Almas Gemelas, Ande Con Quien Ande, Bailame Así,

 15 BANDIDO, Cuando Bebe, EXPLICITO, Fantasia Sexual, Funeral, Girl, Hechizo,

 16 Inocente, Luces de Neon, Mayor, Otro, Pa' La Pared, Parcerita, Piensan, Relación

 17 Rota, Rutina, Si Se Da Remix, Si Se Da, Tiene Que Saber, and Viral.

 18        537. Each of Almas Gemelas, Ande Con Quien Ande, Bailame Así,
 19 BANDIDO, Cuando Bebe, EXPLICITO, Fantasia Sexual, Funeral, Girl, Hechizo,
 20 Inocente, Luces de Neon, Mayor, Otro, Pa' La Pared, Parcerita, Piensan, Relación

 21 Rota, Rutina, Si Se Da Remix, Si Se Da, Tiene Que Saber, and Viral (collectively, the

 22 “Myke Towers Works”) were separately released at different times subsequent to the

 23 1989 release of Fish Market.

 24        538. Each of the Myke Towers Works incorporates an unauthorized sample
 25 of the Fish Market recording and a verbatim copy of the Fish Market composition as

 26 the primary rhythm / drum section of each work.
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  1        539. A comparison of Fish Market and each of the Myke Towers Works
  2 establishes that each of the Myke Towers Works incorporates both qualitatively and

  3 quantitatively significant sections of the Fish Market recording and composition. The

  4 various defendants responsible for each of the identified works and the manner of

  5 copying are described in the accompanying Exhibit A.

  6                               Natti Natasha Allegations
  7        540. As shown in the accompanying Exhibit A, Natti Natasha and a plurality
  8 of the defendants, the corresponding defendants for each song named therein, have

  9 released the songs entitled Antes Que Salga El Sol, Arrebatá, Criminal, Deja Tus

 10 Besos (Remix), Despacio, Devórame, Eleven, Era Necesario, Frozen, Fue Tu Culpa,

 11 Imposible Amor, Lamento Tu Pérdida, Las Nenas, No Quiero Saber, Oh Daddy, Me

 12 Felicito, Me Gusta, Me Gusta (Remix), Pa' Mala YO, Philliecito, Que Mal Te Fue,

 13 Que Mal Te Fue (Remix), Ram Pam Pam, Show Off, Te lo Dije, and Toca Toca.

 14        541. Each of Antes Que Salga El Sol, Arrebatá, Criminal, Deja Tus Besos
 15 (Remix), Despacio, Devórame, Eleven, Era Necesario, Frozen, Fue Tu Culpa,

 16 Imposible Amor, Lamento Tu Pérdida, Las Nenas, No Quiero Saber, Oh Daddy, Me

 17 Felicito, Me Gusta, Me Gusta (Remix), Pa' Mala YO, Philliecito, Que Mal Te Fue,

 18 Que Mal Te Fue (Remix), Ram Pam Pam, Show Off, Te lo Dije, and Toca Toca

 19 (collectively, the “Natti Natasha Works”) were separately released at different times
 20 subsequent to the 1989 release of Fish Market.

 21        542. Specifically, Criminal incorporates a truncated sample taken directly
 22 from Pounder and Fish Market, and is introduced at approximately 1:08-1:31, 1:44-

 23 2:07, 2:20-2:31, 2:56-3:05, 3:20-3:43, and 3:56-4:20. The 2 bars sample originated

 24 from Pounder. Criminal also features a drum pattern sampled from the Steely and

 25 Clevie composition, Saddest Day by Wayne Wonder, occurring at 0:56-1:07, 1:32-

 26 1:43, 2:08-2:19, 2:32-2:44, 3:07-3:19, and 3:44-3:55.
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  1        543. Specifically, Deja Tus Besos (Remix) incorporates a truncated sample
  2 taken directly from Pounder and Fish Market, and is introduced at approximately

  3 0:46-0:54, 1:09-1:17, 143-1:51, 2:06-2:14 and 2:52-3:00. The 2 bars sample

  4 originated from Pounder.

  5        544. Specifically, Ram Pam Pam incorporates a truncated sample taken
  6 directly from Pounder and Fish Market, and is introduced at approximately 0:39-

  7 0:47, 1:29-1:38, 1:58-1 2:07, 2:28-2:37, and 3:08-3:15. The 2 bars sample originated

  8 from Pounder. Ram Pam Pam uses elements of the fundamental drum pattern in Fish

  9 Market.

 10        545. Each of the Natti Natasha Works incorporates an unauthorized sample of
 11 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 12 primary rhythm / drum section of each work.

 13        546. A comparison of Fish Market and each of the Natti Natasha Works
 14 establishes that each of the Natti Natasha Works incorporates both qualitatively and

 15 quantitatively significant sections of the Fish Market recording and composition. The

 16 various defendants responsible for each of the identified works and the manner of

 17 copying are described in the accompanying Exhibit A.

 18                                Nicky Jam Allegations
 19        547. As shown in the accompanying Exhibit A, Nicky Jam and a plurality of
 20 the defendants, the corresponding defendants for each song named therein, have

 21 released the songs entitled Adicto, Atrévete, Baby, Borracho, Buscarte, Calor,

 22 Cambiar la Rutina, Celosa, Chambonea, Clavo, Como Te Llamas, Come y Te Vas,

 23 Como Tu Me Pisas, Cuando Apague La Luz, Cuando Quieras, Cuerpo de Campeona,

 24 Cuerpo Mortal, Curiosidad, Dale, Dale Mami Pégate, Dándote, Descontrol,

 25 Desesperau, Desilucionao, Despacio, Despedida, Destino, Dile A Tu Amiga, Dime Si

 26 Piensas en Mi, DM, El Amante, El Desorden, El Perdon, En La Cama, Eres Tu,
 27 Estrella, Fan de Tus Fotos, Fiel a Tu Piel, Filoteao, Gas Pela, Gata Salvaje, Gatas

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  1 En La Disco, Hasta Bajo, Hasta El Amanecer, I Can't Forget You, I Love You, I'm

  2 Not Your Husband / Tu Marido, Interlude (7) Salón de La Fama, Interlude (14) Salón

  3 de La Fama, Intro (featuring Daddy Yankee, Polaco, Falo) [Haciendo Escante],

  4 Intro - Salón de La Fama, Jaleo, Juegos Prohibidos, La Combi, La Gata, La Paga,

  5 La Promesa (La Calle), La Toco, La Vamos a Montar, Loco, Magnum, Mango Piña,

  6 Maniquí, Me Estoy Muriendo, Me voy pal party, My Baby, Mi Estilo Predomino, Mi

  7 Gente Tiene Que Bailar, Mi Maldición, Miami, Mil Lagrimas, Muchos Pensaron Que

  8 The Cream Se Acabo, Muévelo, Nadie Como Tú, Ni Sé, No Hay Nadie Más, No Te

  9 Puedo Olvidar, No Te Vayas, Noche De Acción, Nos Fuimos, Novia Nueva, Panty,

 10 Pasado, Pelean Por Fama, Perdóname, Piensas En Mi, Pikete, Playa, Polvo, Por El

 11 Momento, Quedate Con El, Quiero Estar Contigo, Quisieras, Sacando Chispa, Se Dé

 12 Y Se Da, Se Te Acuerdas La Primera Vez, Si Te Metes Conmigo, Si Tú Guayas, Si Tú

 13 La Ves, Si Tu No Estas, Si Yo Fuera Tu Hombre, Sigo Potente, Siguen Haciendo

 14 Ruido [Remix], Sin Filtro, Sin Novia, Suelta, Superhéroe, Te Hace Falta, Te Haces

 15 La Difícil, Te Invito, Te Quiero Tocar, Te Robarè, Tequila, Tienen El Control, Tienes

 16 Que Ser Mia, Tócate, Ton Ton Ton, Tragatela, Trankila, Travesuras, Tú, Tu Cuerpo

 17 En La Cama, Tu Cuerpo Me Ama, Tu Hombre, Tu Primera Vez, Tú y Tu Flow, Tus

 18 Ojos, Un Sueño, Una Guayaa, Va Pasando el Tiempo, Vamos A Perrear, Ve y Dile

 19 (No Llores), Vive Contigo, Voy a Beber, Whine Up, Y Las Gatas, Ya No Me Llamas,
 20 Yo Tengo Algo, Yo No Sé Que Esperas Tú, and Yo No Soy Tu Marido.

 21        548. Each of Adicto, Atrévete, Baby, Borracho, Buscarte, Calor, Cambiar la
 22 Rutina, Celosa, Chambonea, Clavo, Como Te Llamas, Come y Te Vas, Como Tu Me

 23 Pisas, Cuando Apague La Luz, Cuando Quieras, Cuerpo de Campeona, Cuerpo

 24 Mortal, Curiosidad, Dale, Dale Mami Pégate, Dándote, Descontrol, Desesperau,

 25 Desilucionao, Despacio, Despedida, Destino, Dile A Tu Amiga, Dime Si Piensas en

 26 Mi, DM, El Amante, El Desorden, El Perdon, En La Cama, Eres Tu, Estrella, Fan de
 27 Tus Fotos, Fiel a Tu Piel, Filoteao, Gas Pela, Gata Salvaje, Gatas En La Disco,

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  1 Hasta Bajo, Hasta El Amanecer, I Can't Forget You, I Love You, I'm Not Your

  2 Husband / Tu Marido, Interlude (7) Salón de La Fama, Interlude (14) Salón de La

  3 Fama, Intro (featuring Daddy Yankee, Polaco, Falo) [Haciendo Escante], Intro -

  4 Salón de La Fama, Jaleo, Juegos Prohibidos, La Combi, La Gata, La Paga, La

  5 Promesa (La Calle), La Toco, La Vamos a Montar, Loco, Magnum, Mango Piña,

  6 Maniquí, Me Estoy Muriendo, Me voy pal party, My Baby, Mi Estilo Predomino, Mi

  7 Gente Tiene Que Bailar, Mi Maldición, Miami, Mil Lagrimas, Muchos Pensaron Que

  8 The Cream Se Acabo, Muévelo, Nadie Como Tú, Ni Sé, No Hay Nadie Más, No Te

  9 Puedo Olvidar, No Te Vayas, Noche De Acción, Nos Fuimos, Novia Nueva, Panty,

 10 Pasado, Pelean Por Fama, Perdóname, Piensas En Mi, Pikete, Playa, Polvo, Por El

 11 Momento, Quedate Con El, Quiero Estar Contigo, Quisieras, Sacando Chispa, Se Dé

 12 Y Se Da, Se Te Acuerdas La Primera Vez, Si Te Metes Conmigo, Si Tú Guayas, Si Tú

 13 La Ves, Si Tu No Estas, Si Yo Fuera Tu Hombre, Sigo Potente, Siguen Haciendo

 14 Ruido [Remix], Sin Filtro, Sin Novia, Suelta, Superhéroe, Te Hace Falta, Te Haces

 15 La Difícil, Te Invito, Te Quiero Tocar, Te Robarè, Tequila, Tienen El Control, Tienes

 16 Que Ser Mia, Tócate, Ton Ton Ton, Tragatela, Trankila, Travesuras, Tú, Tu Cuerpo

 17 En La Cama, Tu Cuerpo Me Ama, Tu Hombre, Tu Primera Vez, Tú y Tu Flow, Tus

 18 Ojos, Un Sueño, Una Guayaa, Va Pasando el Tiempo, Vamos A Perrear, Ve y Dile

 19 (No Llores), Vive Contigo, Voy a Beber, Whine Up, Y Las Gatas, Ya No Me Llamas,
 20 Yo Tengo Algo, Yo No Sé Que Esperas Tú, and Yo No Soy Tu Marido (collectively,

 21 the “Nicky Jam Works”) were separately released at different times subsequent to the

 22 1989 release of Fish Market.

 23        549. Specifically, Te Robaré incorporates a sample taken directly from
 24 Pounder and is introduced at approximately 0:33 and is looped at various intervals

 25 throughout Te Robaré. Te Robaré copies the fundamental drum patterns in Fish

 26 Market and is looped throughout most of the work. The 2 bars sample originated
 27 from Pounder. However, the fundamental pattern in Fish Market is maintained and

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  1 remains dominant throughout Te Robaré. Additionally, the drum tracks in Te Robaré

  2 feature the same kick drum and hi-hat patterns to those in Fish Market with each

  3 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

  4 pattern in Te Robaré is the same snare drum in Fish Market. The timbale in Te

  5 Robaré copies elements of the timbale pattern in Fish Market and Pounder. The

  6 synth tom in Te Robaré copies the pattern of the synth tom in Fish Market and

  7 Pounder played on beats 1 and 3 of every bar. Further, Te Robaré copies Fish

  8 Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

  9 timbre of the bass in Te Robaré is the same sub frequency sound spectrum range as in

 10 Fish Market and Pounder.

 11        550. Specifically, Fan de Tus Fotos incorporates a sample taken directly from
 12 Pounder and Fish Market, and is introduced at approximately 0:28-1:01, 1:13-1:35,

 13 1:58-2:09, and 2:59-3:10 and is looped at various intervals throughout Fan de Tus

 14 Fotos. Fan de Tus Fotos also features a drum pattern sampled from the Steely and

 15 Clevie composition, Saddest Day by Wayne Wonder, occurring at 1:36-1:46. The 2

 16 bars sample originated from Pounder. However, the fundamental pattern in Fish

 17 Market is maintained and remains dominant throughout Fan de Tus Fotos.

 18 Additionally, the drum tracks in Fan de Tus Fotos feature the same kick drum and hi-

 19 hat patterns to those in Fish Market with each playing four crotchets per bar
 20 beginning on the first beat of each bar. The snare drum pattern in Fan de Tus Fotos is

 21 the same snare drum in Fish Market. The timbale in Fan de Tus Fotos copies the

 22 timbale pattern in Pounder. The synth tom in Fan de Tus Fotos copies the pattern of

 23 the synth tom in Fish Market and Pounder played on beats 1 and 3 of every bar.

 24 Further, Fan de Tus Fotos copies Fish Market’s bass pattern which anchors the root

 25 of the chords on beats 1 and 3. The timbre of the bass in Fan de Tus Fotos is the

 26 same sub frequency sound spectrum range as in Fish Market and Pounder.
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  1        551. Specifically, Magnum incorporates a truncated sample taken directly
  2 from Pounder and Fish Market, and is introduced at approximately 1:21-1:27, 1:29-

  3 1:39, 2:00-2:09, and 2:20-2:28 and is looped at various intervals throughout Magnum.

  4 Magnum also samples the drum pattern from Pounder occurring at 2:41-3:00. The 2

  5 bars sample originated from Pounder. However, the fundamental pattern in Fish

  6 Market is maintained and remains dominant throughout Magnum. Additionally, the

  7 drum tracks in Magnum feature the same kick drum and hi-hat patterns to those in

  8 Fish Market with each playing four crotchets per bar beginning on the first beat of

  9 each bar. The snare drum pattern in Magnum is the same snare drum in Fish Market.

 10 The timbale in Magnum copies the timbale pattern in Pounder. The synth tom in

 11 Magnum copies the pattern of the synth tom in Fish Market and Pounder played on

 12 beats 1 and 3 of every bar. Further, Magnum copies Fish Market’s bass pattern which

 13 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Magnum is

 14 the same sub frequency sound spectrum range as in Fish Market and Pounder.

 15        552. Specifically, Se Dé Y Se Da incorporates a truncated sample taken
 16 directly from Pounder and Fish Market, and is introduced at approximately 0:31 and

 17 is looped at various intervals throughout Se Dé Y Se Da. Se Dé Y Se Da copies the

 18 fundamental drum pattern from Fish Market and is looped at various other intervals

 19 throughout Se Dé Y Se Da. The 2 bars sample originated from Pounder. However, the
 20 fundamental pattern in Fish Market is maintained and remains dominant throughout

 21 Se Dé Y Se Da. Additionally, the drum tracks in Se Dé Y Se Da feature the same kick

 22 drum and hi-hat patterns to those in Fish Market with each playing four crotchets per

 23 bar beginning on the first beat of each bar. The snare drum pattern in Se Dé Y Se Da

 24 is the same snare drum in Fish Market. The timbale in Se Dé Y Se Da copies elements

 25 of the timbale pattern in Fish Market and Pounder. The synth tom in Se Dé Y Se Da

 26 copies the pattern of the synth tom in Fish Market and Pounder played on beats 1 and
 27 3 of every bar. Further, Se Dé Y Se Da copies Fish Market’s bass pattern which

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  1 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Se Dé Y Se

  2 Da is the same sub frequency sound spectrum range as in Fish Market and Pounder.

  3        553. Specifically, Hace Falta incorporates a sample taken directly from
  4 Pounder and is introduced at approximately 0:31 and is looped at various intervals

  5 throughout Hace Falta. Hace Falta copies the fundamental drum pattern from Fish

  6 Market and is looped at various other intervals throughout Hace Falta. The 2 bars

  7 sample originated from Pounder. However, the fundamental pattern in Fish Market is

  8 maintained and remains dominant throughout Hace Falta. Additionally, the drum

  9 tracks in Hace Falta feature the same kick drum and hi-hat patterns to those in Fish

 10 Market with each playing four crotchets per bar beginning on the first beat of each

 11 bar. The snare drum pattern in Hace Falta is the same snare drum in Fish Market.

 12 The timbale in Hace Falta copies the timbale pattern and Pounder, including the

 13 iconic 32nd beats ‘burst’ roll at 0:34, 0:39, 0:45, 0:50, 1:01, and 1:11. The synth tom

 14 in Hace Falta copies the pattern of the synth tom in Fish Market and Pounder played

 15 on beats 1 and 3 of every bar. Further, Hace Falta copies Fish Market’s bass pattern

 16 which anchors the root of the chords on beats 1 and 3. The timbre of the bass in Hace

 17 Falta is the same sub frequency sound spectrum range as in Fish Market and

 18 Pounder.

 19        554. Each of the Nicky Jam Works incorporates an unauthorized sample of
 20 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 21 primary rhythm / drum section of each work.

 22        555. A comparison of Fish Market and each of the Nicky Jam Works
 23 establishes that each of the Nicky Jam Works incorporates both qualitatively and

 24 quantitatively significant sections of the Fish Market recording and composition. The

 25 various defendants responsible for each of the identified works and the manner of

 26 copying are described in the accompanying Exhibit A.
 27                                   Ozuna Allegations
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  1        556. As shown in the accompanying Exhibit A, Ozuna and a plurality of the
  2 defendants, the corresponding defendants for each song named therein, have released

  3 the songs entitled A Escondidas, Apretaito, Aunque Me Porté Mal, BAILA BAILA

  4 BAILA, Baila Baila Baila (Remix), Bebe, Besos Mojados, Cama Vacía, Cambio,

  5 Caramelo, Caramelo Remix, Coméntale, Contigo Lo Tengo Todo, CORAZON DE

  6 SEDA, Cumpleaños, Danzau, DEPRIMIDA, Despeinada, Devuélveme, Dialogue Con

  7 Mi Corazón, Dicen, Difícil Olvidar, Dile Que Tu Me Quieres, Egoísta, El desorden,

  8 El Proceso, El Reggaetón, En Otro Mundo, Enemigos Ocultos, Eres Top, Escape,

  9 Este Loko, Esto No Acaba, Falsa Mentiras, Fanática, Fantasía, Fuego, Gistro

 10 Amarillo, Háblale (Remix), Hablale, Haciéndolo, Hasta Que Salga el Sol, Hola,

 11 Humo y Alcohol, Ibiza, Igual Como Tú, Independiente, Infidelidad, Juegos De Amor,

 12 La Modelo, Linda Y Asicala, Llegó la Navidad, Luce Bien, Luz Apaga, Mai Que

 13 Locura, Mala, Me Dijeron, Mi Niña, Mírame, Muito Calor, No la Mires, No Me

 14 Heches La Culpa, No Quiere Enamorarse, No Quiere Enamorarse (Remix), No Se

 15 Da Cuenta, No Se Que Tienes, Noches de Aventura, One Dance Remix, Pégate, Que

 16 Bien Te Ves, Qué Tú Esperas, Quiero Mas, Reggaeton en Paris, Se Porta Mal, Se

 17 Preparo, Se Suelta Sola, Se Toca Todita, Si Te Dejas Llevar, Si Tu Marido No Te

 18 Quiere, Si Tu Marido No Te Quiere (Remix), Síguelo Bailando, Sígueme Los Pasos,

 19 SIMPLE, Sin Ti Estoy Mejor, Sincero, Supuestamente, Te Paso A Buscar, Te Soñé De
 20 Nuevo, TIEMPO, Tu Foto, Tu Olor, Un Bellaqueo, Una Locura, Única, Única

 21 (Remix), Vacía Sin Mí, Vaina Loca, Ya No Estoy Pa Ti, and Yo Tengo Una Gata.

 22        557. Each of A Escondidas, Apretaito, Aunque Me Porté Mal, BAILA BAILA
 23 BAILA, Baila Baila Baila (Remix), Bebe, Besos Mojados, Cama Vacía, Cambio,

 24 Caramelo, Caramelo Remix, Coméntale, Contigo Lo Tengo Todo, CORAZON DE

 25 SEDA, Cumpleaños, Danzau, DEPRIMIDA, Despeinada, Devuélveme, Dialogue Con

 26 Mi Corazón, Dicen, Difícil Olvidar, Dile Que Tu Me Quieres, Egoísta, El desorden,
 27 El Proceso, El Reggaetón, En Otro Mundo, Enemigos Ocultos, Eres Top, Escape,

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  1 Este Loko, Esto No Acaba, Falsa Mentiras, Fanática, Fantasía, Fuego, Gistro

  2 Amarillo, Háblale (Remix), Hablale, Haciéndolo, Hasta Que Salga el Sol, Hola,

  3 Humo y Alcohol, Ibiza, Igual Como Tú, Independiente, Infidelidad, Juegos De Amor,

  4 La Modelo, Linda Y Asicala, Llegó la Navidad, Luce Bien, Luz Apaga, Mai Que

  5 Locura, Mala, Me Dijeron, Mi Niña, Mírame, Muito Calor, No la Mires, No Me

  6 Heches La Culpa, No Quiere Enamorarse, No Quiere Enamorarse (Remix), No Se

  7 Da Cuenta, No Se Que Tienes, Noches de Aventura, One Dance Remix, Pégate, Que

  8 Bien Te Ves, Qué Tú Esperas, Quiero Mas, Reggaeton en Paris, Se Porta Mal, Se

  9 Preparo, Se Suelta Sola, Se Toca Todita, Si Te Dejas Llevar, Si Tu Marido No Te

 10 Quiere, Si Tu Marido No Te Quiere (Remix), Síguelo Bailando, Sígueme Los Pasos,

 11 SIMPLE, Sin Ti Estoy Mejor, Sincero, Supuestamente, Te Paso A Buscar, Te Soñé De

 12 Nuevo, TIEMPO, Tu Foto, Tu Olor, Un Bellaqueo, Una Locura, Única, Única

 13 (Remix), Vacía Sin Mí, Vaina Loca, Ya No Estoy Pa Ti, and Yo Tengo Una Gata

 14 (collectively, the “Ozuna Works”) were separately released at different times

 15 subsequent to the 1989 release of Fish Market.

 16        558. Specifically, Este Loko incorporates a truncated sample of the
 17 introduction drum roll taken directly from Pounder and Fish Market and is

 18 introduced at approximately 1:20 and 2:19. The fundamental drum and bass pattern is

 19 introduced at 0:34-1:06, 1:21-2:05, and 2:20-3:13 and is looped at various other
 20 intervals throughout Este Loko. The 2 bars sample and pattern originated from

 21 Pounder. However, the fundamental pattern in Fish Market is maintained and

 22 remains dominant throughout Este Loko. Additionally, the drum tracks in Este Loko

 23 feature the same kick drum and hi-hat patterns to those in Fish Market with each

 24 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

 25 pattern in Este Loko is the same as Fish Market. The synth tom in Este Loko copies

 26 the pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of
 27 every bar. Further, Este Loko copies Fish Market’s bass pattern which anchors the

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  1 root of the chords on beats 1 and 3. The timbre of the bass in Este Loko is the same

  2 sub frequency sound spectrum range as in Fish Market and Pounder.

  3        559. Specifically, Me Dijeron incorporates a truncated sample of the taken
  4 directly from Pounder and, by extension, Fish Market. The fundamental drum and

  5 bass pattern is introduced at approximately 0:40-1:21, 1:31-1:41, 1:49-2:11, and

  6 2:53-3:23 and is looped at various other intervals throughout Me Dijeron. The 2 bars

  7 sample originated from Pounder. However, the fundamental pattern in Fish Market is

  8 maintained and remains dominant throughout Me Dijeron. Additionally, the drum

  9 tracks in Me Dijeron feature the same kick drum and hi-hat patterns to those in Fish

 10 Market with each playing four crotchets per bar beginning on the first beat of each

 11 bar. The snare drum pattern in Me Dijeron is the same as Fish Market. The synth tom

 12 in Me Dijeron copies the pattern of the synth tom in Fish Market and Pounder played

 13 on beats 1 and 3 of every bar. The definitive timbale 32nd beats burst roll on the last

 14 8th note at the end of each bar in Pounder is copied at 1:21-1:31, 2:12-2:22 and 3:23-

 15 3:33. Further, Me Dijeron copies Fish Market’s bass pattern which anchors the root

 16 of the chords on beats 1 and 3. The timbre of the bass in Me Dijeron is the same sub

 17 frequency sound spectrum range as in Fish Market and Pounder.

 18        560. Specifically, Mi Niña copies elements of the Fish Market drum pattern
 19 throughout the work. The elements can be heard at approximately 0:57-1:29, 2:06-
 20 2:27, 2:51-3:01, and 3:14-3:23. Additionally, the drum tracks in Mi Niña feature the

 21 same kick drum and hi-hat patterns to those in Fish Market with each playing four

 22 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in Mi

 23 Niña copies the fundamental snare drum in Fish Market. The synth tom in Mi Niña

 24 copies the pattern of the synth tom in Fish Market and Pounder played on beats 1 and

 25 3 of every bar. Further, Mi Niña copies Fish Market’s bass pattern which anchors the

 26 root of the chords on beats 1 and 3. The timbre of the bass in Mi Niña is the same sub
 27 frequency sound spectrum range as in Fish Market and Pounder.

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  1        561. Specifically, No Se Da Cuenta copies elements of the Fish Market and
  2 Pounder drum pattern throughout the work. The elements can be heard at

  3 approximately 0:46 through to 1:17 and continuing at 1:28-1:38, 1:51-1:59, 2:20-

  4 2:41, 2:52-3:22, and 3:33-4:04. The fundamental pattern in Fish Market is

  5 maintained and remains dominant throughout No Se Da Cuenta. Additionally, the

  6 drum tracks in No Se Da Cuenta feature the same kick drum and hi-hat patterns to

  7 those in Fish Market with each playing four crotchets per bar beginning on the first

  8 beat of each bar. The snare drum pattern in No Se Da Cuenta copies the fundamental

  9 snare drum in Fish Market. The synth tom in No Se Da Cuenta copies the pattern of

 10 the synth tom in Fish Market and Pounder played on beats 1 and 3 of every bar.

 11 Further, No Se Da Cuenta copies Fish Market’s bass pattern which anchors the root

 12 of the chords on beats 1 and 3. The timbre of the bass in No Se Da Cuenta is the same

 13 sub frequency sound spectrum range as in Fish Market and Pounder.

 14        562. Specifically, Pasión y Deseo copies elements of the Fish Market and
 15 Pounder drum pattern that is introduced at approximately 0:47 and can be heard

 16 throughout the work. The 2 bars sample originated from Pounder. However, the

 17 fundamental pattern in Fish Market is maintained and remains dominant throughout

 18 Pasión y Deseo. Additionally, the drum tracks in Pasión y Deseo feature the same

 19 kick drum and hi-hat patterns to those in Fish Market with each playing four
 20 crotchets per bar beginning on the first beat of each bar. The snare drum pattern in

 21 Pasión y Deseo copies the fundamental snare drum in Fish Market. The synth tom in

 22 Pasión y Deseo copies the pattern of the synth tom in Fish Market and Pounder

 23 played on beats 1 and 3 of every bar. Further, Pasión y Deseo copies Fish Market’s

 24 bass pattern which anchors the root of the chords on beats 1 and 3. The timbre of the

 25 bass in Pasión y Deseo is the same sub frequency sound spectrum range as in Fish

 26 Market and Pounder.
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  1        563. Specifically, Que Tú Esperas copies elements of the Fish Market drum
  2 pattern that is introduced at approximately 0:22-1:34, 1:46-2:38, and 2:59-3:29 and

  3 can be heard throughout the work. Que Tú Esperas features a sample originated from

  4 Pounder. However, the fundamental pattern in Fish Market is maintained and

  5 remains dominant throughout Que Tú Esperas. Additionally, the drum tracks in Que

  6 Tú Esperas feature the same kick drum and hi-hat patterns to those in Fish Market

  7 with each playing four crotchets per bar beginning on the first beat of each bar. The

  8 snare drum pattern in Que Tú Esperas copies the fundamental snare drum in Fish

  9 Market. The timbale in Que Tú Esperas copies elements of the timbale pattern and

 10 sound in Fish Market and Pounder. The synth tom in Que Tú Esperas copies the

 11 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every

 12 bar. Further, Que Tú Esperas copies Fish Market’s bass pattern which anchors the

 13 root of the chords on beats 1 and 3. The timbre of the bass in Que Tú Esperas is the

 14 same sub frequency sound spectrum range as in Fish Market and Pounder.

 15        564. Specifically, Quiero Mas incorporates a sample taken directly from
 16 Pounder, and is introduced at approximately 1:09-1:28, 1:50-1:59, 2:10-2:28, 3:48-

 17 3:57, 4:11-4:30, and 5:02-5:09. Quiero Mas copies the fundamental drum pattern

 18 from Fish Market and is looped at various other intervals throughout Quiero Mas.

 19 The patterns and 2 bars sample originated from Pounder. However, the fundamental
 20 pattern in Fish Market is maintained and remains dominant throughout Quiero Mas.

 21 Additionally, the drum tracks in Quiero Mas feature the same kick drum and hi-hat

 22 patterns to those in Fish Market with each playing four crotchets per bar beginning

 23 on the first beat of each bar. The snare drum pattern in Quiero Mas is the same snare

 24 drum in Fish Market. The timbale in Quiero Mas copies the timbale pattern in Fish

 25 Market and Pounder. The synth tom in Quiero Mas copies the pattern of the synth

 26 tom in Fish Market and Pounder played on beats 1 and 3 of every bar. Further,
 27 Quiero Mas copies Fish Market’s bass pattern which anchors the root of the chords

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  1 on beats 1 and 3. The timbre of the bass in Quiero Mas is the same sub frequency

  2 sound spectrum range as in Fish Market and Pounder.

  3        565. Specifically, Se Porta Mal incorporates a sample taken directly from
  4 Pounder, and is introduced at approximately 0:31-0:40, 0:52-1:02, 1:13-1:32,1:44-

  5 1:54 and 2:26-2:36. Se Porta Mal copies the fundamental drum and bass patterns

  6 from Fish Market and is looped at various other intervals throughout Se Porta Mal.

  7 The patterns and 2 bars sample originated from Pounder. However, the fundamental

  8 pattern in Fish Market is maintained and remains dominant throughout Se Porta Mal.

  9 Additionally, the drum tracks in Se Porta Mal feature the same kick drum and hi-hat

 10 patterns to those in Fish Market with each playing four crotchets per bar beginning

 11 on the first beat of each bar. The snare drum pattern in Se Porta Mal is the same snare

 12 drum in Fish Market. The timbale in Se Porta Mal is the same timbale pattern in Fish

 13 Market and Pounder. The synth tom in Se Porta Mal copies the pattern of the synth

 14 tom in Fish Market and Pounder played on beats 1 and 3 of every bar. Further, Se

 15 Porta Mal copies Fish Market’s bass pattern which anchors the root of the chords on

 16 beats 1 and 3. The timbre of the bass in Se Porta Mal is the same sub frequency

 17 sound spectrum range as in Fish Market and Pounder.

 18        566. Specifically, Se Preparó incorporates a truncated sample taken directly
 19 from Pounder and Fish Market, and is introduced at approximately 1:02-1:22, 1:36-
 20 1:43, 1:47-2:18, 2:32-2:53, 3:05-3:16, and 3:28-3:39 and is looped at various other

 21 intervals throughout Se Preparó. The 2 bars sample originated from Pounder.

 22 However, the fundamental pattern in Fish Market is maintained and remains

 23 dominant throughout Se Preparó. Additionally, the drum tracks in Se Preparó feature

 24 the same kick drum and hi-hat patterns to those in Fish Market with each playing

 25 four crotchets per bar beginning on the first beat of each bar. The snare drum pattern

 26 in Se Preparó is the same snare drum in Fish Market. The timbale in Se Preparó
 27 copies elements of the timbale pattern in Fish Market and Pounder. The synth tom in

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  1 Se Preparó copies the pattern of the synth tom in Fish Market and Pounder played on

  2 beats 1 and 3 of every bar. Further, Se Preparó copies Fish Market’s bass pattern

  3 which anchors the root of the chords on beats 1 and 3. The timbre of the bass in Se

  4 Preparó is the same sub frequency sound spectrum range as in Fish Market and

  5 Pounder.

  6        567. Specifically, SIMPLE incorporates a truncated sample taken directly
  7 from Pounder and Fish Market, and is introduced at approximately1 0:33-0:43, 0:45-

  8 0:54, 1:07-1:40, 1:42-1:51, 1:53-2:03, 2:16-2:37, 2:39-2:49, 2:50-3:00, 3:02-3:11,

  9 and 3:13-3:23 and is looped at various other intervals throughout SIMPLE. SIMPLE

 10 copies the fundamental drum and bass patterns from Fish Market and is looped at

 11 various other intervals throughout SIMPLE. The 2 bars sample originated from

 12 Pounder. However, the fundamental pattern in Fish Market is maintained and

 13 remains dominant throughout SIMPLE. Additionally, the drum tracks in SIMPLE

 14 feature the same kick drum and hi-hat patterns to those in Fish Market with each

 15 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

 16 pattern in SIMPLE is the same snare drum in Fish Market. The timbale in SIMPLE

 17 copies elements of the timbale pattern in Fish Market and Pounder. The synth tom in

 18 SIMPLE copies the pattern of the synth tom in Fish Market and Pounder played on

 19 beats 1 and 3 of every bar. Further, SIMPLE copies Fish Market’s bass pattern which
 20 anchors the root of the chords on beats 1 and 3. The timbre of the bass in SIMPLE is

 21 the same sub frequency sound spectrum range as in Fish Market and Pounder.

 22        568. Specifically, Sincero incorporates a truncated sample taken directly from
 23 Pounder and Fish Market and is looped at various other intervals throughout Sincero.

 24 Sincero copies the fundamental drum pattern from Pounder and is looped at various

 25 other intervals throughout Sincero. The patterns and 2 bars sample originated from

 26 Pounder. However, the fundamental pattern in Fish Market is maintained and
 27 remains dominant throughout Sincero. Additionally, the drum tracks in Sincero

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  1 feature the same kick drum and hi-hat patterns to those in Fish Market with each

  2 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

  3 pattern in Sincero is the same snare drum in Fish Market. The timbale in Sincero

  4 copies elements of the timbale pattern in Fish Market and Pounder. The synth tom in

  5 Sincero copies the pattern of the synth tom in Fish Market and Pounder played on

  6 beats 1 and 3 of every bar. Further, Sincero copies Fish Market’s bass pattern which

  7 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Sincero is

  8 the same sub frequency sound spectrum range as in Fish Market and Pounder.

  9        569. Specifically, Supuestamente incorporates a truncated sample taken
 10 directly from Pounder and Fish Market, and is introduced at approximately 0:21-

 11 0:32, 0:43-1:04, 1:17-2:12, and 2:23-3:18 and is looped at various other intervals

 12 throughout Supuestamente. The 2 bars sample originated from Pounder. However,

 13 the fundamental pattern in Fish Market is maintained and remains dominant

 14 throughout Supuestamente. Supuestamente copies the fundamental drum and bass

 15 patterns in Fish Market and is looped throughout most of the work. Additionally, the

 16 drum tracks in Supuestamente feature the same kick drum and hi-hat patterns to those

 17 in Fish Market with each playing four crotchets per bar beginning on the first beat of

 18 each bar. The snare drum pattern in Supuestamente is the same snare drum in Fish

 19 Market. The timbale in Supuestamente copies elements of the timbale pattern in Fish
 20 Market and Pounder. The synth tom in Supuestamente copies the pattern of the synth

 21 tom in Fish Market and Pounder played on beats 1 and 3 of every bar. Further,

 22 Supuestamente copies Fish Market’s bass pattern which anchors the root of the

 23 chords on beats 1 and 3. The timbre of the bass in Supuestamente is the same sub

 24 frequency sound spectrum range as in Fish Market and Pounder.

 25        570. Specifically, Te Soñé De Nuevo incorporates a truncated sample taken
 26 directly from Pounder and Fish Market, and is introduced at approximately 0:23-
 27 0:33, 0:46-0:56,1:08-1:19,1:20-1:30, 1:34- 1:45, 2:08-2:18, 2:20-2:29, and 2:54-3:05

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  1 and is looped at various other intervals throughout Te Soñé De Nuevo. The unlisted

  2 time gaps feature a pattern variation taken from another Steely and Clevie

  3 composition entitled Young Lover starting at 0:34-0:45, 0:57-1:07, 1:46-1:56, and

  4 3:06-3:18. Te Soñé De Nuevo copies the fundamental drum and bass patterns in Fish

  5 Market and is looped throughout most of the work. The 2 bars sample originated

  6 from Pounder. However, the fundamental pattern in Fish Market and Young Lover is

  7 maintained and remains dominant throughout Te Soñé De Nuevo. Additionally, the

  8 drum tracks in Te Soñé De Nuevo feature the same kick drum and hi-hat patterns to

  9 those in Fish Market with each playing four crotchets per bar beginning on the first

 10 beat of each bar. The snare drum pattern in Te Soñé De Nuevo is the same snare drum

 11 in Fish Market. The timbale in Te Soñé De Nuevo copies elements of the timbale

 12 pattern in Fish Market and Pounder. The synth tom in Te Soñé De Nuevo copies the

 13 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every

 14 bar. Further, Te Soñé De Nuevo copies Fish Market’s bass pattern which anchors the

 15 root of the chords on beats 1 and 3. The timbre of the bass in Te Soñé De Nuevo is the

 16 same sub frequency sound spectrum range as in Fish Market and Pounder.

 17        571. Specifically, Tu Foto incorporates a truncated sample taken directly
 18 from Pounder and Fish Market, and is introduced at approximately 1:38-1:48, 2:01-

 19 2:10, 2:33-2:43, 2:55-3:05 and 3:27-3:37 and is looped at various other intervals
 20 throughout Tu Foto. Tu Foto copies the fundamental drum and bass patterns in Fish

 21 Market and is looped throughout most of the work. The 2 bars sample originated

 22 from Pounder. However, the fundamental pattern in Fish Market is maintained and

 23 remains dominant throughout Tu Foto. Additionally, the drum tracks in Tu Foto

 24 feature the same kick drum and hi-hat patterns to those in Fish Market with each

 25 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

 26 pattern in Tu Foto is the same snare drum in Fish Market. The timbale in Tu Foto
 27 copies elements of the timbale pattern in Fish Market and Pounder. The synth tom in

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  1 Tu Foto copies the pattern of the synth tom in Fish Market and Pounder played on

  2 beats 1 and 3 of every bar. Further, Tu Foto copies Fish Market’s bass pattern which

  3 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Tu Foto is

  4 the same sub frequency sound spectrum range as in Fish Market and Pounder.

  5        572. Specifically, Única incorporates a truncated sample taken directly from
  6 Pounder and Fish Market, and is introduced at approximately 0:04-0:07, 0:17-0:22,

  7 0:56-1:16, 1:29-1:50, 2:13-2:56, 3:08-3:29, and 3:41-3:51 and is looped at various

  8 other intervals throughout Única. The unlisted time gaps feature a pattern variation

  9 taken from another Steely and Clevie composition entitled Young Lover starting at

 10 1:21-1:28, 1:51-2:02, 3:33-3:40, and 3:55-4:02. Única copies the fundamental drum

 11 and bass patterns in Fish Market and is looped throughout most of the work. The 2

 12 bars sample originated from Pounder. However, the fundamental pattern in Fish

 13 Market and Young Lover is maintained and remains dominant throughout Única.

 14 Additionally, the drum tracks in Única feature the same kick drum and hi-hat patterns

 15 to those in Fish Market with each playing four crotchets per bar beginning on the first

 16 beat of each bar. The snare drum pattern in Única is the same snare drum in Fish

 17 Market. The timbale in Única copies elements of the timbale pattern in Fish Market

 18 and Pounder. The synth tom in Única copies the pattern of the synth tom in Fish

 19 Market and Pounder played on beats 1 and 3 of every bar. Further, Única copies Fish
 20 Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

 21 timbre of the bass in Única is the same sub frequency sound spectrum range as in

 22 Fish Market and Pounder.

 23        573. Specifically, Única (Remix) incorporates a truncated sample taken
 24 directly from Pounder and Fish Market, and is introduced at approximately 0:22-

 25 0:42, 0:55-1:16, 1:28-1:49, 2:01-2:21, 2:23-2:33, 2:34-2:44, 2:56-3:17and is looped

 26 at various other intervals throughout Única (Remix). The unlisted time gaps feature a
 27 pattern variation taken from another Steely and Clevie composition entitled Young

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  1 Lover starting at 1:21-1:28, 1:51-2:02, 3:33-3:40, and 3:55-4:02. Única (Remix)

  2 copies the fundamental drum and bass patterns in Fish Market and is looped

  3 throughout most of the work. The 2 bars sample originated from Pounder. However,

  4 the fundamental pattern in Fish Market and Young Lover is maintained and remains

  5 dominant throughout Única (Remix). Additionally, the drum tracks in Única (Remix)

  6 feature the same kick drum and hi-hat patterns to those in Fish Market with each

  7 playing four crotchets per bar beginning on the first beat of each bar. The snare drum

  8 pattern in Única (Remix) is the same snare drum in Fish Market. The timbale in

  9 Única (Remix) copies elements of the timbale pattern in Fish Market and Pounder.

 10 The synth tom in Única (Remix) copies the pattern of the synth tom in Fish Market

 11 and Pounder played on beats 1 and 3 of every bar. Further, Única (Remix) copies

 12 Fish Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

 13 timbre of the bass in Única (Remix) is the same sub frequency sound spectrum range

 14 as in Fish Market and Pounder.

 15        574. Specifically, Vaina Loca incorporates a truncated sample taken directly
 16 from Pounder and Fish Market, and is introduced at approximately 1:15-1:35, 1:46-

 17 2:01, 2:07-2:26, 2:37-2:46, 2:57-3:07, and 3:18-3:27 and is looped at various other

 18 intervals throughout Vaina Loca. The unlisted time gaps feature a pattern variation

 19 taken from other Steely and Clevie Dancehall patterns starting at 1:05-1:13, 1:36-
 20 1:45, 2:02-2:06, 2:27-2:36, 2:47-2:56, 3:08-3:17, and 3:28-3:56. Vaina Loca copies

 21 the fundamental drum and bass patterns in Fish Market and is looped throughout

 22 most of the work. The 2 bars sample originated from Pounder. However, the

 23 fundamental pattern in Fish Market is maintained and remains dominant throughout

 24 Vaina Loca. Additionally, the drum tracks in Vaina Loca feature the same kick drum

 25 and hi-hat patterns to those in Fish Market with each playing four crotchets per bar

 26 beginning on the first beat of each bar. The snare drum pattern in Vaina Loca is the
 27 same snare drum in Fish Market. The timbale in Vaina Loca copies elements of the

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  1 timbale pattern in Fish Market and Pounder. The synth tom in Vaina Loca copies the

  2 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every

  3 bar. Further, Vaina Loca copies Fish Market’s bass pattern which anchors the root of

  4 the chords on beats 1 and 3. The timbre of the bass in Vaina Loca is the same sub

  5 frequency sound spectrum range as in Fish Market and Pounder.

  6        575. Specifically, Ya No Estoy Pa Ti incorporates a truncated sample taken
  7 directly from Pounder and Fish Market, and is looped at various intervals throughout

  8 Ya No Estoy Pa Ti. Ya No Estoy Pa Ti also features elements of the drum pattern

  9 taken from the Steely and Clevie Dancehall titled Punanny starting at 0:13-0:25. The

 10 2 bars sample originated from Pounder. However, the fundamental pattern in Fish

 11 Market is maintained and remains dominant throughout Ya No Estoy Pa Ti.

 12 Additionally, the drum tracks in Ya No Estoy Pa Ti feature the same kick drum and

 13 hi-hat patterns to those in Fish Market with each playing four crotchets per bar

 14 beginning on the first beat of each bar. The snare drum pattern in Ya No Estoy Pa Ti

 15 is the same snare drum in Fish Market. The timbale in Ya No Estoy Pa Ti copies

 16 elements of the timbale pattern in Fish Market and Pounder. The synth tom in Ya No

 17 Estoy Pa Ti copies the pattern of the synth tom in Fish Market and Pounder played

 18 on beats 1 and 3 of every bar. Further, Ya No Estoy Pa Ti copies Fish Market’s bass

 19 pattern which anchors the root of the chords on beats 1 and 3. The timbre of the bass
 20 in Ya No Estoy Pa Ti is the same sub frequency sound spectrum range as in Fish

 21 Market and Pounder.

 22        576. Each of the Ozuna Works incorporates an unauthorized sample of the
 23 Fish Market recording and a verbatim copy of the Fish Market composition as the

 24 primary rhythm / drum section of each work.

 25        577. A comparison of Fish Market and each of the Ozuna Works establishes
 26 that each of the Ozuna Works incorporates both qualitatively and quantitatively
 27 significant sections of the Fish Market recording and composition. The various

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  1 defendants responsible for each of the identified works and the manner of copying are

  2 described in the accompanying Exhibit A.

  3                              Paulo Londra Allegations
  4        578. As shown in the accompanying Exhibit A, Paulo Londra and a plurality
  5 of the defendants, the corresponding defendants for each song named therein, have

  6 released the songs entitled Adan y Eva, BZRP Music Sessions #23, Por Eso Vine, Tal

  7 Vez, and Y Yo No Se.

  8        579. Each of Adan y Eva, BZRP Music Sessions #23, Por Eso Vine, Tal Vez,
  9 and Y Yo No Se (collectively, the “Paulo Londra Works”) were separately released at

 10 different times subsequent to the 1989 release of Fish Market.

 11        580. Each of the Paulo Londra Works incorporates an unauthorized sample of
 12 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 13 primary rhythm / drum section of each work.

 14        581. A comparison of Fish Market and each of the Paulo Londra Works
 15 establishes that each of the Paulo Londra Works incorporates both qualitatively and

 16 quantitatively significant sections of the Fish Market recording and composition. The

 17 various defendants responsible for each of the identified works and the manner of

 18 copying are described in the accompanying Exhibit A.

 19                                  Pitbull Allegations
 20        582. As shown in the accompanying Exhibit A, Pitbull and a plurality of the
 21 defendants, the corresponding defendants for each song named therein, have released

 22 the songs entitled 3 to Tango, Bon, Bon, Borracha (Pero Buena Muchacha), Chi Chi

 23 Bon Bon, Como Yo Le Doy, El Party, Happy Mama Day, Hey Ma, Mala, Mami

 24 Mami, Me Quedaré Contigo, Mil Amores (Remix), Mueve La Cintura, Muévelo Loca

 25 Boom Boom, No Lo Trates, Piensas (Dile La Verdad), Por Favor, Se La Vi, Tell Me

 26 Again, Ten Cuidado, and We Are One (Ole Ola).
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  1        583. Each of 3 to Tango, Bon, Bon, Borracha (Pero Buena Muchacha), Chi
  2 Chi Bon Bon, Como Yo Le Doy, El Party, Happy Mama Day, Hey Ma, Mala, Mami

  3 Mami, Me Quedaré Contigo, Mil Amores (Remix), Mueve La Cintura, Muévelo Loca

  4 Boom Boom, No Lo Trates, Piensas (Dile La Verdad), Por Favor, Se La Vi, Tell Me

  5 Again, Ten Cuidado, and We Are One (Ole Ola) (collectively, the “Pitbull Works”)

  6 were separately released at different times subsequent to the 1989 release of Fish

  7 Market.

  8        584. Each of the Pitbull Works incorporates an unauthorized sample of the
  9 Fish Market recording and a verbatim copy of the Fish Market composition as the

 10 primary rhythm / drum section of each work.

 11        585. A comparison of Fish Market and each of the Pitbull Works establishes
 12 that each of the Pitbull Works incorporates both qualitatively and quantitatively

 13 significant sections of the Fish Market recording and composition. The various

 14 defendants responsible for each of the identified works and the manner of copying are

 15 described in the accompanying Exhibit A.

 16                              Rauw Alejandro Allegations
 17        586. As shown in the accompanying Exhibit A, Rauw Alejandro and a
 18 plurality of the defendants, the corresponding defendants for each song named

 19 therein, have released the songs entitled 2/Catorce, Aquel Nap ZzZz, Cúrame, De
 20 Cora, Detective, Dile a Él, El Efecto, El Efecto RMX, ELEGÍ, Enchule, Fantasías,

 21 Fantasías Remix, La Old Skul, LOKERA, Mis Días Sin Ti, Mood, NO DRAMA, No Te

 22 Creo, Nubes, Olvidemos, Pensándote, Perreo Pesau, Ponte Pa' Mí, Que Le De

 23 Remix, Que Le Dé, Química, Reloj, Sexo Virtual, Soy Una Gárgola, Strawberry Kiwi,

 24 Superalo, Tattoo, Un Sueño, Una Noche, ¿Y Eso?, and Yo Sabía.

 25        587. Each of 2/Catorce, Aquel Nap ZzZz, Cúrame, De Cora, Detective, Dile a
 26 Él, El Efecto, El Efecto RMX, ELEGÍ, Enchule, Fantasías, Fantasías Remix, La Old
 27 Skul, LOKERA, Mis Días Sin Ti, Mood, NO DRAMA, No Te Creo, Nubes, Olvidemos,

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  1 Pensándote, Perreo Pesau, Ponte Pa' Mí, Que Le De Remix, Que Le Dé, Química,

  2 Reloj, Sexo Virtual, Soy Una Gárgola, Strawberry Kiwi, Superalo, Tattoo, Un Sueño,

  3 Una Noche, ¿Y Eso?, and Yo Sabía (collectively, the “Rauw Alejandro Works”) were

  4 separately released at different times subsequent to the 1989 release of Fish Market.

  5        588. Each of the Rauw Alejandro Works incorporates an unauthorized sample
  6 of the Fish Market recording and a verbatim copy of the Fish Market composition as

  7 the primary rhythm / drum section of each work.

  8        589. A comparison of Fish Market and each of the Rauw Alejandro Works
  9 establishes that each of the Rauw Alejandro Works incorporates both qualitatively

 10 and quantitatively significant sections of the Fish Market recording and composition.

 11 The various defendants responsible for each of the identified works and the manner

 12 of copying are described in the accompanying Exhibit A.

 13                                    Reik Allegations
 14        590. As shown in the accompanying Exhibit A, Reik and a plurality of the
 15 defendants, the corresponding defendants for each song named therein, have released

 16 the songs entitled Aleluya, Amigos Con Derechos, Duele, Indeciso, Loquita, Los

 17 Tragos, Me Niego, Perfecta, Qué Gano Olvidándote (Versión Urbana), Ráptame, Si

 18 Me Dices Que Sí, and Ya Veremos.

 19        591. Each of Aleluya, Amigos Con Derechos, Duele, Indeciso, Loquita, Los
 20 Tragos, Me Niego, Perfecta, Qué Gano Olvidándote (Versión Urbana), Ráptame, Si

 21 Me Dices Que Sí, and Ya Veremos (collectively, the “Reik Works”) were separately

 22 released at different times subsequent to the 1989 release of Fish Market.

 23        592. Each of the Reik Works incorporates an unauthorized sample of the Fish
 24 Market recording and a verbatim copy of the Fish Market composition as the primary

 25 rhythm / drum section of each work.

 26        593. A comparison of Fish Market and each of the Reik Works establishes
 27 that each of the Reik Works incorporates both qualitatively and quantitatively

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  1 significant sections of the Fish Market recording and composition. The various

  2 defendants responsible for each of the identified works and the manner of copying are

  3 described in the accompanying Exhibit A.

  4                               Ricky Martin Allegations
  5        594. As shown in the accompanying Exhibit A, Ricky Martin and a plurality
  6 of the defendants, the corresponding defendants for each song named therein, have

  7 released the songs entitled Adiós, Drop It On Me, Fiebre, Perdóname, Tiburones

  8 [Remix], and Vente Pa' Ca.

  9        595. Each of Adiós, Drop It On Me, Fiebre, Perdóname, Tiburones [Remix],
 10 and Vente Pa' Ca (collectively, the “Ricky Martin Works”) were separately released

 11 at different times subsequent to the 1989 release of Fish Market.

 12        596. Each of the Ricky Martin Works incorporates an unauthorized sample of
 13 the Fish Market recording and a verbatim copy of the Fish Market composition as the

 14 primary rhythm / drum section of each work.

 15        597. A comparison of Fish Market and each of the Ricky Martin Works
 16 establishes that each of the Ricky Martin Works incorporates both qualitatively and

 17 quantitatively significant sections of the Fish Market recording and composition. The

 18 various defendants responsible for each of the identified works and the manner of

 19 copying are described in the accompanying Exhibit A.
 20                                  Rosalia Allegations
 21        598. As shown in the accompanying Exhibit A, Rosalia and a plurality of the
 22 defendants have released the songs entitled BIZCOCHITO, CHICKEN TERIYAKI,

 23 Con Altura, DIABLO, LA COMBI VERSACE, SAOKO, TKN, and Yo x Ti, Tu x Mi.

 24        599. Each of BIZCOCHITO, CHICKEN TERIYAKI, Con Altura, DIABLO,
 25 LA COMBI VERSACE, SAOKO, TKN, and Yo x Ti, Tu x Mi (collectively, the

 26 “Rosalia Works”) were separately released at different times subsequent to the 1989
 27 release of Fish Market.

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  1        600. Each of the Rosalia Works incorporates an unauthorized sample of the
  2 Fish Market recording and a verbatim copy of the Fish Market composition as the

  3 primary rhythm / drum section of each work.

  4        601. A comparison of Fish Market and each of the Rosalia Works establishes
  5 that each of the Rosalia Works incorporates both qualitatively and quantitatively

  6 significant sections of the Fish Market recording and composition. The various

  7 defendants responsible for each of the identified works and the manner of copying are

  8 described in the accompanying Exhibit A.

  9                                    Sech Allegations
 10        602. As shown in the accompanying Exhibit A, Sech and a plurality of the
 11 defendants, the corresponding defendants for each song named therein, have released

 12 the songs entitled 911, Admítelo, Batta, Bentley, Boomerang, Borracho, Brindo,

 13 Casino, Con Bochinche, Confía, Cositas Malas, Cumpleaños, Dale, Dios Te Guarde

 14 ft. BCA, Duvibes, El Error, En Lo Oscuro, Fabuloso, Falsas Promesas, Feliz de

 15 Mentira, Goteras, La Discusión, La Luz, La Niña, La Otra, Lo Malo, Mas Pegao, Me

 16 Olvidé, Mi Ex, Mintiendo y Enamorando, Miss Lonely, Noche De Teteo, Oficial,

 17 Ojalá, Otro Trago, Otro Trago (Remix), Pa' Que Sude, Panama City, Pata' Abajo,

 18 Playa, Portarse Mal, PSL, ¡Que Más Pues!, Que Mas Pues Remix, ¿Qué Somos?,

 19 Relación, Sal y Perrea, Sal y Perrea Remix, Se Va Viral, Si Te Vas, Sin Querer,
 20 Solita, Te Acuerdas, Tiene Novio, Toco Mentir, Tu y Yo, Wao, X Ti, and Yo Sin Ti.

 21        603. Each of 911, Admítelo, Batta, Bentley, Boomerang, Borracho, Brindo,
 22 Casino, Con Bochinche, Confía, Cositas Malas, Cumpleaños, Dale, Dios Te Guarde

 23 ft. BCA, Duvibes, El Error, En Lo Oscuro, Fabuloso, Falsas Promesas, Feliz de

 24 Mentira, Goteras, La Discusión, La Luz, La Niña, La Otra, Lo Malo, Mas Pegao, Me

 25 Olvidé, Mi Ex, Mintiendo y Enamorando, Miss Lonely, Noche De Teteo, Oficial,

 26 Ojalá, Otro Trago, Otro Trago (Remix), Pa' Que Sude, Panama City, Pata' Abajo,
 27 Playa, Portarse Mal, PSL, ¡Que Más Pues!, Que Mas Pues Remix, ¿Qué Somos?,

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  1 Relación, Sal y Perrea, Sal y Perrea Remix, Se Va Viral, Si Te Vas, Sin Querer,

  2 Solita, Te Acuerdas, Tiene Novio, Toco Mentir, Tu y Yo, Wao, X Ti, and Yo Sin Ti

  3 (collectively, the “Sech Works”) were separately released at different times

  4 subsequent to the 1989 release of Fish Market.

  5        604. Each of the Sech Works incorporates an unauthorized sample of the Fish
  6 Market recording and a verbatim copy of the Fish Market composition as the primary

  7 rhythm / drum section of each work.

  8        605. A comparison of Fish Market and each of the Sech Works establishes
  9 that each of the Sech Works incorporates both qualitatively and quantitatively

 10 significant sections of the Fish Market recording and composition. The various

 11 defendants responsible for each of the identified works and the manner of copying are

 12 described in the accompanying Exhibit A.

 13                            Silvestre Dangond Allegations
 14        606. As shown in the accompanying Exhibit A, Silvestre Dangond and a
 15 plurality of the defendants, the corresponding defendants for each song named

 16 therein, have released the songs entitled Casate Conmigo, Justicia, Vallenato,

 17 Apretao, Vivir Bailando, and Ya No Me Duele Mas.

 18        607. Each of Casate Conmigo, Justicia, Vallenato, Apretao, Vivir Bailando,
 19 and Ya No Me Duele Mas. (collectively, the “Silvestre Dangond Works”) were
 20 separately released at different times subsequent to the 1989 release of Fish Market.

 21        608. Each of the Silvestre Dangond Works incorporates an unauthorized
 22 sample of the Fish Market recording and a verbatim copy of the Fish Market

 23 composition as the primary rhythm / drum section of each work.

 24        609. A comparison of Fish Market and each of the Silvestre Dangond Works
 25 establishes that each of the Silvestre Dangond Works incorporates both qualitatively

 26 and quantitatively significant sections of the Fish Market recording and composition.
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  1 The various defendants responsible for each of the identified works and the manner

  2 of copying are described in the accompanying Exhibit A.

  3                                    Sky Allegations
  4        610. As shown in the accompanying Exhibit A, Sky and a plurality of the
  5 defendants, the corresponding defendants for each song named therein, have released

  6 the songs entitled A Vapor, Aqui Estare, Juraste, and Le Creo.

  7        611. Each of A Vapor, Aqui Estare, Juraste, and Le Creo. (collectively, the
  8 “Sky Works”) were separately released at different times subsequent to the 1989

  9 release of Fish Market.

 10        612. Each of the Sky Works incorporates an unauthorized sample of the Fish
 11 Market recording and a verbatim copy of the Fish Market composition as the primary

 12 rhythm / drum section of each work.

 13        613. A comparison of Fish Market and each of the Sky Works establishes
 14 that each of the Sky Works incorporates both qualitatively and quantitatively

 15 significant sections of the Fish Market recording and composition. The various

 16 defendants responsible for each of the identified works and the manner of copying are

 17 described in the accompanying Exhibit A.

 18                                   Wisin Allegations
 19        614. As shown in the accompanying Exhibit A, Wisin and a plurality of the
 20 defendants, the corresponding defendants for each song named therein, have released

 21 the songs entitled 3G, Adicta, Adicto, Adictos a tus besos, Adrenalina, Ahí es que es,

 22 Amenázame, Amor, amor, Amor de locos, Andan Por Ahi, Buenos Días, Callaíto,

 23 Candente, Caramelo, Cerramos los Ojos, Claro, Como Tú Lo Haces, Contra la

 24 pared, Corazón Acelerao, Dale Mas, Dime qué sucedió, El Jinete, Emojis de

 25 Corazones, En Busca de un Caldo, Entramos en calor, Escápate Conmigo, Esta

 26 noche lo vamos a hacer, Esta vez, Extraño, Faldita esa, Fue W, Hacerte el Amor,
 27 Heavy, Heavy, La Camella, La trilogía (Introducción), Labios Prohibidos, Los

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  1 Vaqueros, Mari Mari, Me Siento Bien, Mi Niña, Mucho Bajo, Muévelo, Mujeres

  2 Hagan Fila, No Sé, Nota de Amor, Pégate pa' que veas, Piquete, Poder, Por Ley, Por

  3 Si Vuelves, Presión, Prohibida, Quisiera Alejarme, Quisiera Alejarme (Remix),

  4 Riendo Para No Llorar, Sacuda, Saoco, Si lo hacemos Bien, Siente el Calor, Todo

  5 Comienza en la Disco, Traviesa, Tu Libertad, Tu Cuerpo Me Llama, Vacaciones, Ven

  6 báilame, Volar, Wisin Mátalos, Yo me dejo, and Yo Quiero Contigo.

  7        615. Each of 3G, Adicta, Adicto, Adictos a tus besos, Adrenalina, Ahí es que
  8 es, Amenázame, Amor, amor, Amor de locos, Andan Por Ahi, Buenos Días, Callaíto,

  9 Candente, Caramelo, Cerramos los Ojos, Claro, Como Tú Lo Haces, Contra la

 10 pared, Corazón Acelerao, Dale Mas, Dime qué sucedió, El Jinete, Emojis de

 11 Corazones, En Busca de un Caldo, Entramos en calor, Escápate Conmigo, Esta

 12 noche lo vamos a hacer, Esta vez, Extraño, Faldita esa, Fue W, Hacerte el Amor,

 13 Heavy, Heavy, La Camella, La trilogía (Introducción), Labios Prohibidos, Los

 14 Vaqueros, Mari Mari, Me Siento Bien, Mi Niña, Mucho Bajo, Muévelo, Mujeres

 15 Hagan Fila, No Sé, Nota de Amor, Pégate pa' que veas, Piquete, Poder, Por Ley, Por

 16 Si Vuelves, Presión, Prohibida, Quisiera Alejarme, Quisiera Alejarme (Remix),

 17 Riendo Para No Llorar, Sacuda, Saoco, Si lo hacemos Bien, Siente el Calor, Todo

 18 Comienza en la Disco, Traviesa, Tu Libertad, Tu Cuerpo Me Llama, Vacaciones, Ven

 19 báilame, Volar, Wisin Mátalos, Yo me dejo, and Yo Quiero Contigo (collectively, the
 20 “Wisin Works”) were separately released at different times subsequent to the 1989

 21 release of Fish Market.

 22        616. Each of the Wisin Works incorporates an unauthorized sample of the
 23 Fish Market recording and a verbatim copy of the Fish Market composition as the

 24 primary rhythm / drum section of each work.

 25        617. A comparison of Fish Market and each of the Wisin Works establishes
 26 that each of the Wisin Works incorporates both qualitatively and quantitatively
 27 significant sections of the Fish Market recording and composition. The various

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  1 defendants responsible for each of the identified works and the manner of copying are

  2 described in the accompanying Exhibit A.

  3                             Wisin & Yandel Allegations
  4        618. As shown in the accompanying Exhibit A, Wisin & Yandel and a
  5 plurality of the defendants, the corresponding defendants for each song named

  6 therein, have released the songs entitled Ahora Es, Algo Pasó, Aullando, Besos

  7 Mojados, Boricua NY1, Burn It Up, Callao, Cállate, Calle Callejero, Chica

  8 Bombastic, Como Tú No Hay Nadie, Con Mi Reggae Muero, Dame Algo, De Otra

  9 Manera, Delirando, Dembow, Desaparecio, Descará, Deseo, Dime Quienes Son, El

 10 Gitro Amarillo, Electrica, En Busca de Ti, En La Disco Bailoteo, ENCENDIO,

 11 Espejos Negros, Esta Noche Hay Pelea, Estoy Enamorado, Fuera de Base, Ganas de

 12 Ti, Gerla, Girla, Guaya, Guáyale El Mahón, Hipnotizame Remix, Hola, La Calle

 13 Caliente, La Fanática, La Gitana, La Luz, La Misión, La Misión 2, La Quebranta

 14 Hueso" (featuring El Tío), La Reunión De Los Vaqueros, La Revolución, La Rockera,

 15 La Sata, La Trova, La Vaquera, Las Cosas Cambiaron, Lento, Llamé Pa' Verte

 16 (Bailando Sexy), Llora Mi Corazón, Llueve, Manigueta, Mayor Que Yo part 2,

 17 Mayor Que Yo, Me Dañas la Mente, Me Quieren Detener, Mirala Bien, Mueve tu

 18 cuerpo lento, Muévete, Mujeron, Musica Buena, Nadie Como Tu, No Fear 3, No Sé,

 19 NO SE OLVIDA, Noche De Sexo, Ojalá, Ola, Paleta, Pam Pam, Pasan Los Dias,
 20 Pegate, Pegao, Peligro, Perfecto, Perréame, Piden Perreo, Pidiendo Calor, Por Qué

 21 Me Peleas, Prende, Presión, Quiero Hacerte el Amor, Quiero Verte Bailar, Rakata,

 22 Recuerdo, Reggae Rockeao, Reggaetón en lo Oscuro, Salgo Filoteao, Sandungueo,

 23 Se Acabó, Se desvelan, Se Viste, Sedúceme, Sensación, Sensual Te Ves, Sigan

 24 Bailando, Sin El, Sólo Una Noche, Soy De La Calle, Suavecito Despacio, Tabla,

 25 Tarzan, Te Dije Que Iba a Pasar, Te Hice Mujer, Te Noto Tensa, Te Puso A

 26 Bellaquiar, Te Siento, TIENE QUE PASAR, Títere, Todas Quieren Ser La Mas
 27 Bellas, Toma, Toma Perreo, Tortura, Te Dije Que Iba a Pasar, Tu Cuerpo Me

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  1 Llama, Tú Sabes, Tú Tienes, Tumbao, Un Beso, Uy Uy Uy, Vengo Acabando, Veo

  2 Veo, Vicio de Ti, Vivir En Esta Tierra, Ya Me Voy, Ya Veo, Yo Quiero, and Yo Te

  3 Quiero.

  4        619. Each of Ahora Es, Algo Pasó, Aullando, Besos Mojados, Boricua NY1,
  5 Burn It Up, Callao, Cállate, Calle Callejero, Chica Bombastic, Como Tú No Hay

  6 Nadie, Con Mi Reggae Muero, Dame Algo, De Otra Manera, Delirando, Dembow,

  7 Desaparecio, Descará, Deseo, Dime Quienes Son, El Gitro Amarillo, Electrica, En

  8 Busca de Ti, En La Disco Bailoteo, ENCENDIO, Espejos Negros, Esta Noche Hay

  9 Pelea, Estoy Enamorado, Fuera de Base, Ganas de Ti, Gerla, Girla, Guaya, Guáyale

 10 El Mahón, Hipnotizame Remix, Hola, La Calle Caliente, La Fanática, La Gitana, La

 11 Luz, La Misión, La Misión 2, La Quebranta Hueso" (featuring El Tío), La Reunión

 12 De Los Vaqueros, La Revolución, La Rockera, La Sata, La Trova, La Vaquera, Las

 13 Cosas Cambiaron, Lento, Llamé Pa' Verte (Bailando Sexy), Llora Mi Corazón,

 14 Llueve, Manigueta, Mayor Que Yo part 2, Mayor Que Yo, Me Dañas la Mente, Me

 15 Quieren Detener, Mirala Bien, Mueve tu cuerpo lento, Muévete, Mujeron, Musica

 16 Buena, Nadie Como Tu, No Fear 3, No Sé, NO SE OLVIDA, Noche De Sexo, Ojalá,

 17 Ola, Paleta, Pam Pam, Pasan Los Dias, Pegate, Pegao, Peligro, Perfecto, Perréame,

 18 Piden Perreo, Pidiendo Calor, Por Qué Me Peleas, Prende, Presión, Quiero Hacerte

 19 el Amor, Quiero Verte Bailar, Rakata, Recuerdo, Reggae Rockeao, Reggaetón en lo
 20 Oscuro, Salgo Filoteao, Sandungueo, Se Acabó, Se desvelan, Se Viste, Sedúceme,

 21 Sensación, Sensual Te Ves, Sigan Bailando, Sin El, Sólo Una Noche, Soy De La

 22 Calle, Suavecito Despacio, Tabla, Tarzan, Te Dije Que Iba a Pasar, Te Hice Mujer,

 23 Te Noto Tensa, Te Puso A Bellaquiar, Te Siento, TIENE QUE PASAR, Títere, Todas

 24 Quieren Ser La Mas Bellas, Toma, Toma Perreo, Tortura, Te Dije Que Iba a Pasar,

 25 Tu Cuerpo Me Llama, Tú Sabes, Tú Tienes, Tumbao, Un Beso, Uy Uy Uy, Vengo

 26 Acabando, Veo Veo, Vicio de Ti, Vivir En Esta Tierra, Ya Me Voy, Ya Veo, Yo
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  1 Quiero, and Yo Te Quiero (collectively, the “Wisin & Yandel Works”) were

  2 separately released at different times subsequent to the 1989 release of Fish Market.

  3        620. Specifically, Aullando incorporates a truncated sample taken directly
  4 from Pounder and Fish Market, and is introduced at approximately 1:01 and is

  5 looped at various intervals throughout Aullando. Aullando copies the fundamental

  6 drum and bass patterns in Fish Market and is looped throughout most of the work.

  7 The 2 bars sample originated from Pounder. However, the fundamental pattern in

  8 Fish Market is maintained and remains dominant throughout Aullando. Additionally,

  9 the drum tracks in Aullando feature the same kick drum and hi-hat patterns to those

 10 in Fish Market with each playing four crotchets per bar beginning on the first beat of

 11 each bar. The snare drum pattern in Aullando is the same snare drum in Fish Market.

 12 The timbale in Aullando copies elements of the timbale pattern in Fish Market and

 13 Pounder. The synth tom in Aullando copies the pattern of the synth tom in Fish

 14 Market and Pounder played on beats 1 and 3 of every bar. Further, Aullando copies

 15 Fish Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

 16 timbre of the bass in Aullando is the same sub frequency sound spectrum range as in

 17 Fish Market and Pounder.

 18        621. Specifically, Callao incorporates a truncated sample taken directly from
 19 Pounder and Fish Market, and is introduced at approximately 1:18 and is looped at
 20 various intervals throughout Callao. Callao copies the second bar of the timbale

 21 pattern from Pounder. Callao copies the fundamental drum pattern in Fish Market

 22 and is looped throughout most of the work. The 2 bars sample originated from

 23 Pounder. However, the fundamental pattern in Fish Market is maintained and

 24 remains dominant throughout Callao. Additionally, the drum tracks in Callao feature

 25 the same kick drum and hi-hat patterns to those in Fish Market with each playing

 26 four crotchets per bar beginning on the first beat of each bar. The snare drum pattern
 27 in Callao is the same snare drum in Fish Market. The timbale in Callao copies

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  1 elements of the timbale pattern in Fish Market and Pounder. The synth tom in Callao

  2 copies the pattern of the synth tom in Fish Market and Pounder played on beats 1 and

  3 3 of every bar. Further, Callao copies Fish Market’s bass pattern which anchors the

  4 root of the chords on beats 1 and 3. The timbre of the bass in Callao is the same sub

  5 frequency sound spectrum range as in Fish Market and Pounder.

  6        622. Specifically, Chica Bombastic incorporates a truncated sample taken
  7 directly from Pounder and Fish Market, and is introduced at approximately 0:32-

  8 0:53, 1:04-1:28, 1:39-1:49, 2:04-2:11, 2:23-2:44 and 2:57-3:16 and is looped at

  9 various intervals throughout Chica Bombastic. Chica Bombastic copies the

 10 fundamental drum pattern in Fish Market and is looped throughout most of the work.

 11 The 2 bars sample originated from Pounder. However, the fundamental pattern in

 12 Fish Market is maintained and remains dominant throughout Chica Bombastic.

 13 Additionally, the drum tracks in Chica Bombastic feature the same kick drum and hi-

 14 hat patterns to those in Fish Market with each playing four crotchets per bar

 15 beginning on the first beat of each bar. The snare drum pattern in Chica Bombastic is

 16 the same snare drum in Fish Market. The timbale in Chica Bombastic copies

 17 elements of the timbale pattern in Fish Market and Pounder. The synth tom in Chica

 18 Bombastic copies the pattern of the synth tom in Fish Market and Pounder played on

 19 beats 1 and 3 of every bar. Further, Chica Bombastic copies Fish Market’s bass
 20 pattern which anchors the root of the chords on beats 1 and 3. The timbre of the bass

 21 in Chica Bombastic is the same sub frequency sound spectrum range as in Fish

 22 Market and Pounder.

 23        623. Specifically, Dame Algo incorporates a sample taken directly from
 24 Pounder and Fish Market, and is introduced at approximately 0:58-1:07, 1:08-1:17,

 25 1:39-1:48, 2:10-2:19, 2:41-2:50, 2:52-2:59, 3:02-3:07, 4:04-4:12, and 4:24-4:37 and

 26 is looped at various intervals throughout Dame Algo. Dame Algo copies the
 27 fundamental drum pattern in Fish Market and is looped throughout most of the work.

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  1 The 2 bars sample originated from Pounder. However, the fundamental pattern in

  2 Fish Market is maintained and remains dominant throughout Dame Algo.

  3 Additionally, the drum tracks in Dame Algo feature the same kick drum and hi-hat

  4 patterns to those in Fish Market with each playing four crotchets per bar beginning

  5 on the first beat of each bar. The snare drum pattern in Dame Algo is the same snare

  6 drum in Fish Market. The timbale in Dame Algo copies the timbale pattern in

  7 Pounder. The synth tom in Dame Algo copies the pattern of the synth tom in Fish

  8 Market and Pounder played on beats 1 and 3 of every bar. Further, Dame Algo copies

  9 Fish Market’s bass pattern which anchors the root of the chords on beats 1 and 3. The

 10 timbre of the bass in Dame Algo is the same sub frequency sound spectrum range as

 11 in Fish Market and Pounder.

 12        624. Specifically, Deseo incorporates a sample taken directly from Pounder
 13 and Fish Market, and is introduced at approximately 0:32-0:42, 0:55-1:04, 1:16-

 14 1:26,1:38-1:48, 2:22-2:31, 2:43-2:53, 3:15-3:24, and 3:36-3:24, and 3:36-3:48 and is

 15 looped at various intervals throughout Deseo. Deseo copies the fundamental drum

 16 pattern in Fish Market and is looped throughout most of the work. The 2 bars sample

 17 originated from Pounder. However, the fundamental pattern in Fish Market is

 18 maintained and remains dominant throughout Deseo. Additionally, the drum tracks in

 19 Deseo feature the same kick drum and hi-hat patterns to those in Fish Market with
 20 each playing four crotchets per bar beginning on the first beat of each bar. The snare

 21 drum pattern in Deseo is the same snare drum in Fish Market. The timbale in Deseo

 22 copies elements of the timbale pattern in Fish Market and Pounder. The synth tom in

 23 Deseo copies the pattern of the synth tom in Fish Market and Pounder played on

 24 beats 1 and 3 of every bar. Further, Deseo copies Fish Market’s bass pattern which

 25 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Deseo is the

 26 same sub frequency sound spectrum range as in Fish Market and Pounder.
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  1        625. Specifically, Guaya incorporates a sample taken directly from Pounder
  2 and Fish Market, and is introduced at approximately 1:03-1:21 and 1:44-2:02. Guaya

  3 copies the fundamental drum pattern in Fish Market and is looped throughout most of

  4 the work. The 2 bars sample originated from Pounder. However, the fundamental

  5 pattern in Fish Market is maintained and remains dominant throughout Guaya.

  6 Additionally, the drum tracks in Guaya feature the same kick drum and hi-hat

  7 patterns to those in Fish Market with each playing four crotchets per bar beginning

  8 on the first beat of each bar. The snare drum pattern in Guaya is the same snare drum

  9 in Fish Market. The timbale in Guaya copies the timbale pattern in Pounder. The

 10 synth tom in Guaya copies the pattern of the synth tom in Fish Market and Pounder

 11 played on beats 1 and 3 of every bar. Further, Guaya copies Fish Market’s bass

 12 pattern which anchors the root of the chords on beats 1 and 3. The timbre of the bass

 13 in Guaya is the same sub frequency sound spectrum range as in Fish Market and

 14 Pounder.

 15        626. Specifically, La Luz incorporates a sample taken directly from Pounder
 16 and Fish Market, and is introduced at approximately 1:15-1:33, 1:45-1:53, 2:04-2:12,

 17 2:24-2:33, 2:44-2:52, 3:04-3:12, 3:16-3:23, 3:33-3:43, and 4:03-4:11 and is looped at

 18 various intervals throughout La Luz. La Luz copies the fundamental drum pattern in

 19 Fish Market and is looped throughout most of the work. The 2 bars sample originated
 20 from Pounder. However, the fundamental pattern in Fish Market is maintained and

 21 remains dominant throughout La Luz. Additionally, the drum tracks in La Luz feature

 22 the same kick drum and hi-hat patterns to those in Fish Market with each playing

 23 four crotchets per bar beginning on the first beat of each bar. The snare drum pattern

 24 in La Luz is the same snare drum in Fish Market. The timbale in La Luz copies

 25 elements of the timbale pattern in Pounder. The synth tom in La Luz copies the

 26 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every
 27 bar. Further, La Luz copies Fish Market’s bass pattern which anchors the root of the

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  1 chords on beats 1 and 3. The timbre of the bass in La Luz is the same sub frequency

  2 sound spectrum range as in Fish Market and Pounder.

  3        627. Specifically, Reggaetón en lo Oscuro incorporates a sample taken
  4 directly from Pounder and Fish Market, and is introduced at approximately 0:46-

  5 1:05,1:18-1:48, 2:10-2:30, 2:53-3:12, and 3:27-3:43 and is looped at various intervals

  6 throughout Reggaetón en lo Oscuro. Reggaetón en lo Oscuro copies the fundamental

  7 drum pattern in Fish Market and is looped throughout most of the work. The 2 bars

  8 sample originated from Pounder. However, the fundamental pattern in Fish Market is

  9 maintained and remains dominant throughout Reggaetón en lo Oscuro. Additionally,

 10 the drum tracks in Reggaetón en lo Oscuro feature the same kick drum and hi-hat

 11 patterns to those in Fish Market with each playing four crotchets per bar beginning

 12 on the first beat of each bar. The snare drum pattern in Reggaetón en lo Oscuro is the

 13 same snare drum in Fish Market. The timbale in Reggaetón en lo Oscuro copies the

 14 timbale pattern in Pounder. The synth tom in Reggaetón en lo Oscuro copies the

 15 pattern of the synth tom in Fish Market and Pounder played on beats 1 and 3 of every

 16 bar. Further, Reggaetón en lo Oscuro copies Fish Market’s bass pattern which

 17 anchors the root of the chords on beats 1 and 3. The timbre of the bass in Reggaetón

 18 en lo Oscuro is the same sub frequency sound spectrum range as in Fish Market and

 19 Pounder.
 20        628. Specifically, Todo Comienza en la Disco incorporates a sample taken
 21 directly from Pounder and Fish Market, and is introduced at approximately 1:14-

 22 1:34, 1:45-1:50, 2:06-2:36, 3:11-3:19, 3:32-3:52, 4:14-4:44, 4:55-5:03 and is looped

 23 at various intervals throughout Todo Comienza en la Disco. Todo Comienza en la

 24 Disco copies the fundamental drum pattern in Fish Market and is looped throughout

 25 most of the work. The 2 bars sample originated from Pounder. However, the

 26 fundamental pattern in Fish Market is maintained and remains dominant throughout
 27 Todo Comienza en la Disco. Additionally, the drum tracks in Todo Comienza en la

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  1 Disco feature the same kick drum and hi-hat patterns to those in Fish Market with

  2 each playing four crotchets per bar beginning on the first beat of each bar. The snare

  3 drum pattern in Todo Comienza en la Disco is the same snare drum in Fish Market.

  4 The timbale in Todo Comienza en la Disco copies the timbale pattern in Pounder.

  5 The synth tom in Todo Comienza en la Disco copies the pattern of the synth tom in

  6 Fish Market and Pounder played on beats 1 and 3 of every bar. Further, Todo

  7 Comienza en la Disco copies Fish Market’s bass pattern which anchors the root of

  8 the chords on beats 1 and 3. The timbre of the bass in Todo Comienza en la Disco is

  9 the same sub frequency sound spectrum range as in Fish Market and Pounder.

 10        629. Each of the Wisin & Yandel Works incorporates an unauthorized sample
 11 of the Fish Market recording and a verbatim copy of the Fish Market composition as

 12 the primary rhythm / drum section of each work.

 13        630. A comparison of Fish Market and each of the Wisin & Yandel Works
 14 establishes that each of the Wisin & Yandel Works incorporates both qualitatively

 15 and quantitatively significant sections of the Fish Market recording and composition.

 16 The various defendants responsible for each of the identified works and the manner

 17 of copying are described in the accompanying Exhibit A.

 18                                  Wolfine Allegations
 19        631. As shown in the accompanying Exhibit A, Wolfine and a plurality of the
 20 defendants, the corresponding defendants for each song named therein, have released

 21 the songs entitled Amor De Mentiras, Bella, Cerquita, El flete, El plan, Julieta,

 22 Julieta Remix, and Te Fallé.

 23 632. Each of Amor De Mentiras, Bella, Cerquita, El flete, El plan, Julieta, Julieta

 24 Remix, and Te Fallé (collectively, the “Wolfine Works”) were separately released at

 25 different times subsequent to the 1989 release of Fish Market.

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  1        633. Each of the Wolfine Works incorporates an unauthorized sample of the
  2 Fish Market recording and a verbatim copy of the Fish Market composition as the

  3 primary rhythm / drum section of each work.

  4        634. A comparison of Fish Market and each of the Wolfine Works establishes
  5 that each of the Wolfine Works incorporates both qualitatively and quantitatively

  6 significant sections of the Fish Market recording and composition. The various

  7 defendants responsible for each of the identified works and the manner of copying are

  8 described in the accompanying Exhibit A.

  9                                  Yandel Allegations
 10        635. As shown in the accompanying Exhibit A, Yandel and a plurality of the
 11 defendants, the corresponding defendants for each song named therein, have released

 12 the songs entitled Actua, Bella, Bella, Buscame, Calculadora, Calentón, Celda, Chu

 13 Chin, Como Antes, Concierto Privado, Coraje, Cuando Se Da, Déjate Amar, Déjate

 14 amar [Remix], Déjame Explorar, Dembow (Remix), Dembow 2020, Despacio,

 15 Diablo En Mujer, Dime, Dónde Está Mi Gata, Duro Hasta Abajo, El Gusto, Ella

 16 Entendió, En Cero (Remix), En Cero, En La Disco Me Conoció, En La Oscuridad,

 17 Enamorado De Ti, Encantadora, Encantadora (Remix), Espionaje, Eva, Fallaron,

 18 Fantasía (Kiss Kiss), Hasta Abajo Le Doy, Ilegal, Imaginar, La Calle Me Llama, La

 19 Calle Me Lo Pidió, Listo Para El Cantazo, Llégale, Loba, Mami Yo Quisiera
 20 Quedarme, Mano al Aire, Me Enamoré, Mi Combo, Mi Religión, Mia Mia, Muy

 21 Personal, No Pare, No Perdamos Tiempo, No Quiero Amores, No Sales De Mi

 22 Mente, No Te Soltaré, No Te Vayas, Nunca Me Olvides (Remix), Nunca Me Olvides,

 23 Nunca Y Pico, Para Irnos (A Fuego), Perreito Lite, Perreo, Persígueme, Plakito,

 24 Plakito (Remix), Ponme al Dia, Por Mi Reggae Muero 2020, Que No Acabe, Que Vas

 25 Hacer, Riversa, Say Ho, Se Me Olvidó, Se Viste y Se Maquilla, Si Se Da, Sola Solita,

 26 Sólo Mía, Subconsciente, Sumba Yandel, Te Amaré, Te Suelto el Pelo, Tequila, Todo
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  1 Lo Que Quiero, Trepando Paredes, Tu Cura, Un Viaje, Una Señal, and Ya Yo Me

  2 Cansé.

  3        636. Each of Actua, Bella, Bella, Buscame, Calculadora, Calentón, Celda,
  4 Chu Chin, Como Antes, Concierto Privado, Coraje, Cuando Se Da, Déjate Amar,

  5 Déjate amar [Remix], Déjame Explorar, Dembow (Remix), Dembow 2020, Despacio,

  6 Diablo En Mujer, Dime, Dónde Está Mi Gata, Duro Hasta Abajo, El Gusto, Ella

  7 Entendió, En Cero (Remix), En Cero, En La Disco Me Conoció, En La Oscuridad,

  8 Enamorado De Ti, Encantadora, Encantadora (Remix), Espionaje, Eva, Fallaron,

  9 Fantasía (Kiss Kiss), Hasta Abajo Le Doy, Ilegal, Imaginar, La Calle Me Llama, La

 10 Calle Me Lo Pidió, Listo Para El Cantazo, Llégale, Loba, Mami Yo Quisiera

 11 Quedarme, Mano al Aire, Me Enamoré, Mi Combo, Mi Religión, Mia Mia, Muy

 12 Personal, No Pare, No Perdamos Tiempo, No Quiero Amores, No Sales De Mi

 13 Mente, No Te Soltaré, No Te Vayas, Nunca Me Olvides (Remix), Nunca Me Olvides,

 14 Nunca Y Pico, Para Irnos (A Fuego), Perreito Lite, Perreo, Persígueme, Plakito,

 15 Plakito (Remix), Ponme al Dia, Por Mi Reggae Muero 2020, Que No Acabe, Que Vas

 16 Hacer, Riversa, Say Ho, Se Me Olvidó, Se Viste y Se Maquilla, Si Se Da, Sola Solita,

 17 Sólo Mía, Subconsciente, Sumba Yandel, Te Amaré, Te Suelto el Pelo, Tequila, Todo

 18 Lo Que Quiero, Trepando Paredes, Tu Cura, Un Viaje, Una Señal, and Ya Yo Me

 19 Cansé (collectively, the “Yandel Works”) were separately released at different times
 20 subsequent to the 1989 release of Fish Market.

 21        637. Each of the Yandel Works incorporates an unauthorized sample of the
 22 Fish Market recording and a verbatim copy of the Fish Market composition as the

 23 primary rhythm / drum section of each work.

 24        638. A comparison of Fish Market and each of the Yandel Works establishes
 25 that each of the Yandel Works incorporates both qualitatively and quantitatively

 26 significant sections of the Fish Market recording and composition. The various
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  1 defendants responsible for each of the identified works and the manner of copying are

  2 described in the accompanying Exhibit A.

  3                                    Zion Allegations
  4        639. As shown in the accompanying Exhibit A, Zion and a plurality of the
  5 defendants, the corresponding defendants for each song named therein, have released

  6 the songs entitled Aguanta Mas, Alocate, Amor, Amor de Pobre, Cazando, Easy, Ella

  7 Me Dice, Fantasma, Hagamos El Amor (The Perfect Melody), La Formula Sigue (La

  8 Formula), Me Voy, Mirándonos, More, More (Remix), Sigue Ahí, Te Vas, The Way

  9 She Moves, Veo, Yo Voy A Llegar, and Zun Da Da.

 10        640. Each of Aguanta Mas, Alocate, Amor, Amor de Pobre, Cazando, Easy,
 11 Ella Me Dice, Fantasma, Hagamos El Amor (The Perfect Melody), La Formula Sigue

 12 (La Formula), Me Voy, Mirándonos, More, More (Remix), Sigue Ahí, Te Vas, The

 13 Way She Moves, Veo, Yo Voy A Llegar, and Zun Da Da (collectively, the “Zion

 14 Works”) were separately released at different times subsequent to the 1989 release of

 15 Fish Market.

 16        641. Each of the Zion Works incorporates an unauthorized sample of the Fish
 17 Market recording and a verbatim copy of the Fish Market composition as the primary

 18 rhythm / drum section of each work.

 19        642. A comparison of Fish Market and each of the Zion Works establishes
 20 that each of the Zion Works incorporates both qualitatively and quantitatively

 21 significant sections of the Fish Market recording and composition. The various

 22 defendants responsible for each of the identified works and the manner of copying are

 23 described in the accompanying Exhibit A.

 24                              Zion & Lennox Allegations
 25         643. As shown in the accompanying Exhibit A, Zion & Lennox and a
 26 plurality of the defendants, the corresponding defendants for each song named
 27 therein, have released the songs entitled A Forgotten Spot (Olvidado), Aguántate,

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  1 Ahora Es Que Es, Ahora te sueltas, Amor Genuino, Aquí Estoy Yo, Bachatealo, Baila

  2 Conmigo, Baila Para Mí, Bailando Tu Y Yo, Bandida, Boom Boom, Chupop (Remix),

  3 Chupop “Se Va”, Cierra Los Ojos, Cinturita, Colora, Como Curar, Con Una

  4 Sonrisa, Dame Todo, Dame Tu Amor, Daña Party, De Inmediato, Demuéstrale a tu

  5 Hombre, Descontrólate, Destino, Dime Baby, dime cuanto tengo que esperar, Diosa,

  6 Doncella, Don't Stop, El Cantante, El Tiempo, Ella Me Mintió, Embriágame,

  7 Embriágame Remix, Enamórate, Enchuletiao, Entendemos, Eres Bonita, es mejor

  8 olvidarlo, Esa Nena, Estas tentandome, Estoy Esperando, Estrella, Fantasma Remix

  9 Fuiste Tu, Ganas de Ti, Guaya, Guaya Rompe Cintura, Guayo, Hace Tiempo, Hasta

 10 Abajo, Hay Algo En Ti, Hipnosis, Hola, Hoy lo Siento, Intro | El Sistema, La Botella,

 11 La Cita, La Española, La Niña, La Noche Es Larga, La Player (Bandolera), Loco,

 12 Más o Menos, Me Arrepiento, Me Dirijo A Ella, Me Pones en Tension, Mi Tesoro,

 13 Mírame, Momentos, Motivando la Yal (Intro), Mujer Satisfecha, Mujeriego, No

 14 Amarres Fuego, No Dejes Que Se Muera, No Mas, No Me Compares, No Me Llama,

 15 No Pares, No Pierdas Tiempo, No Sé Cómo Empezar, Nuestro Amor, Otra Vez,

 16 Pégate, Perdóname, Perla, Pierdo La Cabeza Remix, Pierdo La Cabeza, Prende en

 17 Fuego, Prepárte, Que Bien Se Siente, Qué Vas A Hacer?, Quieren Acción, Quiero

 18 Tenerte, Quiero Tocarte, Reggae Reggae, Se Puso Feo, Sentir, Sere Yo, Sistema, Solo

 19 Tú, Soltera, Te Hago el amor, Te Mueves, Tengo Que Decir, Tienes Que Hacerlo,
 20 Trayectoria, Tu Cuerpo Quiero, Tu Movimiento Me Excita, Tuyo y Mio, Una Cita,

 21 Una Nota, Vamos En Serio, Vivimos Facturando, Y Vas Caminando, Yo Soy Tu

 22 Hombre, Yo Tengo Una Gata, Yo Voy, and Zion y Lennox.

 23        644. Each of A Forgotten Spot (Olvidado), Aguántate, Ahora Es Que Es,
 24 Ahora te sueltas, Amor Genuino, Aquí Estoy Yo, Bachatealo, Baila Conmigo, Baila

 25 Para Mí, Bailando Tu Y Yo, Bandida, Boom Boom, Chupop (Remix), Chupop “Se

 26 Va”, Cierra Los Ojos, Cinturita, Colora, Como Curar, Con Una Sonrisa, Dame
 27 Todo, Dame Tu Amor, Daña Party, De Inmediato, Demuéstrale a tu Hombre,

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  1 Descontrólate, Destino, Dime Baby, dime cuanto tengo que esperar, Diosa,

  2 Doncella, Don't Stop, El Cantante, El Tiempo, Ella Me Mintió, Embriágame,

  3 Embriágame Remix, Enamórate, Enchuletiao, Entendemos, Eres Bonita, es mejor

  4 olvidarlo, Esa Nena, Estas tentandome, Estoy Esperando, Estrella, Fantasma Remix

  5 Fuiste Tu, Ganas de Ti, Guaya, Guaya Rompe Cintura, Guayo, Hace Tiempo, Hasta

  6 Abajo, Hay Algo En Ti, Hipnosis, Hola, Hoy lo Siento, Intro | El Sistema, La Botella,

  7 La Cita, La Española, La Niña, La Noche Es Larga, La Player (Bandolera), Loco,

  8 Más o Menos, Me Arrepiento, Me Dirijo A Ella, Me Pones en Tension, Mi Tesoro,

  9 Mírame, Momentos, Motivando la Yal (Intro), Mujer Satisfecha, Mujeriego, No

 10 Amarres Fuego, No Dejes Que Se Muera, No Mas, No Me Compares, No Me Llama,

 11 No Pares, No Pierdas Tiempo, No Sé Cómo Empezar, Nuestro Amor, Otra Vez,

 12 Pégate, Perdóname, Perla, Pierdo La Cabeza Remix, Pierdo La Cabeza, Prende en

 13 Fuego, Prepárte, Que Bien Se Siente, Qué Vas A Hacer?, Quieren Acción, Quiero

 14 Tenerte, Quiero Tocarte, Reggae Reggae, Se Puso Feo, Sentir, Sere Yo, Sistema, Solo

 15 Tú, Soltera, Te Hago el amor, Te Mueves, Tengo Que Decir, Tienes Que Hacerlo,

 16 Trayectoria, Tu Cuerpo Quiero, Tu Movimiento Me Excita, Tuyo y Mio, Una Cita,

 17 Una Nota, Vamos En Serio, Vivimos Facturando, Y Vas Caminando, Yo Soy Tu

 18 Hombre, Yo Tengo Una Gata, Yo Voy, and Zion y Lennox (collectively, the “Zion &

 19 Lennox Works”) were separately released at different times subsequent to the 1989
 20 release of Fish Market.

 21        645. Each of the Zion & Lennox Works incorporates an unauthorized sample
 22 of the Fish Market recording and a verbatim copy of the Fish Market composition as

 23 the primary rhythm / drum section of each work.

 24        646. A comparison of Fish Market and each of the Zion & Lennox Works
 25 establishes that each of the Zion & Lennox Works incorporates both qualitatively and

 26 quantitatively significant sections of the Fish Market recording and composition. The
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  1 various defendants responsible for each of the identified works and the manner of

  2 copying are described in the accompanying Exhibit A.

  3        647. Each of the comparisons and musical analyses set forth above are
  4 provided for notice and illustrative purposes and are not meant to be inclusive of all

  5 similarities and acts and instances of copying at issue.

  6                                            ***
  7        648. Fish Market is an instrumental and composition that has a distinctive
  8 drum pattern that involves the hi-hat and kick drum playing together on beats one to

  9 four, while the snare drum has ghost notes on the third and eleventh sixteenth notes

 10 of each bar, complementing the snare on the fourth, seventh, twelfth and fifteenth

 11 sixteenth beats of each bar. The timbale also has a pattern that includes a unique

 12 combination of 16th beat notes. The bass plays on beats one and three, along with an

 13 electronic tom or a similar sound. The tambourine has a pattern that includes a unique

 14 combination of 16th and 8th beat notes. This pattern, included in the Infringing

 15 Works, is sometimes played with a substitute high-frequency percussion

 16 instrument. All of the patterns of the hi hat, tambourines, timbales, tom, snare and

 17 kick, in the same configuration with respect to each other are copied in the Infringing

 18 Works. The bass of the Fish Market work, which anchors on one and three, is also

 19 copied in the Infringing Works. The combined copied portions of the Fish Market
 20 work found in the Infringing Works form a combination of many rhythms on

 21 different instruments acting all in concert to form an entire protectable section of

 22 music that are not found in the manner copied from Fish Market, in any work that

 23 predates Fish Market.

 24        649. Plaintiffs did not consent to the use of their copyrighted compositions
 25 and sound recordings as alleged herein.

 26        650. On information and belief, Plaintiffs allege that Defendants, and each of
 27 them, have performed, distributed, streamed, sold, and/or otherwise exploited each of

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  1 the Infringing Works, and/or authorized third parties to do so, within the three years

  2 preceding the filing of this action.

  3        651. On information and belief, Plaintiffs allege that Defendants, and each of
  4 them, continue to exploit and receive monies from the exploitation of Plaintiff’s

  5 copyrighted works, as alleged herein. Defendants’ wrongful copying and/or

  6 exploitation of Plaintiffs’ copyrighted material in the United States and/or its

  7 territories has also allowed for further infringement abroad. Defendants, and each of

  8 their, exploitation of Plaintiffs’ work, as detailed herein, constitutes infringement.

  9        652. On information and belief, Plaintiffs allege that Defendants, and each of
 10 them, have distributed, streamed, performed, uploaded, downloaded, and reproduced

 11 the Infringing Works on and through servers and streaming services in the United

 12 States and have maintained copies of the Infringing Works on servers in the United

 13 States, and have distributed, streamed, and performed the Infringign Works to United

 14 States residents and consumers.

 15        653. Upon information and belief, Plaintiffs allege that UMG, Sony, and/or
 16 Sony Latin, from its offices in New York city and/or Santa Monica, California

 17 released, distributed, promoted, broadcast, licensed, and/or exploited for profit the

 18 songs and music at issue in this case.

 19        654. Upon information and belief, Plaintiffs allege that one of more of the
 20 Defendants and their publishing companies received monies in connection with the

 21 songs and music at issue in this case from ASCAP and other companies based in

 22 California.

 23                                  First Claim for Relief
 24                  (For Copyright Infringement - Against all Defendants)
 25        655. Plaintiffs repeat, re-allege, and incorporate by reference all preceding
 26 paragraphs of this Complaint.
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  1        656. Plaintiffs own registered copyrights in and for the compositions and
  2 sound recordings for Fish Market and Pounder and the composition for Dem Bow.

  3        657. Fish Market is an original composition and sound recording.
  4        658. Plaintiffs own copyrights in the composition of Dem Bow along with
  5 Rexton Ralston Gordon.

  6        659. Dem Bow is an original composition.
  7        660. Pounder is an original sound recording that incorporates the Fish Market
  8 composition and for which Plaintiffs have ownership.

  9        661. Defendants had access to Fish Market because Fish Market was widely
 10 distributed throughout the world since 1989 on vinyl and CD. Defendants also had

 11 access to the Fish Market through distribution of Dem Bow on vinyl and CD which

 12 was a worldwide hit within the global reggae dancehall scene and remains a reggae

 13 dancehall classic. Fish Market and Dem Bow were widely distributed on vinyl and

 14 CD, which were the dominant media formats at the time of release, and together sold

 15 tens of thousands copies on singles and albums within the global reggae dancehall

 16 scene. Both Fish Market and Dem Bow are also available on streaming platforms,

 17 including Spotify, Apple Music, Amazon, Pandora, and YouTube prior to the

 18 creation of each of the Infringing Works.

 19        662. Defendants, and each of them, also had access via Ellos Benia and the
 20 Pounder which were widely distributed in hard copy and via the aforementioned

 21 streaming platforms prior to the creation of each of the Infringing Works.

 22        663. Defendants, and each of them had access to Pounder via its release in
 23 physical format or availability online. And Defendant’s, and each of their, access to

 24 the Pounder is further proven by use of portions of the sound recording for Pounder

 25 by numerous Defendants.

 26        664. The access to Fish Market by the Defendants associated with the Daddy
 27 Yankee Works is demonstrated in the Dem Bow infringing Daddy Yankee songs

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  1 Golpe de Estado and Calenton, which include elements that are substantially similar

  2 if not virtually identical to significant portions of Dem Bow, including the lyrical

  3 portions of Dem Bow.

  4        665. The access to Fish Market by the Defendants associated with the Daddy
  5 Yankee Works is also demonstrated in the lyrics of the Daddy Yankee song Zum

  6 Zum, and additional infringing Daddy Yankee songs Camuflash, Desafio, La Rompe

  7 Carros, Nada Ha Cambiado, Po’ Encima, and Quiero Decirte, which are all based on

  8 the Pounder, and which refer to the underlying rhythmic composition as Dembow.

  9        666. The access to Fish Market by the Defendants associated with the Daddy
 10 Yankee Works is also demonstrated in the lyrics of the Daddy Yankee songs Desafio,

 11 and El Empuje, which refer to the underlying rhythmic composition as “Dembow”.

 12        667. In addition, Defendants’ “sampling” (direct extraction and reproduction)
 13 of Fish Market and/or Pounder establishes access by way of striking similarity, if not

 14 virtual identity, and establishes access.

 15        668. Defendants, and each of them, infringed Plaintiffs’ rights in Fish Market
 16 by sampling the recording Fish Market and/or Pounder and reproducing such sample

 17 in one or all of the Infringing Works without Plaintiffs’ authorization or consent.

 18        669. Alternatively, Defendants, and each of them, infringed Plaintiffs’ rights
 19 in Fish Market by making a direct copy of the composition of Fish Market and using
 20 that copy in one or all of the Infringing Works without Plaintiffs’ authorization or

 21 consent.

 22        670. Upon information and belief, Plaintiffs allege that Defendants have
 23 infringed Plaintiffs’ rights in the works identified herein by, without limitation, (a)

 24 authorizing the reproduction, distribution and sale of records and digital downloads

 25 of the Infringing Works through the execution of licenses, and/or actually

 26 reproducing, and/or selling and distributing physical or digital or electronic copies of
 27 the Infringing Works through various physical and online sources and applications,

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  1 including without limitation, through Amazon.com, Walmart, Target and iTunes; (b)

  2 streaming and/or publicly performing or authorizing the streaming and/or public

  3 performance of the Infringing Works through, without limitation, Spotify, YouTube,

  4 and Apple Music; and (c) participating in and furthering the aforementioned

  5 infringing acts, and/or sharing in the proceeds therefrom, all through substantial use

  6 of Fish Market in and as part of the Infringing Songs, packaged in a variety of

  7 configurations and digital downloads, mixes and versions, and performed in a variety

  8 of ways including, but not limited to, audio and video.

  9           671. Plaintiffs are informed and believes and thereon alleges that Sony, Ultra,
 10 Energy Music Corp, UMP, BMG, Warner, Peermusic III, Ltd, Pulse Records, Sony

 11 Music Publishing, LLC, Maybach Music Group, LLC, Cinq Music Group, LLC Cinq

 12 Music Publishing, LLC, Real Hasta la Muerte, LLC, Aura Music, LLC, Hipgnosis

 13 Songs Group, LLC, Kemosabe Records, LLC, Concord Music Group, LLC, Vydia,

 14 Inc., Solar Music Rights Management Limited, Glad Empire Live, LLC, Hear This

 15 Music, LLC, Mad Decent Publishing, LLC, Mad Decent Protocol, LLC, Rich Music

 16 Inc., Dimelo Vi LLC, VP Records Corporation, Mr. 305, Inc., Duars Entertainment,

 17 Corp., Ingrooves Music Group, Empire Distribution, Inc., OVO Sound, LLC, Flow

 18 La Movie, Inc., The Royalty Network, Inc., WK Records, LLC, La Base Music

 19 Group, LLC and Kobalt have infringed Plaintiffs’ rights in Fish Market, Pounder,
 20 and Dem Bow by, without limitation, exploiting it for profit by licensing, or otherwise

 21 authorizing third parties to use, reproduce and/or perform the Infringing Works for

 22 profit.

 23           672. Upon information and belief, Plaintiffs allege that Defendants have
 24 infringed Plaintiffs’ rights in Fish Market, Pounder, and Dem Bow by copying the

 25 compositionsand/or sampling the recording thereof in the production of the Infringing

 26 Works without Plaintiffs’ authorization.
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  1        673. Upon information and belief, Plaintiffs allege that Defendants have
  2 infringed Plaintiffs’ rights in Fish Market, Pounder, and Dem Bow by, without

  3 limitation, (a) authorizing the reproduction, distribution and sale of records and

  4 digital downloads of the Infringing Works, through the execution of licenses, and/or

  5 actually reproducing, and/or selling and distributing physical or digital or electronic

  6 copies of the Infringing Works through various physical and online sources and

  7 applications, including without limitation, through Amazon.com, Walmart, Target

  8 and iTunes; (b) streaming and/or publicly performing or authorizing the streaming

  9 and/or public performance of the Infringing Works through, without limitation,

 10 Spotify, YouTube, and Apple Music; and (c) participating in and furthering the

 11 aforementioned infringing acts, and/or sharing in the proceeds therefrom, all through

 12 substantial use of Fish Market, Pounder, and Dem Bow in and as part of the

 13 Infringing Works, packaged in a variety of configurations and digital downloads,

 14 mixes and versions, and performed in a variety of ways including, but not limited to,

 15 audio and video.

 16        674. Defendants, and each of them, have engaged and continue to engage in
 17 the unauthorized reproduction, distribution, public performance, licensing, display,

 18 and creation of the Infringing Works. The foregoing acts infringe Plaintiffs’ rights

 19 under the Copyright Act. Such exploitation includes, without limitation, Defendants’,
 20 and each of them, distributing and broadcasting the Infringing Works on streaming

 21 platforms, including Spotify, Apple Music, Amazon, Pandora, and YouTube.

 22        675. Due to Defendants’, and each of their, acts of infringement, Plaintiffs’
 23 have suffered actual, general, and special damages in an amount to be established at

 24 trial, including but not limited to lost license fees and other economic opportunities

 25 related to Fish Market, Dem Bow and/or Pounder.

 26        676. Due to Defendants’ acts of copyright infringement as alleged herein,
 27 Defendants, and each of them, have obtained direct and indirect profits they would

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  1 not otherwise have realized but for their infringement of Plaintiffs’ rights in

  2 Plaintiffs’ copyrighted compositions and sound recordings. As such, Plaintiffs are

  3 entitled to disgorgement of Defendants’ profits directly and indirectly attributable to

  4 Defendants’ infringements of their rights in the compositions and sound recordings in

  5 an amount to be established at trial.

  6        677. Plaintiffs are informed and believe and now allege that Defendants, and
  7 each of their, conduct as alleged herein was willful, reckless, and/or with knowledge,

  8 subjecting Defendants, and each of them, to enhanced statutory damages, claims for

  9 costs and attorneys’ fees, and/or a preclusion from deducting certain costs when

 10 calculating disgorgeable profits.

 11                                 Second Claim for Relief
 12        (For Vicarious and/or Contributory Copyright Infringement - Against all
 13                                         Defendants)
 14        678. Plaintiffs repeat, re-allege, and incorporate by reference all preceding
 15 paragraphs of this Complaint.

 16        679. Plaintiffs are informed and believe and now allege that Defendants
 17 knowingly induced, participated in, aided and abetted in and profited from the illegal

 18 reproduction, distribution, and publication of the Infringing Works as alleged above.

 19 Specifically, the producers (including, but not limited to, Sony, Ultra, UMG,)
 20 underwrote, facilitated, and participated in the illegal copying and infringing of the

 21 individual musician Defendants during the creation of the Infringing Works and

 22 realized profits through their respective distribution, and publication of the respective

 23 Infringing Works. And Defendants, and each of them, collaborated with other artists

 24 to create the Infringing Works, and, in doing so, knowingly incorporated maerial

 25 elements from the compositions and sound recordings of Fish Market and Pounder

 26 and the composition of Dem Bow, with knowledge that they did not have the requisite
 27 consent.

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  1        680. Plaintiffs are informed and believe and now allege that Defendants, and
  2 each of them, are vicariously liable for the infringement alleged herein because they

  3 had the right and ability to supervise the infringing conduct and because they had a

  4 direct financial interest in the infringing conduct. Specifically, each Defendant

  5 involved in the infringement had the ability to oversee the publication and

  6 distribution of the Infringing Works. And, Defendants, and each of them, realized

  7 profits through their respective obtainment, distribution, and publication of the

  8 Infringing Works. On information and belief it is alleged that to the extent that any

  9 Defendant collaborated with another artist to create one or more of the Infringing

 10 Works, that Defendant is vicariously liable for that other artist’s infringement

 11 because Defendants were able to supervise and or control the infringing conduct and

 12 profited from the infringement.

 13        681. By reason of Defendants’, and each of their, acts of contributory and
 14 vicarious infringement as alleged above, Plaintiffs have suffered and will continue to

 15 suffer substantial damages in an amount to be established at trial, as well as

 16 additional actual, general, and special damages in an amount to be established at trial.

 17        682. Due to Defendants’ acts of copyright infringement as alleged herein,
 18 Defendants, and each of them, have obtained direct and indirect profits they would

 19 not otherwise have realized but for their infringement of Plaintiffs’ rights. As such,
 20 Plaintiffs are entitled to disgorgement of Defendants’ profits directly and indirectly

 21 attributable to Defendants’ infringement of Plaintiffs’ rights in their copyrighted

 22 compositions and sound recordings in an amount to be established at trial.

 23        683. Plaintiffs are informed and believe and now allege that Defendants, and
 24 each of their, conduct as alleged herein was willful, reckless, and/or with knowledge,

 25 subjecting Defendants, and each of them, to enhanced statutory damages, claims for

 26 costs and attorneys’ fees, and/or a preclusion from deducting certain costs when
 27 calculating disgorgeable profits.

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  1                                   Prayer for Relief
  2                                (Against All Defendants)
  3       WHEREFORE, Plaintiffs pray for relief as follows:
  4       a. That Defendants, and each of them, as well as their affiliates, agents, and
  5          employees be enjoined from infringing Plaintiffs’ copyrights in and to
  6          Plaintiffs’ copyrighted compositions and sound recordings;
  7       b. Granting an injunction permanently restraining and enjoining Defendants,
  8          and each of them, as well as their officers, agents, employees, and
  9          attorneys, and all those persons or entities in active concert or participation
 10          with them, or any of them, from further infringing Plaintiff’s copyrights in
 11          and to Plaintiffs’ copyrighted compositions and sound recordings;
 12       c. For a constructive trust to be entered over any recordings, videos
 13          reproductions, files, online programs, and other material in connection with
 14          all recordings of the Infringing Works, and all revenues resulting from the
 15          exploitation of same, for the benefit of Plaintiffs;
 16       d. That Plaintiffs be awarded all profits of Defendants, and each, plus all
 17          losses of Plaintiffs, plus any other monetary advantage or financial benefit
 18          gained or realized by the Defendants, or each of them, through their
 19          infringement, the exact sum to be proven at the time of trial;
 20       e. That Defendants pay damages equal to Plaintiffs’ actual damages and lost
 21          profits;
 22       f. That Plaintiffs be awarded statutory damages and attorneys’ fees as
 23          available under 17 U.S.C. § 505 or other statutory or common law;
 24       g. That Plaintiffs be awarded pre-judgment interest as allowed by law;
 25       h. That Plaintiffs be awarded the costs of this action; and
 26       i. That Plaintiffs be awarded such further legal and equitable relief as the
 27          Court deems proper.
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  1       Plaintiff demands a jury trial on all issues so triable pursuant to Fed. R. Civ. P.
  2 38 and the 7th Amendment to the United States Constitution.

  3                                                  Respectfully submitted,
  4

  5 Dated: April 22, 2023         By:                /s/ Scott Alan Burroughs
  6                                                  Scott Alan Burroughs, Esq.
                                                     Frank F. Trechsel, Esq.
  7                                                  Benjamin F. Tookey, Esq.
  8                                                  DONIGER / BURROUGHS
                                                     Attorneys for Plaintiffs
  9

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